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      1                      UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
      2                                GREENEVILLE
      3
           UNITED STATES OF AMERICA,  .        DOCKET NO. CR-2-12-98
      4                               .
                GOVERNMENT,           .
      5                               .
                     VS.              .        GREENEVILLE, TN
      6                               .        JULY 17, 2013
           JOHN FRANKLIN LANDERS, II, .        9:03 A.M.
      7                               .
                DEFENDANT.            .
      8                               .
           . . . . . . . . . .
      9
     10
     11                       TRANSCRIPT OF SENTENCING
                        BEFORE THE HONORABLE J. RONNIE GREER
     12                     UNITED STATES DISTRICT JUDGE
     13
     14    APPEARANCES:
     15    FOR THE GOVERNMENT:          U.S. DEPARTMENT OF JUSTICE
                                        OFFICE OF U.S. ATTORNEY
     16                                 HELEN C.T. SMITH, AUSA
                                        220 WEST DEPOT STREET, SUITE 423
     17                                 GREENEVILLE, TN 37743
     18    FOR THE DEFENDANT:           LAW OFFICE OF CHARLES R. MARTIN
                                        CHARLES R. MARTIN
     19                                 P.O. BOX 25
                                        KINGSPORT, TN 37662
     20
     21
     22    COURT REPORTER:              KAREN J. BRADLEY
                                        RPR-RMR
     23                                 U.S. COURTHOUSE
                                        220 WEST DEPOT STREET
     24                                 GREENEVILLE, TN 37743
     25    PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY, TRANSCRIPT
           PRODUCED BY COMPUTER.



Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 1 of 112 PageID #: 1129
                                                                              2



      1          (CALL TO ORDER OF THE COURT AT 9:03 A.M.)
      2                 THE COURT:    GOOD MORNING.
      3                 MS. SMITH:    GOOD MORNING.
      4                 THE COURT:    ALL RIGHT.    MS. HOPSON, WOULD YOU
      5    CALL THE FIRST CASE, PLEASE.
      6                 THE CLERK:    USA VERSUS JOHN FRANKLIN LANDERS,
      7    II, CASE NUMBER CR-2-12-98.
      8                 THE COURT:    ALL RIGHT.    MR. LANDERS APPEARS

      9    BEFORE THE COURT THIS MORNING FOR SENTENCING IN THIS CASE.
     10    HE WAS PREVIOUSLY CONVICTED UPON HIS GUILTY PLEA ON A
     11    CHARGE OF POSSESSION OF EQUIPMENT, CHEMICALS, PRODUCTS AND
     12    MATERIALS WHICH MAY BE USED TO MANUFACTURE
     13    METHAMPHETAMINE.
     14                 THE COURT ORDERED THE PREPARATION OF A PRE-
     15    SENTENCE REPORT.      THAT REPORT HAS BEEN PREPARED AND WAS
     16    DISCLOSED TO THE PARTIES ON MAY 8, 2013.          BASED ON A TOTAL
     17    OFFENSE LEVEL OF 21 AND A CRIMINAL HISTORY CATEGORY OF 6,
     18    THE PROBATION OFFICER HAS CALCULATED AN ADVISORY GUIDELINE
     19    RANGE OF 77 TO 96 MONTHS, WHICH THE DEFENDANT HAS OBJECTED
     20    TO.
     21                 MR. MARTIN, HAVE YOU RECEIVED A COPY OF THIS
     22    PRESENTENCE REPORT?
     23                 MR. MARTIN:     YES, I HAVE, YOUR HONOR.
     24                 THE COURT:    AND HAVE YOU READ IT AND DISCUSSED
     25    IT FULLY WITH MR. LANDERS?




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 2 of 112 PageID #: 1130
                                                                              3



      1                  MR. MARTIN:    YES, WE'VE REVIEWED IT
      2    THOROUGHLY.
      3                  THE COURT:    THANK YOU.
      4                  MR. LANDERS, HAVE YOU RECEIVED AND READ A COPY
      5    OF THIS PRESENTENCE REPORT?
      6                  THE DEFENDANT:    YES, SIR, I HAVE.
      7                  THE COURT:    HAVE YOU REVIEWED IT AND DISCUSSED
      8    IT FULLY WITH YOUR ATTORNEY?

      9                  THE DEFENDANT:    YES, SIR.
     10                  THE COURT:    HAVE YOU HAD SUFFICIENT TIME TO
     11    REVIEW THIS PRESENTENCE REPORT WITH YOUR ATTORNEY?
     12                  THE DEFENDANT:    YES, SIR.
     13                  THE COURT:    THANK YOU.
     14                  ALL RIGHT, AS I INDICATED, THERE ARE OBJECTIONS
     15    BY THE DEFENDANT HERE.       THE DEFENDANT MAKES THREE
     16    OBJECTIONS TO THE GUIDELINE CALCULATION:          FIRST OF ALL,
     17    THE DEFENDANT SEEKS A DOWNWARD DEPARTURE BASED ON OVER-
     18    REPRESENTATION OF CRIMINAL HISTORY; SECOND, THE DEFENDANT
     19    ARGUES THAT THE OFFENSE LEVEL, BASE OFFENSE LEVEL SHOULD
     20    BE DETERMINED BY REFERENCE TO SECTION 2D1.1(2) OF THE
     21    GUIDELINES RATHER THAN SECTION 2D1.1; AND, FINALLY, THE
     22    DEFENDANT ARGUES THAT HE SHOULD RECEIVE A MITIGATING ROLE
     23    ADJUSTMENT UNDER SECTION 3B1.2 OF THE GUIDELINES.
     24                  MR. MARTIN, WE'LL TAKE THOSE UP IN ANY ORDER
     25    THAT YOU WISH.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 3 of 112 PageID #: 1131
                                                                              4



      1                  YOU HAD PREVIOUSLY GIVEN NOTICE OF WITNESSES IN
      2    THIS CASE.     YOU HAVE NOW ASKED ME TO VACATE THE ORDER
      3    HAVING CERTAIN CODEFENDANTS BROUGHT HERE, ARE THOSE YOUR
      4    ONLY WITNESSES?
      5                  MR. MARTIN:    NO, YOUR HONOR, I HAVE ONE
      6    WITNESS.
      7                  THE COURT:    DOES THAT WITNESS RELATE TO THE
      8    OBJECTIONS OR TO THE OVERALL SENTENCE?

      9                  MR. MARTIN:    MR. LANDERS WOULD LIKE TO TESTIFY,
     10    YOUR HONOR.
     11                  THE COURT:    ALL RIGHT.   THEN LET'S HEAR YOUR
     12    WITNESS.
     13                  IT LOOKS LIKE WITH RESPECT TO THE PROPER BASE
     14    OFFENSE LEVEL, I GUESS, MR. MARTIN, THAT'S JUST A LEGAL
     15    QUESTION --
     16                  MR. MARTIN:    I THINK IT IS, YOUR HONOR.
     17                  THE COURT:    -- TO SOME EXTENT, ALTHOUGH IT'S
     18    RELATED TO THE QUESTION OF WHETHER OR NOT METHAMPHETAMINE
     19    WAS MANUFACTURED OR ATTEMPTED TO BE MANUFACTURED.
     20                  MR. MARTIN:    YES, YOUR HONOR.     I THINK THE
     21    OFFENSE, I THINK THE OFFENSE LEVEL DOES HAVE A FACTUAL
     22    BASIS.
     23                  THE COURT:    SO IT DOES HAVE A FACTUAL BASIS.
     24                  MR. MARTIN:    CRIMINAL HISTORY CATEGORY, OF
     25    COURSE, I THINK IS JUST LEGAL.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 4 of 112 PageID #: 1132
                                                                              5



      1         JOHN FRANKLIN LANDERS, II, DEFENDANT'S WITNESS, SWORN
      2                            DIRECT EXAMINATION
      3                              BY MR. MARTIN:
      4    Q.      YOUR NAME IS JOHN LANDERS, AND YOU'RE THE DEFENDANT
      5    IN THIS CASE; IS THAT CORRECT?
      6    A.      YES, SIR.
      7    Q.      NOW, I'D LIKE TO ASK YOU SOME QUESTIONS,
      8    MR. LANDERS, ABOUT THE OTHER CODEFENDANTS IN THIS CASE.

      9                 I'M PUTTING ON THE PROJECTOR PAGE 2 OF THE
     10    PRESENTENCE INVESTIGATION REPORT WHICH LISTS THE
     11    CODEFENDANTS IN THIS CASE, AND I'LL DRAW YOUR ATTENTION TO
     12    THE LIST OF CODEFENDANTS, AND I'D LIKE TO ASK YOU TAKE
     13    JUST A MOMENT, READ SILENTLY TO YOURSELF ALL THE NAMES OF
     14    THE CODEFENDANTS IN THIS CASE, AND I'D LIKE TO ASK YOU
     15    SOME QUESTIONS ABOUT IT.
     16                 HAVE YOU READ THE LIST?
     17    A.      YES, SIR.
     18    Q.      TELL US, PLEASE, MR. LANDERS, WHICH OF THESE PEOPLE,
     19    IF ANY, YOU EVER MET IN YOUR ENTIRE LIFE?
     20    A.      IT WOULD BE TRISTAN ALLYN BREWER.
     21    Q.      ALL RIGHT.    LET ME CIRCLE THAT.     SO YOU'VE MET
     22    TRISTAN BREWER.
     23                 AND WHO ELSE?
     24    A.      JAMES SCOTT, JAMES SCOTT WHITE.
     25    Q.      I'M CIRCLING THAT.     AND WHO ELSE?




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 5 of 112 PageID #: 1133
                                                                              6



      1    A.      AND LINDSEY RENEE PHIPPS.
      2    Q.      SO THE ONLY PEOPLE ON THIS LIST THAT YOU'VE EVER MET
      3    IN YOUR LIFE; IS THAT RIGHT?
      4    A.      YES, SIR.
      5    Q.      NOW, I'D LIKE TO ASK YOU SOME QUESTIONS ABOUT YOUR
      6    INVOLVEMENT WITH TRISTAN BREWER.        TELL US, PLEASE, WHEN
      7    WAS THE FIRST TIME IN YOUR LIFE YOU EVER MET TRISTAN
      8    BREWER?

      9    A.      A FEW DAYS PRIOR TO THIS INCIDENT.
     10    Q.      WELL --
     11    A.      A WEEK, WEEK.
     12    Q.      YOU WERE ARRESTED ON OCTOBER 28, 2011, SO ARE YOU
     13    TALKING ABOUT THE DAY BEFORE, OCTOBER 27TH?
     14    A.      YES, SIR.
     15    Q.      A FEW DAYS BEFORE THAT?
     16    A.      YES, SIR.
     17    Q.      AND TELL US THE CIRCUMSTANCES, PLEASE, UNDER WHICH
     18    YOU FIRST MET TRISTAN BREWER.
     19    A.      I JUST MET HIM AROUND MY NEIGHBORHOOD, JUST --
     20    Q.      IN GENERAL --
     21                 THE COURT:    TELL ME WHAT THAT MEANS.
     22    A.      I JUST -- I GUESS FRIENDS, ACQUAINTANCES.         I JUST --
     23                 THE COURT:    SOME FRIEND INTRODUCED YOU TO HIM?
     24    A.      YES, SIR.   YES, SIR.    SORRY.
     25    Q.      AND TELL US WHAT OCCURRED WHEN YOU FIRST MET TRISTAN




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 6 of 112 PageID #: 1134
                                                                              7



      1    BREWER.
      2    A.      JUST CHITCHAT, TALKING.
      3    Q.      JUST CONVERSATION?
      4    A.      YES, SIR.
      5    Q.      AND WHEN WAS THE NEXT TIME YOU SAW TRISTAN BREWER?
      6    A.      THE DAY BEFORE MY ARREST.
      7    Q.      SO THAT WOULD HAVE BEEN OCTOBER THE 27TH?
      8    A.      YES, SIR.

      9    Q.      AND, IN GENERAL, WHAT WAS YOUR RELATIONSHIP WITH
     10    TRISTAN BREWER?
     11    A.      JUST AN ACQUAINTANCE, FRIEND.
     12    Q.      JUST SOCIAL FRIEND, WOULD THAT BE FAIR TO SAY?
     13    A.      YES, SIR.
     14    Q.      SO THEN I WANT TO ASK YOU A QUESTION ABOUT YOUR
     15    INVOLVEMENT WITH LINDSEY PHIPPS, WHICH YOU'VE IDENTIFIED
     16    AS SOMEBODY YOU KNOW, WHEN IS THE FIRST TIME YOU EVER MET
     17    LINDSEY PHIPPS?
     18    A.      ABOUT A WEEK BEFORE OCTOBER 27TH.
     19    Q.      AND WHAT WERE THE CIRCUMSTANCES ASSOCIATED WITH YOU
     20    MEETING LINDSEY PHIPPS?
     21    A.      JUST -- I WENT OVER TO A FRIEND'S HOUSE, AND HER AND
     22    JAMES WHITE WERE THERE AND EVERYBODY WAS USING DRUGS.
     23    Q.      WHEN WAS THE NEXT TIME YOU SAW LINDSEY PHIPPS?
     24    A.      ABOUT A WEEK AFTER THAT.
     25    Q.      WOULD THAT BE SOMETIME AROUND OCTOBER 27TH OR --




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 7 of 112 PageID #: 1135
                                                                              8



      1    A.       YES, SIR.
      2    Q.       ALL RIGHT, AND WHAT WAS YOUR RELATIONSHIP WITH
      3    LINDSEY PHIPPS?
      4    A.       JUST SOCIAL FRIEND.
      5    Q.       WAS THERE ANY ROMANTIC RELATIONSHIP?
      6    A.       NO, SIR; NO.
      7    Q.       SO THEN, CORRECT, PRIOR TO BE TAKING INTO CUSTODY,
      8    YOU ONLY SAW LINDSEY PHIPPS TWO TIMES IN YOUR LIFE?

      9    A.       YES, SIR.
     10    Q.       NOW, WITH REGARD TO JAMES WHITE, TELL US, PLEASE,
     11    THE FIRST TIME YOU EVER MET JAMES WHITE IN YOUR LIFE.
     12    A.       THE SAME AS LINDSEY PHIPPS.
     13    Q.       IN OTHER WORDS, MAYBE A WEEK OR SO BEFORE YOUR
     14    ARREST?
     15    A.       YES, SIR.   THEY WERE TOGETHER.
     16    Q.       AND UNDER WHAT CIRCUMSTANCES DID YOU MEET JAMES
     17    WHITE?
     18    A.       SOCIAL FRIEND.
     19    Q.       AND WHAT WAS THE NEXT TIME YOU SAW JAMES WHITE AFTER
     20    YOU MET HIM THAT FIRST TIME?
     21    A.       PROBABLY OCTOBER 27TH.
     22    Q.       THE DAY BEFORE YOUR ARREST?
     23    A.       YES, SIR.
     24    Q.       AND WHAT WAS YOUR RELATIONSHIP WITH HIM?
     25    A.       SOCIAL FRIENDS.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 8 of 112 PageID #: 1136
                                                                                9



      1    Q.      AND SO IS IT CORRECT THAT PRIOR TO BE TAKEN INTO
      2    CUSTODY ON OCTOBER 28TH, YOU ONLY SAW HIM TWO TIMES IN
      3    YOUR LIFE?
      4    A.      YES, SIR, IT IS.
      5    Q.      NOW, I WANT TO ASK YOU SOME QUESTIONS ABOUT THE
      6    CODEFENDANTS WHICH YOU HAVE NOT PREVIOUSLY MET.           I
      7    UNDERSTAND THAT YOU'VE NEVER MET THESE PEOPLE, AND I'M NOT
      8    ASKING YOU ABOUT WHETHER YOU HAVE MET THEM OR NOT, AND

      9    THOSE PEOPLE, OF COURSE, ARE EVERYBODY OTHER THAN THOSE
     10    PEOPLE THAT ARE CIRCLED ON THE LIST OF CODEFENDANTS HERE;
     11    AND EVEN THOUGH YOU HAVE NEVER MET ANY OF THESE PERSONS IN
     12    YOUR LIFE, OTHER THAN THE THREE THAT YOU IDENTIFIED PRIOR
     13    TO OCTOBER 28TH, 2011, DO YOU HAVE ANY PERSONAL KNOWLEDGE,
     14    UNDERSTANDING AS TO THE ACTIVITIES OF THESE PERSONS
     15    REGARDING THE MANUFACTURE OF METHAMPHETAMINE?
     16    A.      NO, SIR, I DO NOT.
     17    Q.      NOW, I WANT TO ASK YOU A QUESTION, PLEASE, ABOUT THE
     18    STRUCTURE OF ANY ORGANIZATION THAT YOU MIGHT KNOW ABOUT.
     19    TELL US, PLEASE, WHETHER OR NOT PRIOR TO OCTOBER 28, 2011,
     20    YOU HAD ANY PERSONAL KNOWLEDGE OR UNDERSTANDING AS TO HOW
     21    THE ACTIVITIES OF THESE PEOPLE WERE STRUCTURED.           IN OTHER
     22    WORDS, IS IT CORRECT YOU HAD NO KNOWLEDGE OR UNDERSTANDING
     23    AS TO WHO WAS THE RING LEADER OF THIS, WHO WAS TELLING WHO
     24    WHAT TO DO?
     25    A.      THAT'S CORRECT, I HAD NO KNOWLEDGE.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 9 of 112 PageID #: 1137
                                                                              10



       1    Q.     SO IS IT FURTHER CORRECT THAT YOU HAD NO KNOWLEDGE
       2    OR UNDERSTANDING AS TO WHO WAS INVOLVED?
       3    A.     THAT'S CORRECT.
       4    Q.     WHAT WAS OCCURRING?
       5    A.     THAT'S CORRECT.
       6    Q.     YOU HAD NO KNOWLEDGE WHEN IT WAS OCCURRING?
       7    A.     THAT'S CORRECT.
       8    Q.     YOU HAD NO KNOWLEDGE WHERE IT WAS OCCURRING?

       9    A.     THAT'S RIGHT.
      10    Q.     YOU HAD NO KNOWLEDGE WHY IT WAS OCCURRING?
      11    A.     YES, SIR.
      12    Q.     YOU HAD NO KNOWLEDGE HOW IT WAS OCCURRING?
      13    A.     YES, SIR.
      14    Q.     NOW, I'M GOING TO ASK YOU A QUESTION NOT ABOUT
      15    STRUCTURE, BUT ABOUT SCOPE.       IS IT CORRECT THAT PRIOR TO
      16    OCTOBER 28, 2011, YOU DID NOT HAVE ANY PERSONAL KNOWLEDGE
      17    OR UNDERSTANDING AS TO THE SCOPE OF THESE ACTIVITIES?           IN
      18    OTHER WORDS, DID YOU HAVE ANY IDEA OF THE NUMBER OF PEOPLE
      19    THAT WERE INVOLVED OTHER THAN YOU?
      20    A.     NO, SIR, I HAD NO IDEA.
      21    Q.     DID YOU HAVE ANY IDEA OF THE SIZE OF THESE
      22    ACTIVITIES?
      23    A.     NO, SIR, I DIDN'T.
      24    Q.     DID YOU HAVE ANY IDEA OF THE DURATION AND TIME THAT
      25    WAS INVOLVED IN THIS?




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 10 of 112 PageID #: 1138
                                                                              11



       1    A.      NO, SIR, I DIDN'T.
       2    Q.      NOW, I'D LIKE TO ASK YOU SOME QUESTIONS,
       3    MR. LANDERS, PERTAINING TO YOUR LIVING ARRANGEMENTS PRIOR
       4    TO OCTOBER 28, 2011, WHEN YOU WERE TAKEN INTO CUSTODY; AND
       5    I'D LIKE TO REQUEST THAT YOU NOT STATE A STREET ADDRESS IN
       6    YOUR TESTIMONY HERE TODAY, THE ADDRESS IS OF RECORD IN THE
       7    CASE.   SO WITHOUT STATING THE STREET ADDRESS, TELL US,
       8    PLEASE, WHERE WERE YOU LIVING PRIOR TO OCTOBER 28, 2011,

       9    WHEN YOU WERE TAKEN INTO CUSTODY?
      10    A.      I WAS LIVING AT MY HOME, MY HOUSE.
      11    Q.      AND IS THIS CORRECT -- IS IT CORRECT THAT THIS IS
      12    WHERE YOU WERE ARRESTED?
      13    A.      YES, SIR.
      14    Q.      AND APPROXIMATELY WHEN DID YOU FIRST COME TO LIVE AT
      15    THIS ADDRESS?
      16    A.      PROBABLY ABOUT FIVE OR SIX MONTHS PRIOR TO MY
      17    ARREST.
      18    Q.      NOW, I WANT TO ASK YOU ABOUT YOUR INVOLVEMENT WITH
      19    THE CODEFENDANTS THAT YOU KNOW, THAT YOU'VE IDENTIFIED AT
      20    YOUR HOUSE.    AND YOU'VE TESTIFIED THAT THE FIRST TIME YOU
      21    MET THESE THREE INDIVIDUALS WAS SEVERAL DAYS PRIOR TO
      22    OCTOBER 27TH?
      23    A.      YES, SIR.
      24    Q.      AND YOU'VE TESTIFIED THE NEXT TIME YOU MET THESE
      25    THREE INDIVIDUALS WAS AT YOUR HOUSE ON OCTOBER 27TH?




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 11 of 112 PageID #: 1139
                                                                              12



       1    A.       YES, SIR.
       2    Q.       NOW, IS, IS IT CORRECT THAT PRIOR TO BEING TAKEN
       3    INTO CUSTODY, YOU ONLY SAW THESE PERSONS TWO TIMES IN YOUR
       4    LIFE?
       5    A.       THAT'S RIGHT.
       6    Q.       AND IS IT CORRECT THAT PRIOR TO THE FEW DAYS BEFORE
       7    OCTOBER 27TH, NONE OF THESE PERSONS HAD EVER BEEN AT YOUR
       8    HOME?

       9    A.       YES, SIR, THAT'S RIGHT.
      10    Q.       NOW, I'M GOING TO ASK YOU ABOUT YOUR ACTIVITIES ON
      11    OCTOBER 27TH AND OCTOBER 28TH.       NOW, WHEN YOU WERE TAKEN
      12    INTO CUSTODY LATE IN THE DAY ON OCTOBER 28TH, TELL US,
      13    PLEASE, WHO WAS AT YOUR HOUSE, WHO WAS THERE?
      14    A.       THERE WERE SEVEN, SIX, SEVEN PEOPLE TOTAL.
      15    Q.       I MEAN, YOU WERE THERE, OBVIOUSLY?
      16    A.       YES.
      17    Q.       AND WHO ELSE WAS THERE?
      18    A.       SIX OTHER PEOPLE.
      19    Q.       DO YOU REMEMBER THOSE NAMES?
      20    A.       YES, SIR, I DO.   IT WAS TRISTAN ALLYN BREWER, JAMES
      21    SCOTT WHITE, LINDSEY PHIPPS, JOHN MCGUIRE AND DUSTIN CASH
      22    AND --
      23    Q.       TELL US, PLEASE, WHETHER OR NOT GINGER HOLTSCLAW WAS
      24    THERE?
      25    A.       YEAH.   GINGER HOLTSCLAW WAS THERE, I'M SORRY, SIR.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 12 of 112 PageID #: 1140
                                                                              13



       1    Q.      AND TELL US WHETHER OR NOT THERE WAS ANYBODY BY THE
       2    NAME OF RICHIE OR RICHIE'S GIRLFRIEND OR ANYBODY LIKE
       3    THAT?
       4    A.      YES.    THEY WEREN'T THERE AT THE TIME OF MY ARREST,
       5    BUT THEY WERE THERE PREVIOUS THAT DAY.
       6    Q.      NOW, I WANT TO ASK YOU A QUESTION ABOUT WHEN THESE
       7    PEOPLE ARRIVED NOW.      TELL US, PLEASE, WHERE GINGER
       8    HOLTSCLAW WAS ON THE MORNING OF OCTOBER 27TH.

       9    A.      SHE WAS WITH ME.
      10    Q.      SO WAS SHE STAYING WITH YOU?
      11    A.      YES, SIR.
      12    Q.      SO SHE WAS THERE?
      13    A.      YES, SIR.
      14    Q.      ALL RIGHT.   WHO ARRIVED FIRST OF THESE PEOPLE THAT
      15    YOU DESCRIBED?
      16    A.      FIRST IT WOULD BE TRISTAN ALLYN BREWER AND HIS, HIS
      17    FRIEND.
      18    Q.      JOHN?
      19    A.      JOHN MCGUIRE.
      20    Q.      JOHN MCGUIRE.
      21    A.      I THINK HIS NAME --
      22    Q.      JOHN SOMETHING.
      23    A.      JOHN SOMETHING, I'M NOT SURE ABOUT --
      24    Q.      ABOUT WHEN DID THEY ARRIVE?
      25    A.      EARLIER THAT AFTERNOON.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 13 of 112 PageID #: 1141
                                                                              14



       1    Q.      SO AS OF THE AFTERNOON, IT'S YOU, GINGER HOLTSCLAW,
       2    TRISTAN BREWER AND JOHN SOMEBODY; RIGHT?
       3    A.      YES.
       4    Q.      ALL RIGHT.   WHO ARRIVED SECOND?
       5    A.      SECOND WOULD BE -- WELL, THEY LEFT.       IT WOULD BE
       6    JAMES SCOTT WHITE AND LINDSEY RENEE PHIPPS.
       7    Q.      AND ABOUT WHEN DID THEY ARRIVE?
       8    A.      LATER THAT NIGHT, ABOUT 11:00.

       9    Q.      SO SHORTLY BEFORE MIDNIGHT, IT WAS ON OCTOBER
      10    27TH?
      11    A.      YES, SIR.
      12    Q.      AND WHEN DID RICHIE AND HIS GIRLFRIEND ARRIVE?
      13    A.      IN THE -- ABOUT, A LITTLE LATER THAN THAT PROBABLY.
      14    Q.      ALL RIGHT.   FROM THE TIME TRISTAN BREWER AND JOHN
      15    WHATEVER HIS NAME IS ARRIVED IN THE MORNING UNTIL RICHIE
      16    AND HIS GIRLFRIEND ARRIVED EARLY IN THE MORNING OF OCTOBER
      17    28TH AROUND MIDNIGHT OR WHENEVER IT WAS, WERE YOU UNDER
      18    THE INFLUENCE OF DRUGS?
      19    A.      BEFORE THEY ARRIVED?
      20    Q.      DURING THIS PERIOD OF TIME BETWEEN THE ARRIVAL OF
      21    TRISTAN BREWER AND JOHN IN THE MORNING AND LATE IN THE DAY
      22    ON THE 27TH OR PERHAPS EARLY ON THE 28TH, WERE YOU UNDER
      23    THE INFLUENCE OF DRUGS?
      24    A.      NO; NO, SIR.
      25    Q.      NOW, I WANT TO ASK YOU ABOUT WHAT OCCURRED AT YOUR




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 14 of 112 PageID #: 1142
                                                                              15



       1    HOUSE ON OCTOBER 27TH AND 28TH, AND I WANT TO TALK ABOUT
       2    THE TIME PERIOD FROM THE TIME YOU WAKE UP IN THE MORNING
       3    TO THE ARRIVAL OF THE FIRST PERSON.        YOU'VE TESTIFIED THAT
       4    GINGER HOLTSCLAW WAS STAYING WITH YOU; IS THAT CORRECT?
       5    A.      YES, SIR.
       6    Q.      AND WHAT WERE YOU DOING DURING THIS PERIOD OF TIME
       7    FROM THE TIME YOU WAKE UP UNTIL THE TIME THE FIRST PERSON
       8    GETS THERE?

       9    A.      JUST CHITCHATTING.
      10    Q.      CASUAL CONVERSATION?
      11    A.      CASUAL CONVERSATION, YES, SIR.
      12    Q.      DID YOU SEE ANY METHAMPHETAMINE BEING MANUFACTURED
      13    DURING THIS TIME?
      14    A.      NO, SIR.
      15    Q.      WERE YOU INVOLVED IN ANY WAY WHATSOEVER IN THE
      16    MANUFACTURE OF METHAMPHETAMINE DURING THIS PERIOD OF
      17    TIME?
      18    A.      NO, SIR.
      19    Q.      YOU'VE TESTIFIED THAT TRISTAN BREWER AND JOHN
      20    WHATEVER HIS NAME IS ARRIVED SOMETIME IN THE AFTERNOON,
      21    OCTOBER 27TH.      NOW I WANT TO TALK ABOUT THE TIME PERIOD
      22    FROM THE TIME THOSE PEOPLE ARRIVED, TRISTAN BREWER AND
      23    JOHN SOMEBODY, TO THE ARRIVAL OF THE NEXT PEOPLE.
      24    A.      YES, SIR.
      25    Q.      NOW, WHAT WERE YOU DOING DURING THIS PERIOD OF




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 15 of 112 PageID #: 1143
                                                                              16



       1    TIME?
       2    A.      USING DRUGS WHEN, WHEN THEY -- OH, WELL, I WASN'T
       3    USING DRUGS UNTIL JAMES SCOTT WHITE AND LINDSEY PHIPPS
       4    CAME OVER.
       5    Q.      BUT YOU WERE UNDER THE INFLUENCE OF DRUGS DURING
       6    THIS PERIOD?
       7    A.      YES, SIR.
       8    Q.      NOW, DID YOU SEE ANY METHAMPHETAMINE BEING

       9    MANUFACTURED DURING THIS PERIOD OF TIME?
      10    A.      NO, SIR.
      11    Q.      WERE YOU INVOLVED IN ANY WAY WHATSOEVER IN THE
      12    MANUFACTURE OF METHAMPHETAMINE DURING THIS PERIOD OF
      13    TIME?
      14    A.      NO, SIR.
      15    Q.      ALL RIGHT, SO YOU'VE TESTIFIED THAT LINDSEY PHIPPS
      16    AND JAMES WHITE ARRIVED AROUND MIDNIGHT ON THE 27TH,
      17    SOMEWHERE AROUND THERE?
      18    A.      THAT'S RIGHT.
      19    Q.      I WANT TO ASK YOU ABOUT THE TIME PERIOD FROM THE
      20    ARRIVAL OF LINDSEY PHIPPS AND JAMES WHITE AROUND MIDNIGHT
      21    TO THE ARRIVAL OF THE NEXT PERSON, I THINK YOU SAID THAT
      22    WAS RICHIE?
      23    A.      YES, SIR.
      24    Q.      AND WHAT WERE YOU DOING DURING THIS PERIOD OF
      25    TIME?




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 16 of 112 PageID #: 1144
                                                                              17



       1    A.      USING METHAMPHETAMINE.
       2    Q.      YOU WERE USING METHAMPHETAMINE.       AND DID YOU SEE ANY
       3    METHAMPHETAMINE BEING MANUFACTURED DURING THIS PERIOD OF
       4    TIME?
       5    A.      NO, SIR.
       6    Q.      WERE YOU INVOLVED IN ANY WAY WHATSOEVER IN THE
       7    MANUFACTURE OF METHAMPHETAMINE DURING THIS TIME?
       8    A.      NO, SIR.

       9    Q.      NOW, YOU'VE TESTIFIED THAT SOMEBODY NAMED RICHIE AND
      10    I THINK HIS GIRLFRIEND ARRIVED REAL EARLY IN THE MORNING
      11    HOURS OCTOBER 28TH; IS THAT RIGHT?
      12    A.      YES, SIR.
      13    Q.      NOW, WERE YOU UNDER THE INFLUENCE OF DRUGS FROM THE
      14    TIME LINDSEY PHIPPS AND JAMES WHITE ARRIVED AROUND
      15    MIDNIGHT UNTIL RICHIE AND HIS GIRLFRIEND ARRIVED IN THE
      16    EARLY HOURS OF THE 28TH?
      17    A.      YES, I WAS.
      18    Q.      I WANT TO ASK YOU ABOUT A PERIOD OF TIME FROM WHEN
      19    RICHIE AND HIS GIRLFRIEND ARRIVED UNTIL YOU WERE TAKEN
      20    INTO CUSTODY, WHICH THE RECORD SHOWS WAS ABOUT 11:00 ON
      21    OCTOBER 28TH.      NOW, DURING THIS PERIOD OF TIME, TELL US,
      22    PLEASE, WHAT WAS OCCURRING AT YOUR HOUSE?
      23    A.      EVERYBODY USING DRUGS.
      24    Q.      AND THAT INCLUDES YOU, EVERYBODY?
      25    A.      YEAH.   OH, DEFINITELY, YES, SIR.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 17 of 112 PageID #: 1145
                                                                              18



       1    Q.     SO YOU WERE CLEARLY UNDER THE INFLUENCE OF DRUGS
       2    DURING THIS PERIOD OF TIME?
       3    A.     YES, SIR.
       4    Q.     NOW, TELL US PLEASE WHETHER OR NOT DURING THIS
       5    PERIOD OF TIME YOU SAW ANYONE IN POSSESSION OF ANY
       6    APPARATUS THAT YOU UNDERSTOOD COULD BE USED TO MAKE
       7    METHAMPHETAMINE?
       8    A.     NOT IN THAT TIME, NO, SIR.

       9    Q.     WELL, NOW, THIS IS THE WHOLE DAY.
      10    A.     OH, WELL --
      11    Q.     THE PERIOD OF TIME WE'RE TALKING ABOUT IS THE VERY
      12    EARLY HOURS OF OCTOBER 28TH, WHEN RICHIE AND HIS
      13    GIRLFRIEND GOT THERE, TO THE TIME YOU WERE TAKEN INTO
      14    CUSTODY, WHICH WAS VERY LATE.
      15    A.     YES, SIR, I SAW --
      16    Q.     SO YOU DID SEE?
      17    A.     YES, SIR.
      18    Q.     TELL US, PLEASE, WHAT, WHAT APPARATUS YOU SAW THAT
      19    YOU THOUGHT COULD BE USED TO MAKE METHAMPHETAMINE.
      20    A.     LIKE SODA BOTTLES, I GUESS, WITH A BUNCH OF STUFF IN
      21    THEM, A BUNCH OF CHEMICALS.
      22    Q.     WHO DID YOU SEE IN THE POSSESSION OF THE APPARATUS
      23    THAT YOU UNDERSTOOD COULD BE USED TO MANUFACTURE
      24    METHAMPHETAMINE?
      25    A.     IT WAS IN JAMES WHITE'S STUFF, HIS BOOK BAG.          IT




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 18 of 112 PageID #: 1146
                                                                              19



       1    WASN'T GOING OR ANYTHING, IT WAS JUST IN THERE.
       2    Q.     WAS ANYBODY IN POSSESSION OF IT?
       3    A.     YES, SIR.    I GUESS IT WOULD BE JAMES WHITE, YEAH.
       4    Q.     SO TELL US, PLEASE, WHAT JAMES WHITE HAD.
       5    A.     I GUESS HE HAD CHEMICALS TO MANUFACTURE
       6    METHAMPHETAMINE.
       7    Q.     WELL, I MEAN, DID YOU SEE CHEMICALS TO MANUFACTURE
       8    METHAMPHETAMINE?

       9    A.     YEAH; YES, SIR, I DID.
      10    Q.     AND WHEN DID YOU FIRST SEE JAMES WHITE WITH THIS
      11    APPARATUS?    I MEAN, WAS IT, WAS IT NOON, AFTERNOON, LATE
      12    AT NIGHT, OR DO YOU REMEMBER?
      13    A.     IT WAS PROBABLY THAT, THAT NOON AFTER HE HAD COME
      14    OVER ON OCTOBER 28TH --
      15    Q.     NOW --
      16    A.     -- AFTERNOON.
      17    Q.     TELL US, PLEASE, WHETHER OR NOT JAMES WHITE SAID
      18    ANYTHING THAT PERTAINED TO MATERIALS TO MANUFACTURE
      19    METHAMPHETAMINE?
      20    A.     NOT REALLY, SIR, NO.
      21    Q.     DID HE SAY ANYTHING PERTAINING -- TELL US, PLEASE,
      22    WHETHER OR NOT HE SAID ANYTHING PERTAINING TO A RAW
      23    MATERIAL TO MANUFACTURE METHAMPHETAMINE?
      24    A.     NO, SIR.
      25    Q.     DID HE SAY ANYTHING ABOUT PSEUDOEPHEDRINE?




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 19 of 112 PageID #: 1147
                                                                              20



       1    A.      NO, SIR.    WELL, I TAKE THAT BACK, HE DID.      HE WAS
       2    TRYING TO GET SUDAFED FROM TRISTAN ALLYN BREWER AND GINGER
       3    HOLTSCLAW.
       4    Q.      ALL RIGHT.   TELL US, PLEASE, WHAT, IF ANYTHING,
       5    OCCURRED PERTAINING TO OBTAINING PSEUDOEPHEDRINE SO JAMES
       6    WHITE COULD MANUFACTURE METHAMPHETAMINE?
       7    A.      COULD YOU PLEASE REPEAT IT AGAIN, WHAT DID YOU SAY?
       8    Q.      TELL US, PLEASE, WHAT, IF ANYTHING, OCCURRED WITH

       9    REGARD TO JAMES WHITE GETTING PSEUDOEPHEDRINE TO
      10    MANUFACTURE METHAMPHETAMINE?
      11    A.      HE JUST ASKED FOR SUDAFED FROM GINGER HOLTSCLAW AND
      12    TRISTAN ALLYN BREWER.
      13    Q.      SO DID HE ASK SOMEBODY TO GO GET IT FOR HIM?
      14    A.      YES, SIR.
      15    Q.      DID YOU GO WITH THEM?
      16    A.      YES, SIR, I DID.    I DIDN'T GET IT, I JUST WENT WITH
      17    THEM.
      18    Q.      RIGHT, I UNDERSTAND.     I'M JUST ASKING WHETHER YOU
      19    WENT WITH SOMEBODY TO GET SUDAFED --
      20    A.      YES, SIR.
      21    Q.      -- FOR JAMES WHITE?     AND HOW DID YOU TRAVEL?
      22    A.      IN A CAR, IN JOHN'S CAR.
      23    Q.      WHO OWNED THE CAR?
      24    A.      JOHN.
      25    Q.      JOHN SOMEBODY?




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 20 of 112 PageID #: 1148
                                                                              21



       1    A.     YES, SIR.
       2    Q.     AND DID YOU DRIVE THE CAR?
       3    A.     I DID NOT, SIR.
       4    Q.     WHO DROVE THE CAR?
       5    A.     JOHN.
       6    Q.     DID YOU GIVE ANY INSTRUCTIONS TO THE DRIVER AS TO
       7    WHERE TO GO OR WHAT TO DO OR ANYTHING LIKE THAT?
       8    A.     NO, SIR; NO, SIR.

       9    Q.     IS IT CORRECT THAT YOU WERE NOT INVOLVED IN ANY WAY
      10    WITH THE VEHICLE OR ITS OPERATION?
      11    A.     THAT'S CORRECT.
      12    Q.     BUT YOU WERE A PASSENGER IN THE CAR?
      13    A.     THAT'S RIGHT.
      14    Q.     TELL US, PLEASE, WHAT HAPPENED DURING THE TRIP IN
      15    THE CAR?
      16    A.     WE WENT TO, I THINK IT WAS, A CVS, AND A CVS AND
      17    ANOTHER DRUGSTORE, WALGREENS, AND WENT BACK TO MY HOUSE.
      18    Q.     DID SOMEBODY, WHEN YOU WERE AT THESE LOCATIONS, DID
      19    SOMEBODY FROM THE CAR GO INTO THESE FACILITIES?
      20    A.     YES, SIR.
      21    Q.     AND DID THEY COME BACK TO THE CAR?
      22    A.     YES, SIR.    IT WAS TRISTAN ALLYN BREWER AND GINGER
      23    HOLTSCLAW.
      24    Q.     NOW, DID YOU EVER GET OUT OF THE CAR AT ANY TIME
      25    FROM THE TIME YOU LEFT YOUR HOUSE UNTIL THE TIME YOU




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 21 of 112 PageID #: 1149
                                                                              22



       1    RETURNED?
       2    A.     NO, SIR.
       3    Q.     SO YOU DIDN'T GO INTO ANY -- YOU DIDN'T GET OUT OF
       4    THE CAR AT ALL?
       5    A.     NO, SIR.
       6    Q.     NOW, TELL US, PLEASE, WHAT OCCURRED AFTER YOU
       7    RETURNED TO YOUR HOUSE?
       8    A.     WELL, I RETURNED TO MY HOUSE, AND THERE WAS MORE

       9    METHAMPHETAMINE, SO -- AND IT -- THERE WAS A KIND OF WEIRD
      10    ODOR TO IT.
      11    Q.     WHAT -- TELL US, PLEASE, ANYTHING UNUSUAL THAT
      12    OCCURRED WHEN YOU GOT BACK TO YOUR HOUSE?
      13    A.     JUST THE ODOR.
      14    Q.     SO THERE WAS SOMETHING, SOME FUNNY ODOR?
      15    A.     YES, SIR.
      16    Q.     ALL RIGHT.    TELL US, PLEASE, WHETHER OR NOT YOU SAW
      17    ANYTHING THAT YOU UNDERSTOOD TO BE METHAMPHETAMINE WHEN
      18    YOU GOT BACK TO THE HOUSE?
      19    A.     YES.   METHAMPHETAMINE WAS THERE.
      20    Q.     TELL US, PLEASE, WHETHER OR NOT YOU SAW ANY
      21    APPARATUS WHICH YOU UNDERSTOOD COULD HAVE BEEN USED TO
      22    MANUFACTURE METHAMPHETAMINE?
      23    A.     YES, SIR.    THERE WAS THE BOTTLES I SPOKE OF.
      24    Q.     TELL US, PLEASE, WHO YOU SAW IN POSSESSION OF THIS
      25    APPARATUS?




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 22 of 112 PageID #: 1150
                                                                              23



       1    A.     JAMES WHITE.
       2    Q.     AND TELL US, PLEASE, WHETHER OR NOT YOU EVER AT ANY
       3    TIME DURING THIS PERIOD ACTUALLY SAW ANY METHAMPHETAMINE
       4    BEING MANUFACTURED?
       5    A.     NO, SIR.
       6    Q.     TELL US, PLEASE, WHETHER OR NOT YOU WERE INVOLVED IN
       7    ANY WAY WHATSOEVER WITH THE MANUFACTURE OF
       8    METHAMPHETAMINE?

       9    A.     OTHER THAN USING THE METHAMPHETAMINE, NO, SIR.
      10    Q.     YOU'VE TESTIFIED THAT YOU USED IT, BUT MY QUESTION
      11    IS REFINED TO THE MANUFACTURE OF METHAMPHETAMINE.
      12    A.     NO, SIR.
      13    Q.     THE QUESTION IS WHETHER YOU WERE INVOLVED IN ANY WAY
      14    WITH THE MANUFACTURE OF METHAMPHETAMINE?
      15    A.     NO, SIR.
      16    Q.     I WANT TO ASK YOU SOME FURTHER QUESTIONS PERTAINING
      17    TO THE MANUFACTURE OF METHAMPHETAMINE.         SO IT'S MY
      18    UNDERSTANDING THAT YOU NEVER ACTUALLY SAW ANY
      19    METHAMPHETAMINE BEING MANUFACTURED?
      20    A.     THAT'S CORRECT.
      21    Q.     BUT IT WAS YOUR UNDERSTANDING THAT THE APPARATUS
      22    THAT JAMES WHITE HAD IN HIS POSSESSION COULD BE USED TO
      23    MANUFACTURE METHAMPHETAMINE?
      24    A.     YES, SIR.
      25    Q.     NOW, DID YOU SUPPLY ANY INGREDIENTS WHICH COULD BE




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 23 of 112 PageID #: 1151
                                                                              24



       1    USED TO MANUFACTURE METHAMPHETAMINE?
       2    A.     NO, SIR.
       3    Q.     DID YOU SUPPLY ANY APPARATUS WHICH COULD BE
       4    REASONABLY USED TO MANUFACTURE METHAMPHETAMINE?
       5    A.     NO, SIR.
       6    Q.     DID YOU PURCHASE ANY PSEUDOEPHEDRINE?
       7    A.     NO, SIR, I DID NOT.
       8    Q.     HAVE YOU EVER IN YOUR LIFE BEEN INVOLVED IN THE

       9    MANUFACTURE OF METHAMPHETAMINE?
      10    A.     NEVER.
      11    Q.     DO YOU KNOW HOW TO MAKE METHAMPHETAMINE?
      12    A.     NO, SIR, I DON'T.
      13    Q.     IF SOMEBODY GAVE YOU A WHOLE BUNCH OF MONEY RIGHT
      14    NOW, WOULD YOU HAVE ANY IDEA HOW TO MAKE
      15    METHAMPHETAMINE?
      16    A.     NO, SIR, I DON'T.
      17    Q.     HAVE YOU EVER DISTRIBUTED METHAMPHETAMINE TO ANYONE
      18    IN YOUR ENTIRE LIFE?
      19    A.     NO, SIR.
      20    Q.     BUT YOU HAVE HAD POSSESSION OF IT?
      21    A.     YES, SIR.
      22    Q.     AND YOU HAVE USED IT?
      23    A.     YES, SIR, A FEW TIMES.
      24    Q.     NOW, I'M GOING TO ASK YOU, YOU'VE TESTIFIED ABOUT
      25    THE MANUFACTURE OF METHAMPHETAMINE, I WANT TO ASK YOU SOME




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 24 of 112 PageID #: 1152
                                                                              25



       1    QUESTIONS ABOUT THE CONTROL OF THE MANUFACTURING PROCESS.
       2    MY QUESTION IS DID YOU EXERCISE ANY CONTROL OVER WHO WAS
       3    INVOLVED IN MANUFACTURING METHAMPHETAMINE?         IN OTHER
       4    WORDS, DID YOU ISSUE ANY INSTRUCTIONS AS TO YOU CAN DO IT
       5    OR YOU CAN'T DO IT OR ANYTHING LIKE?
       6    A.     NO, SIR.
       7    Q.     DID YOU EXERCISE ANY CONTROL OVER THE KIND OF
       8    PROCESS THAT WAS GOING TO BE USED?        IN OTHER WORDS, DID

       9    YOU SAY, WELL, WE'RE GOING TO USE THIS PROCESS OR NOT?
      10    A.     NO, SIR.
      11    Q.     DID YOU EXERCISE ANY CONTROL OVER THE MANUFACTURE,
      12    ONCE THE MANUFACTURE HAD BEGUN?        IN OTHER WORDS, DID YOU
      13    SAY, WELL, LET'S TURN THIS OVER, LET'S TURN THE HEAT UP?
      14    A.     NO, SIR, I DID NOT.
      15    Q.     DID YOU EXERCISE ANY CONTROL OVER THE LOCATION OF
      16    YOUR HOUSE WHERE METHAMPHETAMINE WAS MANUFACTURED?           IN
      17    OTHER WORDS, DID YOU ISSUE ANY INSTRUCTIONS --
      18    A.     NO, SIR.
      19    Q.     -- YOU CAN MAKE METH HERE BUT YOU CAN'T HERE?
      20    A.     NO, SIR.
      21    Q.     IS IT CORRECT THAT YOU NEVER EXPLICITLY ALLOWED
      22    ANYONE TO MANUFACTURE METHAMPHETAMINE?         IN OTHER WORDS, IS
      23    IT CORRECT YOU NEVER SAID, IT'S OKAY TO MAKE
      24    METHAMPHETAMINE, OR, YEAH, IT WOULD BE OKAY?
      25    A.     NO, SIR.    I DIDN'T SAY IT WAS OKAY.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 25 of 112 PageID #: 1153
                                                                              26



       1    Q.     IS IT FAIR TO SAY THAT THESE PEOPLE JUST DID IT?
       2    A.     YES, SIR, IF THEY, IF THEY MANUFACTURED.
       3    Q.     WELL, YOU ALLOWED THE APPARATUS TO BE IN YOUR HOUSE,
       4    AND YOU KNEW THEY WERE MAKING METHAMPHETAMINE?
       5    A.      DID I -- NO, SIR.
       6    Q.     WELL, YOU KNEW THAT METHAMPHETAMINE HAD BEEN
       7    MANUFACTURED IN YOUR HOUSE.       YOU SAW THE APPARATUS.
       8    A.     I SAW --

       9    Q.     YOU NEVER ACTUALLY SAW IT, BUT YOU --
      10    A.     I NEVER SAW IT DONE.      I KNEW THEY HAD THE STUFF TO
      11    DO IT WITH.
      12    Q.     ALL RIGHT.    I WANT TO ASK YOU ABOUT ANY AGREEMENT OR
      13    COMMON OBJECTIVE THAT WAS INVOLVED HERE.         WAS THERE ANY
      14    SORT OF COMMON OBJECTIVE WITH ANYONE TO MANUFACTURE
      15    METHAMPHETAMINE?
      16    A.     NO, SIR.
      17    Q.     WAS THERE ANY AGREEMENT OR UNDERSTANDING WITH REGARD
      18    TO THE MANUFACTURE OF METHAMPHETAMINE?
      19    A.     NO, SIR.
      20    Q.     WAS THERE ANY JOINTLY UNDERTAKEN ACTIVITY INVOLVING
      21    THE MANUFACTURE OF METHAMPHETAMINE?
      22    A.     NO, SIR.
      23                  MR. MARTIN:    YOUR HONOR, DOES THE COURT HAVE
      24    QUESTIONS OF THIS WITNESS PRIOR TO CROSS EXAMINATION?
      25                  THE COURT:    NOT PRIOR TO CROSS EXAMINATION, NO.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 26 of 112 PageID #: 1154
                                                                              27



       1    Q.     MR. LANDERS, PLEASE ANSWER ANY QUESTIONS MRS. SMITH
       2    WISHES TO ASK.
       3                  MS. SMITH:   THANK YOU, CHARLES.
       4    A.     THANK YOU.
       5                            CROSS EXAMINATION
       6                               BY MS. SMITH:
       7    Q.     MR. LANDERS, I COUNTED TEN PEOPLE YOU SAID WERE AT
       8    YOUR HOME.    I'M GOING TO GO THROUGH THEM AGAIN WITH YOU

       9    JUST TO REMIND YOU.      THAT WOULD BE LINDSEY PHIPPS, JAMES
      10    WHITE, TRISTAN BREWER, JOHN SOMETHING, YOU SAID JOHN
      11    MCGUIRE, BUT WOULD IT BE MAYBE JOHN HENRY JACKSON?
      12    A.     YES.
      13    Q.     SO WE DON'T WANT TO GET MR. MCGUIRE IN ANY DEEPER
      14    TROUBLE THAN HE MAY ALREADY BE IN.
      15    A.     RIGHT, YES, MA'AM.
      16    Q.     OKAY, GOOD.    GINGER HOLTSCLAW, WHO LIVED WITH YOU,
      17    DUSTIN CASH, YOURSELF, SOMEBODY NAMED RICHIE --
      18    A.     YES, MA'AM.
      19    Q.     -- AND RICHIE'S GIRLFRIEND.       I GUESS THAT'S NINE
      20    BECAUSE I COUNTED YOU TWICE.
      21    A.     YES, MA'AM.
      22    Q.     SO IT'S NOT REALLY SIX {SIC}, IT'S NINE PEOPLE WERE
      23    THERE; RIGHT?
      24    A.     YES, MA'AM.
      25    Q.     WAS THAT PRETTY COMMON FOR YOU TO HAVE NINE PEOPLE




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 27 of 112 PageID #: 1155
                                                                              28



       1    RUNNING AROUND YOUR HOUSE ALL STONED ON METH?
       2    A.     NOT ON METH, NO, MA'AM.
       3    Q.     BUT THEY WERE STONED ON OTHER DRUGS; WEREN'T THEY?
       4    A.     I HAD FRIENDS OVER, YES, SIR.
       5    Q.     OKAY, AND WHAT YOU DESCRIBED AS KNOWING PEOPLE
       6    SOCIALLY, ALL OF THOSE PEOPLE THAT YOU DESCRIBED KNOWING
       7    OR MEETING SOCIALLY --
       8    A.     YES, SIR.

       9    Q.     -- SOCIAL TO YOU MEANS USING ILLEGAL DRUGS; IS THAT
      10    CORRECT?
      11    A.     YES, MA'AM.
      12    Q.     OKAY, SO, FOR EXAMPLE, WHEN YOU SAID YOU MET TRISTAN
      13    BREWER VIA ANOTHER FRIEND A WEEK OR SO BEFORE, THAT MEANS
      14    YOU MET TRISTAN AT ANOTHER FRIEND'S HOME WHERE ILLEGAL
      15    DRUGS WERE BEING USED; IS THAT CORRECT?
      16    A.     YES, MA'AM, THAT IS.
      17    Q.     OKAY.   THE SAME FOR LINDSEY PHIPPS?
      18    A.     YES, MA'AM.
      19    Q.     AND THE SAME FOR JAMES WHITE?
      20    A.     YES, MA'AM.
      21    Q.     AND YOU TOLD THE PROBATION OFFICER WHEN HE OR SHE
      22    PREPARED YOUR PSR THAT GINGER, YOUR GIRLFRIEND WHO LIVED
      23    WITH YOU, INTRODUCED YOU TO THE USE OF METH; DIDN'T SHE?
      24    A.     YES, MA'AM.
      25    Q.     AND HOW LONG HAD SHE DONE THAT PRIOR TO THIS DAY?




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 28 of 112 PageID #: 1156
                                                                              29



       1    A.     HOW LONG HAD SHE DONE IT?
       2    Q.     NO, HOW LONG HAD YOU BEEN INTRODUCED TO METH.
       3    A.     TWO WEEKS, A WEEK.
       4    Q.     TWO WEEKS.    AND HOW LONG HAD SHE LIVED WITH YOU?
       5    A.     TWO WEEK -- A WEEK AND A HALF.
       6    Q.     AND HOW MANY TIMES A DAY DID YOU USE METH IN THAT
       7    TWO WEEK PERIOD OF TIME?
       8    A.     I ONLY USED IT THE FIRST TIME I MET HER AND THEN I

       9    DIDN'T USE IT AGAIN UNTIL THE TIME OF MY ARREST.
      10    Q.     OKAY.    I'M GOING TO GIVE YOU A SECOND CHANCE AT THAT
      11    ANSWER, MR. LANDERS, BECAUSE THE JUDGE AND I, MR. MARTIN,
      12    WE ALL KNOW THAT METH IS THE MOST HIGHLY ADDICTIVE
      13    SUBSTANCE THAT EXISTS RIGHT NOW, OKAY.         IT IS A VERY DEEP
      14    ADDICTION.     SO YOUR TESTIMONY IS THAT YOU USED METH ONE
      15    TIME TWO WEEKS BEFORE THIS DAY, AND THEN YOU DIDN'T USE IT
      16    AGAIN UNTIL OCTOBER 28TH, 2011; IS THAT CORRECT?
      17    A.     YES, MA'AM.    I DON'T LIKE THE DRUG.      I DON'T --
      18    Q.     YOU DON'T LIKE THE DRUG?
      19    A.     I MEAN, I LIKE OTHER DRUGS, I'M NOT GOING TO LIE;
      20    BUT, YEAH, I DON'T LIKE METH.
      21    Q.     AND WHERE DOES METH COME FROM, DO YOU KNOW?
      22    A.     SUDAFED, I GUESS.
      23    Q.     YEAH.    WELL, THE FIRST TIME YOU TRIED IT, HOW DID
      24    YOU GET IT?
      25    A.     I GOT IT FROM GINGER.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 29 of 112 PageID #: 1157
                                                                              30



       1    Q.     AND HOW DID SHE GET IT?
       2    A.     FROM I'M THINKING JAMES WHITE OR LINDSEY.
       3    Q.     JAMES WHITE OR LINDSEY, AND WHAT FORM WAS IT IN.
       4    A.     IT WAS IN A POWDER.
       5    Q.     IT WAS IN A POWDER.
       6    A.     YES, MA'AM.
       7    Q.     WELL, DID IT COME IN A PILL BOTTLE?
       8    A.     NO, MA'AM.

       9    Q.     PIECE OF FOIL, WHAT?      WHAT FORM WAS IT DELIVERED TO
      10    YOU?
      11    A.     A BAG, I GUESS.
      12    Q.     A BAG.   WELL, NO, I'M NOT ASKING YOU TO GUESS, I'M
      13    ASKING YOU -- YOU CAN'T REMEMBER --
      14    A.     YES, MA'AM.
      15    Q.     -- BECAUSE YOU'RE SO STONED; RIGHT?        IS THAT IT?
      16    A.     YES, MA'AM, THAT'S TRUE.
      17    Q.     AND DID IT -- DO YOU THINK THAT YOU BUY METH LIKE
      18    YOU BUY PILLS AT CVS?
      19    A.     NO, NOT -- I MEAN, DO I THINK YOU CAN BUY IT LIKE --
      20    Q.     WELL, WHERE DO YOU THINK METH COMES FROM?
      21    A.     I GUESS PEOPLE THAT MAKE IT.
      22    Q.     RIGHT.
      23    A.     YES, MA'AM.
      24    Q.     RIGHT.   PEOPLE LIKE JAMES WHITE; RIGHT?
      25    A.     YES, MA'AM.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 30 of 112 PageID #: 1158
                                                                              31



       1    Q.     AND YOU KNEW THAT FROM THE BEGINNING; DIDN'T YOU?
       2    A.     YES, MA'AM, I DID.
       3    Q.     OKAY, SO IF YOU -- HOW DID YOU INGEST THAT METH THE
       4    FIRST TIME?
       5    A.     I INJECTED IT, MA'AM.
       6    Q.     YOU INJECTED IT?
       7    A.     YES.
       8    Q.     IN A HYPODERMIC NEEDLE INTO THE VEIN IN YOUR ARM?

       9    A.     YES, MA'AM.
      10    Q.     WHO DID THAT FOR YOU?
      11    A.     I DID IT MYSELF.
      12    Q.     SO YOU HAD DONE WHAT'S NOW CALLED MAIN LINING
      13    BEFORE; HADN'T YOU?
      14    A.     YES, MA'AM.
      15    Q.     OF OTHER DRUGS?
      16    A.     YES, MA'AM.
      17    Q.     OKAY.   SO THIS WAS JUST ANOTHER DRUG THAT YOU NEVER
      18    TRIED BEFORE THAT YOU DECIDED JUST TO PUT IMMEDIATELY INTO
      19    YOUR VEINS?
      20    A.     YES, MA'AM.
      21    Q.     OKAY.   WHERE DID YOU GET THE HYPODERMIC NEEDLE?
      22    A.     I GUESS THEY WERE THERE, I HAD IT.        I DON'T QUITE
      23    REMEMBER, MA'AM.
      24    Q.     OKAY.   YOU HAD HYPODERMIC NEEDLES AT YOUR HOME?
      25    A.     YES, MA'AM.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 31 of 112 PageID #: 1159
                                                                              32



       1    Q.     TO USE FOR INGESTING ILLEGAL DRUGS?
       2    A.     YES, MA'AM.
       3    Q.     OKAY.   GREAT.    YOU THINK MAYBE THAT'S WHY THOSE
       4    OTHER EIGHT PEOPLE SHOWED UP AT YOUR HOUSE THAT DAY?
       5    A.     YES, MA'AM.
       6    Q.     BECAUSE IT WAS A DRUG DEN; WASN'T IT?
       7    A.     I MEAN, YES, MA'AM, WE WERE ALL --
       8    Q.     IT'S WHERE YOU WENT TO TAKE DRUGS; RIGHT?

       9    A.     NOT NECESSARILY, NO, MA'AM.
      10    Q.     OKAY.   SO YOU INJECTED METH INTO YOUR VEINS THE
      11    FIRST TIME YOU TRIED IT?
      12    A.     YES, MA'AM.
      13    Q.     YOU SKIPPED ALL THE PRELIMINARY STEPS AND WENT
      14    STRAIGHT TO THE HYPODERMIC NEEDLE?
      15    A.     YES, MA'AM.
      16    Q.     OKAY.   YOU'RE KIND OF PROUD OF YOURSELF FOR THAT
      17    TOO; AREN'T YOU, MR. LANDERS --
      18    A.     NO.
      19    Q.     -- I CAN TELL BY YOUR DEMEANOR?
      20    A.     I'M VERY, VERY ASHAMED OF IT, AS A MATTER OF FACT.
      21    Q.     ALL RIGHT, SO YOU DIDN'T TRY IT AGAIN FOR ANOTHER
      22    TWO WEEKS?
      23    A.     YES, MA'AM, THAT'S RIGHT.
      24    Q.     DID GINGER CONTINUE TO INGEST METH?
      25    A.     NO, SHE DID NOT.     I WOULDN'T -- I MEAN, SHE DIDN'T




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 32 of 112 PageID #: 1160
                                                                              33



       1    DO IT AROUND ME.
       2    Q.      SO WHAT CHANGED ON OCTOBER 27TH AND 28TH, WHY DID
       3    YOU DECIDE TO TAKE METH TWO WEEKS LATER?
       4    A.      IT WAS THERE TO DO IT.
       5    Q.      AND HOW DID IT GET THERE?
       6    A.      JAMES WHITE AND LINDSEY PHIPPS.
       7    Q.      AND WHERE DO YOU THINK THEY GOT IT FROM?
       8    A.      I'M TAKING IT THEY MADE IT.

       9    Q.      THEY MADE IT.    AND WHEN YOU USE IT UP, WHAT DO YOU
      10    HAVE TO DO IF YOU WANT SOME MORE?
      11    A.      YOU HAVE TO MAKE MORE.
      12    Q.      CORRECT.
      13    A.      YES, MA'AM.
      14    Q.      NOW, IF YOU -- YOU SAID YOU GOT IN A CAR, HOW MANY
      15    PEOPLE AT THE MOMENT YOU GOT IN JOHN'S CAR AND WENT TO THE
      16    PHARMACY -- I GUESS, FIRST OF ALL, WHY DID YOU GO IF YOU
      17    WEREN'T GOING TO BUY SUDAFED?
      18    A.      I JUST WENT WITH THEM, MA'AM.      I DON'T, I DON'T
      19    KNOW.
      20    Q.      AND HOW MANY PEOPLE WERE LEFT AT YOUR HOUSE WHEN YOU
      21    LEFT?
      22    A.      ONE.
      23    Q.      ONE?
      24    A.      YES, MA'AM.
      25    Q.      AND WAS THAT PERSON USING METH WHEN YOU LEFT?




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 33 of 112 PageID #: 1161
                                                                              34



       1    A.     YES, MA'AM.
       2    Q.     OKAY, SO -- AND HAD THEY USED UP ALL THE METH WHEN
       3    YOU LEFT?    WAS IT ALL GONE BY THAT TIME?
       4    A.     I DON'T QUITE REMEMBER.      I DON'T, I DON'T --
       5    Q.     AND THE REASON YOU DON'T REMEMBER IS BECAUSE YOU
       6    WERE SO IMPAIRED; RIGHT?
       7    A.     THAT'S RIGHT; YES, MA'AM.
       8    Q.     OKAY.   ARE YOU AWARE THAT METH ACTUALLY DESTROYS AND

       9    REARRANGES BRAIN CELLS?
      10    A.     I'M SURE IT DOES, MA'AM.
      11    Q.     ALL RIGHT.    THANK YOU.    HOW DID YOU KNOW -- YOU
      12    ANSWERED MR. MARTIN'S QUESTION WHEN HE ASKED YOU ABOUT THE
      13    APPARATUS TO MAKE METH, HOW DO YOU KNOW THAT SODA BOTTLES
      14    ARE USED TO MAKE METH?
      15    A.     WATCHING TV.
      16    Q.     WHICH TV ARE YOU TALKING ABOUT?
      17    A.     TELEVISION, LIKE DRUG SHOWS AND STUFF WHERE THEY
      18    BUST DRUG DEALERS AND --
      19    Q.     AND YOU KNEW THAT BEFORE YOU STARTED TAKING METH?
      20    A.     YES; YES, MA'AM.
      21    Q.     THANK YOU.    WHEN YOU -- YOU SAID WHEN YOU RETURNED
      22    TO YOUR HOUSE, YOU NOTICED A FUNNY ODOR?
      23    A.     YES, MA'AM.
      24    Q.     OKAY.   DID YOU AT ANY TIME ASK ANY OF THOSE PEOPLE
      25    TO LEAVE YOUR HOME?




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 34 of 112 PageID #: 1162
                                                                              35



       1    A.     I DID NOT, MA'AM, NO.
       2    Q.     OKAY, AND YOU DIDN'T EVEN MAKE ANY ATTEMPT TO CALL
       3    THE POLICE TO GET THOSE PEOPLE TO LEAVE; DID YOU?
       4    A.     WELL, NO, MA'AM.
       5    Q.     NO, MA'AM.    AND SO DID YOU INJECT METH AGAIN WHEN
       6    YOU GOT BACK?
       7    A.     YES, I DID.
       8    Q.     SO YOU, YOU ACTUALLY TOOK METH TWICE THAT DAY,

       9    RIGHT, INJECTED IT DIRECTLY INTO YOUR VEINS?
      10    A.     YES, MA'AM, MAYBE MORE THAN THAT.
      11    Q.     OKAY.    DO YOU HAVE ANY IDEA HOW MUCH METH YOU
      12    INGESTED ON OCTOBER 28, 2011?
      13    A.     NO, MA'AM.
      14    Q.     OKAY, BUT IT WOULD BE FAIR TO SAY THAT PRETTY MUCH
      15    ALL YOU DID THAT DAY WAS HAVE EIGHT OTHER PEOPLE COME OVER
      16    TO YOUR HOUSE AND DO METH AND OTHER DRUGS; RIGHT?
      17    A.     YES, MA'AM.
      18    Q.     AND THAT PRETTY MUCH DESCRIBES YOUR EXISTENCE FOR
      19    THAT TWO WEEK PERIOD OF TIME BEFORE AS WELL; RIGHT, YOU
      20    WERE JUST ON DRUGS THE WHOLE TIME?
      21    A.     FOR THE TWO WEEK PERIOD BEFORE?
      22    Q.     YES.
      23    A.     I WASN'T ON METH; BUT, YEAH, I GUESS YOU COULD SAY I
      24    WAS ON DRUGS, YES, MA'AM.
      25    Q.     OKAY.    WELL, I WILL SAY THAT, AND WHICH DRUGS WERE




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 35 of 112 PageID #: 1163
                                                                              36



       1    YOU ON, IF YOU REMEMBER?
       2    A.     PAIN KILLERS.
       3    Q.     WERE THEY PRESCRIBED FOR YOU --
       4    A.     NO, MA'AM.
       5    Q.     -- OR WERE YOU ABUSING THEM TOO?
       6    A.     YES, MA'AM.
       7    Q.     ALL RIGHT.    HOW ABOUT HEROIN?
       8    A.     NONE AT THAT TIME, NO, MA'AM.

       9    Q.     HOW ABOUT COCAINE?
      10    A.     NOT THAT I REMEMBER.
      11    Q.     OKAY.   NOW, YOU -- THAT OCCURRED ON OCTOBER 28,
      12    2011, AND THE POLICE CAME; RIGHT?
      13    A.     YES, MA'AM.
      14    Q.     AND THEY ARRESTED YOU?
      15    A.     YES, MA'AM.
      16    Q.     AND DID THEY HAVE TO DO SOMETHING TO YOUR HOME AS
      17    REGARDS THE METH STUFF?
      18    A.     YES, MA'AM.    THEY TOOK EVERYTHING I OWNED AND
      19    QUARANTINED MY HOUSE.
      20    Q.     AND THAT'S BECAUSE WHY, DO YOU KNOW?
      21    A.     YEAH.   THEY SAID -- WELL, THEY TESTED THE WALLS AND
      22    SAID METH WAS NOT COOKED AT MY HOUSE, BUT I GUESS IT WAS
      23    BECAUSE THEY FOUND THE METH, THE METH LAB OR THE STUFF TO
      24    MAKE IT IN THERE; YES, MA'AM.
      25    Q.     BUT JUST A FEW MONTHS LATER, AUGUST 23RD OF 2012,




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 36 of 112 PageID #: 1164
                                                                              37



       1    YOU WERE ARRESTED IN HENRICO COUNTY, VIRGINIA; WEREN'T
       2    YOU?
       3    A.     HENRICO, YES, MA'AM.
       4    Q.     AND IT'S RIGHT THERE IN THE PSR?
       5    A.     YES, MA'AM.
       6    Q.     AND WHAT WERE YOU ARRESTED WITH?
       7    A.     I WAS ARRESTED WITH A SPOON THAT HAD COCAINE AND
       8    HEROIN IN IT.

       9    Q.     COCAINE AND HEROIN --
      10    A.     YES, MA'AM.
      11    Q.     -- RIGHT?    SO THIS ARREST AT YOUR HOUSE WITH ALL THE
      12    METH PEOPLE DIDN'T DETER YOU ONE BIT, DID IT, FROM THIS
      13    DRUG LIFESTYLE?
      14    A.     YES, MA'AM, IT DID, BUT --
      15    Q.     HOW?
      16    A.     I MEAN, I'M JUST -- I'M A DRUG ADDICT, YES, MA'AM,
      17    THAT'S --
      18    Q.     OKAY, AND WHEN MR. MARTIN ASKED YOU WHETHER YOU
      19    DIRECTED OR HAD AN AGREEMENT WITH THESE OTHER PEOPLE,
      20    WOULD IT BE FAIR TO DESCRIBE YOUR MENTAL STATE ON OCTOBER
      21    28TH THAT YOU WERE SO STONED FROM MAIN LINING METH THAT
      22    YOU DIDN'T EVEN KNOW WHICH END WAS UP; DID YOU?
      23    A.     I WAS DEFINITELY IMPAIRED, YES, MA'AM.
      24                  MS. SMITH:   THANK YOU.
      25                  THANK YOU, YOUR HONOR.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 37 of 112 PageID #: 1165
                                                                              38



       1                  THANK YOU, MR. MARTIN.
       2                  MR. MARTIN:     DOES THE COURT HAVE ANY QUESTIONS,
       3    YOUR HONOR?
       4                  THE COURT:    DO YOU HAVE OTHER QUESTIONS?
       5                  MR. MARTIN:     NO, I HAVE NO REDIRECT, YOUR
       6    HONOR.    DOES THE COURT HAVE QUESTIONS?
       7                  THE COURT:    I DO.
       8                                 EXAMINATION

       9                                BY THE COURT:
      10    Q.       MR. LANDERS, TELL ME THE CIRCUMSTANCES AGAIN THROUGH
      11    WHICH YOU MET TRISTAN BREWER, LINDSEY PHIPPS AND
      12    MR. WHITE.
      13    A.       YES, SIR.    I MET THEM ABOUT TWO WEEKS PRIOR TO WHEN
      14    I GOT ARRESTED.
      15    Q.       I UNDERSTAND THAT.    HOW DID THAT COME ABOUT?
      16    A.       A FRIEND -- HONESTLY A FRIEND TOLD ME, YOU SHOULD
      17    TRY METH, IT'S REALLY GOOD; AND I MET GINGER HOLTSCLAW AND
      18    THEN ME AND HER GOT ROMANTICALLY INVOLVED, SO SHE TOOK ME
      19    TO HER HOUSE WHERE I MET JAMES WHITE AND LINDSEY PHIPPS.
      20    Q.       ALL RIGHT.   A FRIEND TOLD YOU YOU SHOULD TRY METH?
      21    A.       YES, SIR.
      22    Q.       SO WERE TRISTAN BREWER AND THESE OTHER PEOPLE AT
      23    MS. HOLTSCLAW'S HOUSE?
      24    A.       TRISTAN BREWER WAS NOT, NO, BUT LINDSEY PHIPPS AND
      25    JAMES WHITE WERE.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 38 of 112 PageID #: 1166
                                                                              39



       1    Q.     ALL RIGHT, AND DID YOU COME TO KNOW THEM AS SOMEBODY
       2    WHO COULD SUPPLY METH?
       3    A.     YES, SIR, I DID.     I JUST KNEW THEM FOR THAT TIME.
       4    THEY WENT TO GEORGIA RIGHT, RIGHT AFTER THAT, AND THEN
       5    GINGER GOT KICKED OUT AND MOVED IN WITH ME.
       6    Q.     BUT FOR OUR PURPOSES HERE, WHEN YOU FIRST MET THEM
       7    ON THAT OCCASION WHEN YOU WERE LOOKING FOR METH, DID YOU
       8    IDENTIFY MS. PHIPPS AND MR. WHITE AS SOURCES OF

       9    METHAMPHETAMINE?
      10    A.     YES, SIR.
      11    Q.     ALL RIGHT, AND DID YOU HAVE ANY SENSE ABOUT WHERE
      12    THEY WERE GETTING THE METHAMPHETAMINE?
      13    A.     NOT AT THAT TIME.
      14    Q.     ALL RIGHT.    WHEN DID YOU BECOME AWARE OF THAT?
      15    A.     AT MY HOUSE, PRETTY MUCH.
      16    Q.     ON THE 27TH OR 28TH?
      17    A.     YES, SIR.
      18    Q.     CAN YOU BE ANY MORE SPECIFIC ABOUT THAT?
      19    A.     WELL, WHEN, WHEN THEY ASKED FOR THE SUDAFED WAS
      20    THE -- WHEN I KNEW, YOU KNOW.
      21    Q.     AND WHEN YOU GOT IN THAT AUTOMOBILE, YOU KNEW THEY
      22    WERE GOING TO GET SUDAFED; CORRECT?
      23    A.     YES, SIR, I DID.
      24    Q.     WHAT DID YOU THINK THEY WERE GOING TO DO WITH THAT
      25    SUDAFED?




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 39 of 112 PageID #: 1167
                                                                              40



       1    A.     I DIDN'T THINK THEY WERE GOING TO TRY TO MAKE IT AT
       2    MY HOUSE, BUT I KNEW THEY DID HAVE PROBABLY THE STUFF TO
       3    MAKE IT WITH.
       4    Q.     BUT YOU KNEW THEY WANTED THE PSEUDOEPHEDRINE IN
       5    ORDER TO MANUFACTURE METHAMPHETAMINE?
       6    A.     YES, SIR.    I MEAN I -- THAT'S --
       7    Q.     AND YOU KNEW THAT EVERYTHING ELSE THAT WAS NEEDED TO
       8    MANUFACTURE IT WAS THERE PRESENT AT YOUR HOUSE BECAUSE YOU

       9    HAD SEEN IT; CORRECT?
      10    A.     I SAW IT AFTER THE FACT OF THE SUDAFED; BUT, YEAH,
      11    YES, SIR.    AND I TOLD HIM TO TAKE IT OUT OF MY HOUSE TOO,
      12    BUT, OBVIOUSLY, THAT DIDN'T WORK.
      13    Q.     ALL RIGHT.    WHEN DID YOU TELL HIM TO TAKE IT OUT OF
      14    YOUR HOUSE?
      15    A.     RIGHT WHEN I SAW IT BECAUSE MY HOUSE, HONESTLY, WAS
      16    A, LIKE SHE SAID, A LOT OF PEOPLE DO DRUGS THERE, AND THE
      17    POLICE WERE, WOULD COME BY MY HOUSE QUITE FREQUENTLY, SO.
      18    I DID TELL HIM, I TOLD HIM TO TAKE IT OUT OF MY HOUSE; AND
      19    HE SAID HE DID, HONESTLY.
      20    Q.     ALL RIGHT.    TELL ME WHEN THOSE CONVERSATIONS
      21    OCCURRED.
      22    A.     MIDDAY THAT DAY ON THE 28TH.
      23    Q.     SO WHEN YOU FIRST SAW THESE MATERIALS IN THE BACK
      24    PACK --
      25    A.     YES, SIR.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 40 of 112 PageID #: 1168
                                                                              41



       1    Q.       -- YOU ASKED HIM TO REMOVE THEM FROM YOUR HOUSE?
       2    A.       YES, SIR.
       3    Q.       TO YOUR KNOWLEDGE DID HE EVER LEAVE YOUR HOUSE THAT
       4    AFTERNOON?
       5    A.       YES, SIR, HE DID; AND I THOUGHT THAT LEFT WITH HIM,
       6    OBVIOUSLY IT DIDN'T.
       7    Q.       NOW, YOU SAID MR. WHITE WAS TRYING TO GET
       8    PSEUDOEPHEDRINE FROM TRISTAN BREWER AND GINGER HOLTSCLAW.

       9    TELL ME SPECIFICALLY WHAT YOU REMEMBER ABOUT THAT.
      10    A.       HE ASKED ME TO GET IT FOR HIM TOO, AND I TOLD HIM I
      11    CAN'T.
      12    Q.       WHY DID YOU TELL HIM YOU COULDN'T DO THAT?
      13    A.       BECAUSE I DIDN'T -- I KNEW I COULD GET IN TROUBLE
      14    FOR IT.    I KNEW I DIDN'T WANT, YOU KNOW, I DIDN'T WANT TO
      15    DO THAT.    I DON'T REALLY EVEN MESS WITH THE DRUG, SO.
      16    Q.       IS THAT BECAUSE YOU KNEW IT WAS GOING TO BE USED TO
      17    MANUFACTURE METHAMPHETAMINE?
      18    A.       YES, SIR.
      19    Q.       AND MS. SMITH ASKED YOU WHY YOU TOOK THIS RIDE TO
      20    THE PHARMACY.
      21    A.       YES, SIR.
      22    Q.       TELL ME AGAIN WHY YOU DID THAT?
      23    A.       STUPIDITY, I GUESS.
      24    Q.       BUT YOU KNEW THE PURPOSE OF THE TRIP WAS TO PICK UP
      25    PSEUDOEPHEDRINE?




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 41 of 112 PageID #: 1169
                                                                              42



       1    A.       YES, SIR.
       2    Q.       WHICH WOULD BE USED TO MANUFACTURE
       3    METHAMPHETAMINE?
       4    A.       YES, SIR.
       5    Q.       WHAT GAVE YOU THE IMPRESSION THAT IT WOULD NOT BE
       6    MANUFACTURED AT YOUR HOUSE?
       7    A.       BECAUSE I WOULDN'T ALLOW IT TO BE MANUFACTURED AT MY
       8    HOUSE.

       9    Q.       WHEN YOU GOT BACK FROM THE DRUG STORE, THERE WAS
      10    MORE METH PRESENT; CORRECT?
      11    A.       THERE WAS METH PRESENT, YES, SIR.
      12    Q.       WHAT HAPPENED TO THAT PSEUDOEPHEDRINE THAT WAS
      13    GOT -- PURCHASED AT THE CVS AND WALGREENS?
      14    A.       IT GOT FOUND AT MY HOUSE, HE DIDN'T USE IT.
      15    Q.       IT HAD NOT BEEN USED.
      16    A.       YES, SIR.
      17    Q.       NOW, WAS MR. WHITE LOOKING FOR PSEUDOEPHEDRINE
      18    BECAUSE YOU HAD RUN OUT OF METHAMPHETAMINE?
      19    A.       NO, SIR.    I THINK HE PROBABLY JUST HAD SOME PUT AWAY
      20    BECAUSE HE NEVER USED THE SUDAFED AND THERE WAS MORE.
      21    Q.       NOW, I'M A LITTLE BIT FUZZY ABOUT WHY ALL THESE
      22    PEOPLE ASSEMBLED AT YOUR HOUSE ON THE 27TH.
      23    A.       YES, SIR.
      24    Q.       TELL ME WHAT YOU KNOW ABOUT THAT.
      25    A.       HONESTLY, IT WAS JUST SUPPOSED TO BE FOUR OF US ALL




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 42 of 112 PageID #: 1170
                                                                              43



       1    GETTING HIGH, AND THEN RICHIE AND HIS GIRLFRIEND AND
       2    DUSTIN CASH AND THOSE PEOPLE JUST COME BY TO SEE ME,
       3    HONESTLY, THEY -- THAT'S WHY THEY WEREN'T -- WELL, TRISTAN
       4    ALLYN BREWER BOUGHT THE SUDAFED; BUT RICHIE AND HIS
       5    GIRLFRIEND, DUSTIN CASH, THEY JUST COME BY TO SEE ME, THEY
       6    HAD NOTHING TO DO WITH ANYTHING.
       7    Q.     WHEN YOU SAY THE FOUR OF YOU WERE JUST THERE TO GET
       8    HIGH, YOU'RE TALKING ABOUT YOURSELF, GINGER HOLTSCLAW,

       9    TRISTAN BREWER AND HIS FRIEND JOHN?
      10    A.     AND JAMES WHITE.     FIVE OF US, I'M SORRY.
      11    Q.     NOW, HOW FAR WAS YOUR HOUSE AWAY FROM THE CVS AND
      12    THE WALGREENS YOU WENT TO ON THAT EVENING?
      13    A.     PROBABLY A FEW MILES, THREE, FOUR MILES, SOMETHING
      14    LIKE THAT.
      15    Q.     HOW LONG DID THE TRIP TAKE?
      16    A.     NOT LONG.
      17    Q.     GIVE ME AN IDEA.
      18    A.     I'D SAY PROBABLY 20 MINUTES MAYBE, 30 MINUTES.
      19    Q.     TELL ME ABOUT THE CONVERSATION AMONG ALL OF YOU IN
      20    THE AUTOMOBILE ON THE WAY TO THE PHARMACY AND BACK.
      21    A.     HONESTLY, I WAS -- I DIDN'T REALLY TALK, I WAS
      22    JUST -- I WAS HIGH ON METHAMPHETAMINE, AND I WAS VERY
      23    PARANOID BECAUSE I KNOW THE, I GUESS -- I WAS JUST, I
      24    DIDN'T LIKE, I DIDN'T LIKE BEING IN THE CAR EVEN GOING
      25    THERE BECAUSE I, YOU KNOW.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 43 of 112 PageID #: 1171
                                                                                 44



       1    Q.       DOES THAT MEAN YOU DON'T REMEMBER THE
       2    CONVERSATION?
       3    A.       YEAH.    WE DIDN'T HAVE CONVERSATION, WE JUST DROVE.
       4    Q.       THERE'S A DIFFERENCE.      YOU DIDN'T HAVE ANY OR YOU
       5    DON'T REMEMBER?
       6    A.       I DIDN'T REMEMBER IT, YES, SIR.         I'M SORRY.
       7    Q.       NOW, THE PRESENTENCE REPORT INDICATES THAT WHEN THE
       8    OFFICERS CAME TO YOUR HOUSE ON OCTOBER 28TH, THEY FOUND A

       9    METHAMPHETAMINE LABORATORY.
      10    A.       YES, SIR.
      11    Q.       TELL ME WHAT YOUR UNDERSTANDING IS OF WHAT THEY
      12    FOUND.
      13    A.       I GUESS THE BOTTLES AND STUFF THAT I SAW WOULD BE
      14    THAT.
      15    Q.       DID YOU SEE WHAT THEY, THEY TOOK?
      16    A.       I WAS -- IT WAS DARK.      I WAS IN THE POLICE CAR.     I
      17    JUST SAW THEM CARRYING -- THEY WERE IN SUITS GOING IN MY
      18    HOUSE AND TAKING STUFF OUT ON A BIG TARP.
      19    Q.       SO YOU'RE ASSUMING IT WAS THE BOTTLES AND THE
      20    APPARATUS YOU HAD SEEN EARLIER IN THAT BACK PACK?
      21    A.       YES, SIR.
      22                     THE COURT:    ALL RIGHT.   DO EITHER OF YOU HAVE
      23    ANY OTHER QUESTIONS?
      24                     MS. SMITH:    NO, YOUR HONOR.    THANK YOU.
      25                     MR. MARTIN:    NO REDIRECT, YOUR HONOR.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 44 of 112 PageID #: 1172
                                                                              45



       1                 MR. LANDERS, YOU MAY STEP DOWN.
       2                 THE COURT:    ALL RIGHT, MR. LANDERS, YOU MAY
       3    STEP DOWN.
       4                 ANY OTHER WITNESSES, MR. MARTIN?
       5                 MR. MARTIN:    NO, YOUR HONOR.
       6                 THE COURT:    ALL RIGHT.    SECTION 2D1.1(2) IS THE
       7    GUIDELINES RANGE THAT APPLIES TO THE OFFENSE FOR WHICH
       8    MR. LANDERS WAS CONVICTED.       SUBSECTION C OF THAT SECTION

       9    OF THE GUIDELINES PROVIDES, HOWEVER, THAT IF THE OFFENSE
      10    INVOLVED UNLAWFULLY MANUFACTURING A CONTROLLED SUBSTANCE
      11    OR ATTEMPTING TO MANUFACTURE A CONTROLLED SUBSTANCE
      12    UNLAWFULLY, THEN SECTION 2D1.1 SHOULD BE APPLIED; AND THAT
      13    IS WHAT THE PROBATION OFFICER DID IN THIS CASE.
      14                 MR. MARTIN, TELL ME WHY YOU THINK THE CROSS
      15    REFERENCE DIDN'T APPLY.
      16                 MR. MARTIN:    YOUR HONOR, AS AN INTRODUCTORY
      17    MATTER, IN THE METHAMPHETAMINE CASE TYPICALLY BEFORE THE
      18    CURRENT -- CERTAINLY SENTENCING UNDER 2D1.1 WOULD BE
      19    CORRECT; BUT IN THIS CASE, YOUR HONOR, WE SAY THAT SECTION
      20    2D1.1(2)(C) PROVIDES, OF COURSE, WITH A CROSS REFERENCE,
      21    IF THE OFFENSE INVOLVED UNLAWFULLY MANUFACTURING A
      22    CONTROLLED SUBSTANCE.      ON COMMENT 2 DEFINES THAT TERM,
      23    OFFENSE INVOLVING UNLAWFULLY MANUFACTURING A CONTROLLED
      24    SUBSTANCE; AND COMMENT 2 SAYS, IT MEANS THE DEFENDANT OR A
      25    PERSON FOR WHOSE CONDUCT THE DEFENDANT IS ACCOUNTABLE




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 45 of 112 PageID #: 1173
                                                                                46



       1    UNDER SECTION 1B1.3, RELEVANT CONDUCT, COMPLETED THE
       2    ACTION SUFFICIENT TO CONSTITUTE THE OFFENSE OF UNLAWFULLY
       3    MANUFACTURING A CONTROLLED SUBSTANCE.         AND WE CONTEND THE
       4    TESTIMONY OF MR. LANDERS HAS ESTABLISHED HE DID NOT
       5    COMPLETE THE ACTION SUFFICIENT TO CONSTITUTE THE OFFENSE
       6    OF UNLAWFULLY MANUFACTURING A CONTROLLED SUBSTANCE.           AND
       7    WE FURTHER CONTEND THAT THE TESTIMONY OF MR. LANDERS
       8    ESTABLISHED A FACTUAL BASIS FOR THE COURT TO DETERMINE HE

       9    WAS ACCOUNTABLE ONLY FOR HIS OWN CONDUCT, NOT ACCOUNTABLE
      10    FOR THE CONDUCT OF OTHER PEOPLE.        AND IF MR. LANDERS DID
      11    NOT COMPLETE THE ACTION SUFFICIENT TO CONSTITUTE THE
      12    OFFENSE OF UNLAWFULLY MANUFACTURING A CONTROLLED SUBSTANCE
      13    AND IS ACCOUNTABLE ONLY FOR HIS OWN ACTIONS, THEN HE
      14    BELIEVES HE SHOULD BE SENTENCED UNDER SECTION 2D1.1(2).
      15                 AND IF THE COURT WISHES, I COULD CONTINUE WITH,
      16    WITH ADDITIONAL DETAILS AS TO WHAT WE THINK THE SENTENCE
      17    SHOULD BE.
      18                 THE COURT:    WELL, I HEARD ALL THAT, MR. MARTIN.
      19    YOU ALMOST OVERWHELMED ME WITH IT; BUT THE SIMPLE FACT OF
      20    THE MATTER IS IF IT'S RELEVANT CONDUCT, THEN THERE WAS --
      21    THEN THE CROSS REFERENCE WAS PROPERLY APPLIED HERE;
      22    CORRECT?
      23                 MR. MARTIN:    YES, YOUR HONOR.
      24                 THE COURT:    ALL RIGHT.    TELL ME WHY THE
      25    MANUFACTURING OF METHAMPHETAMINE IS NOT RELEVANT CONDUCT




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 46 of 112 PageID #: 1174
                                                                              47



       1    HERE, WHY THIS IS NOT JOINTLY UNDERTAKEN CRIMINAL
       2    ACTIVITY.
       3                 MR. MARTIN:    WELL, YOUR HONOR, WE SAY THAT THE
       4    CROSS REFERENCE DOES NOT APPLY FOR THE REASONS I --
       5                 THE COURT:    DON'T READ THAT TO ME AGAIN,
       6    MR. MARTIN, PLEASE.      JUST TELL ME WHY YOU DON'T THINK THIS
       7    WAS JOINTLY UNDERTAKEN CRIMINAL ACTIVITY.
       8                 MR. MARTIN:    WELL, YOUR HONOR, I REFER TO THE

       9    ENTIRETY OF MR. LANDERS' TESTIMONY.        HE, HE WAS INVOLVED
      10    TO A CERTAIN EXTENT, BUT I DON'T THINK MR. LANDERS' TESTI-
      11    MONY ESTABLISHES IT WAS A JOINTLY UNDERTAKEN ACTIVITY.            HE
      12    WAS THERE, AND THERE'S NO QUESTION ABOUT THAT; BUT WE
      13    DON'T -- WE CONTEND THAT IT WAS NOT, THE TOTALITY OF HIS
      14    TESTIMONY INDICATES IT WAS NOT A JOINTLY UNDERTAKEN
      15    ACTIVITY.
      16                 THE COURT:    WELL, THEY WERE ALL TAKING METHAM-
      17    PHETAMINE.    MR. WHITE NEEDED PSEUDOEPHEDRINE, ASKED
      18    MR. LANDERS FOR PSEUDOEPHEDRINE.        MR. LANDERS APPARENTLY
      19    WENT WITH TWO OTHER PEOPLE TO OBTAIN PSEUDOEPHEDRINE,
      20    WHICH HE KNEW WOULD -- WAS USED TO MANUFACTURE METHAM-
      21    PHETAMINE.    HE SIMPLY SAYS HE DIDN'T THINK IT WOULD BE
      22    MANUFACTURED AT HIS HOME; BUT CLEARLY HE ANTICIPATED THAT
      23    IT WOULD BE MANUFACTURED; DIDN'T HE?
      24                 MR. MARTIN:    YEAH, THAT'S CORRECT, YOUR HONOR.
      25    AND HE KNEW, HE KNEW THERE WAS METH AT HIS HOME, AND HE,




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 47 of 112 PageID #: 1175
                                                                              48



       1    HE -- THE PEOPLE JUST DID IT; AND HE KNEW THAT THEY WERE
       2    DOING IT, YES, SIR.
       3                 THE COURT:    HE MAY HAVE BEEN IMPAIRED, BUT THE
       4    MANUFACTURE OF METHAMPHETAMINE AT HIS HOME UNDER THOSE
       5    CIRCUMSTANCES WAS CLEARLY FORESEEABLE; WAS IT NOT?
       6                 MR. MARTIN:    FROM THE TOTALITY OF THE
       7    CIRCUMSTANCES, YES, I THINK IT WAS FORESEEABLE THAT METH
       8    WOULD BE MANUFACTURED.

       9                 THE COURT:    ALL RIGHT.    ANYTHING ELSE ON THIS
      10    ISSUE?
      11                 MR. MARTIN:    NO, YOUR HONOR, NOT ON THE CROSS
      12    REFERENCE ISSUE.
      13                 THE COURT:    ALL RIGHT.    MS. SMITH, THE
      14    GOVERNMENT'S POSITION, OF COURSE, IS THAT THE CROSS
      15    REFERENCE APPLIES.
      16                 MS. SMITH:    CORRECT, YOUR HONOR.      THANK YOU.
      17                 THE COURT:    TELL ME WHY.
      18                 MS. SMITH:    WELL, I DON'T KNOW WHAT ELSE TO
      19    SAY.   THIS YOUNG MAN HAS JUST ADMITTED THAT HE WAS HIGHLY
      20    ADDICTED TO MULTIPLE, VERY DANGEROUS DRUGS AND THAT FOR
      21    ABOUT TWO DAYS THAT'S ALL HE DID WAS -- I'M STILL BLOWN
      22    AWAY BY THE FACT THAT HE ADMITS THE FIRST TIME HE TOOK
      23    METH HE INJECTED IT DIRECTLY INTO HIS VEINS VIA HYPODERMIC
      24    NEEDLE.    HE -- FOR SOMEONE TO THEN SAY HE DIDN'T KNOW
      25    WHERE METH CAME FROM OR THAT HE WAS SURPRISED THAT THESE




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 48 of 112 PageID #: 1176
                                                                              49



       1    NINE PEOPLE AT HIS HOUSE, WHOM HE ALL MET SOCIALLY, WHICH
       2    MEANS VIA ILLEGAL DRUGS, WOULD BE USING OR MANUFACTURING
       3    METH, AND HE'S FULLY SUPRISED AND HE HAS NO CULPABILITY
       4    FOR THAT, I JUST FIND IT VERY HARD TO BELIEVE.          I THINK
       5    THE COURT DOES TOO.      HE KNEW WHY THOSE PEOPLE WERE THERE.
       6    HE CERTAINLY KNEW WHY JAMES WHITE WAS THERE AND LINDSEY
       7    PHIPPS, AND JAMES WHITE WAS A COOK, AND HE WANTS TO --
       8    THAT'S WHY HE INVITED THE MAN TO HIS HOUSE BECAUSE HE

       9    BROUGHT METH.     HE AND LINDSEY PHIPPS BY HIS OWN ADMISSION
      10    BROUGHT METH IN WHAT HE THINKS IS A PAPER BAG; AND WHEN
      11    THEY RAN OUT BECAUSE THEY WERE ALL TAKING IT, IT HAD TO
      12    COME FROM SOMEWHERE, AND THAT'S WHY HE GOT IN THE CAR WITH
      13    THEM TO GO TO THE DRUG STORE.       EVEN THOUGH HE WAS SMART
      14    ENOUGH TO FIGURE OUT THAT HE DIDN'T NEED TO BUY THE
      15    SUDAFED, HE CERTAINLY WENT ON THE TRIP.         KIND OF REMINDS
      16    ME OF WHEN YOU'RE AT THE LAKE AND YOU RUN OUT OF BEER AND
      17    SOMEBODY IS SENT TO THE STORE BECAUSE THEY'RE NOT DRUNK
      18    YET.   WELL, HE WAS IN THE BACK SEAT.       HE WASN'T BEHIND THE
      19    WHEEL OF THE CAR, BUT HE CLEARLY KNEW THE PURPOSE OF THE
      20    TRIP WAS TO BUY BEER TO DRINK AT THE LAKE; AND FOR HIM TO
      21    SAY THAT HE DIDN'T KNOW WHAT WAS GOING ON OR THAT PEOPLE
      22    WERE GOING TO COOK METH AT HIS HOME, ET CETERA, BOGGLES
      23    CREDULITY, AND I WOULD SAY THAT THE PROBATION OFFICER GOT
      24    IT RIGHT AND THE OBJECTION SHOULD BE DENIED, YOUR HONOR.
      25    THANK YOU.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 49 of 112 PageID #: 1177
                                                                              50



       1                 THE COURT:    WAS THERE ANY METH FOUND ON THESE
       2    PREMISES WHEN THESE ARRESTS WERE MADE?
       3                 MS. SMITH:    NO, YOUR HONOR, THERE WAS NOT.       IT
       4    WAS -- HE IS CORRECT, IT HAD NOT CONVERTED TO METH YET.            I
       5    THINK THEY HAD EVERYTHING READY, AND THAT'S WHY THEY DID
       6    THE RUN TO THE CVS.
       7                 THE COURT:    ALL RIGHT.    AND WHAT TIME DID THE
       8    ARRESTS OCCUR ON THE 28TH, IF YOU KNOW?

       9                 MS. SMITH:    I WOULD HAVE TO PULL UP MY
      10    DISCOVERY, YOUR HONOR.      I THINK AROUND MIDNIGHT --
      11                 MR. MARTIN:    YOUR HONOR, SUBJECT TO BEING
      12    CORRECTED, I BELIEVE IT WAS AROUND 11:00 ON OCTOBER THE
      13    28TH.
      14                 MS. SMITH:    P.M.
      15                 THE WITNESS:    OCTOBER 28TH.
      16                 MR. MARTIN:    11:00 P.M.
      17                 THE COURT:    ALL RIGHT.    HAVE EITHER ONE OF YOU
      18    FOUND ANY SIXTH CIRCUIT AUTHORITY ON THIS, EITHER AT THE
      19    CIRCUIT LEVEL OR DISTRICT COURT LEVEL?
      20                 MS. SMITH:    NO, YOUR HONOR, I HAVE NOT.
      21                 MR. MARTIN:    NO, YOUR HONOR.     I HAVE CONDUCTED
      22    A DILIGENT SEARCH, BUT I HAVE NOT FOUND ANY AUTHORITY.
      23                 THE COURT:    WELL, THE COURT IS ASKED TO MAKE A
      24    DECISION HERE TODAY THAT DOES NOT APPEAR TO HAVE BEEN
      25    ADDRESSED BY ANY OTHER DISTRICT COURT IN THE SIXTH CIRCUIT




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 50 of 112 PageID #: 1178
                                                                              51



       1    OR BY THE SIXTH CIRCUIT ITSELF.        JUST AS THE LAWYERS COULD
       2    FIND NO CASES, THE COURT HAS BEEN ABLE TO FIND NO CASES IN
       3    THE SIXTH CIRCUIT THAT ADDRESS THE CIRCUMSTANCES UNDER
       4    WHICH THE CROSS REFERENCE OF SECTION 2D1.2(C) APPLIES.
       5                  SOME THINGS ARE RELATIVELY CLEAR FROM THE
       6    GUIDELINE PROVISION ITSELF.       FIRST OF ALL, IT'S CLEAR, I
       7    THINK, AND NO DISAGREEMENT ABOUT THIS, THAT SECTION
       8    2D1. -- 2D1.1(2) IS THE GUIDELINE WHICH APPLIES GENERALLY

       9    IN THE CASE OF A DEFENDANT WHO HAS BEEN CONVICTED OF
      10    POSSESSION OF CHEMICALS OR OTHER MATERIALS WHICH MAY BE
      11    USED IN THE MANUFACTURE OF METHAMPHETAMINE, THE OFFENSE
      12    WHICH MR. LANDERS HAS BEEN CONVICTED OF.         THE QUESTION,
      13    HOWEVER, IS WHETHER THE CROSS REFERENCE OF SUBSECTION
      14    (C)(1) OR SECTION (C)(1) OF THAT GUIDELINE SECTION
      15    APPLIES.
      16                  COMMENTARY TO THE GUIDELINE MAKES IT CLEAR THAT
      17    THE CROSS REFERENCE SHOULD BE APPLIED IF THE DEFENDANT OR
      18    A PERSON FOR WHOSE CONDUCT THE DEFENDANT IS ACCOUNTABLE
      19    UNDER SECTION 1B1.3, THAT IS THE RELEVANT CONDUCT GUIDE-
      20    LINE, COMPLETED THE ACTIONS SUFFICIENT TO CONSTITUTE THE
      21    OFFENSE OF UNLAWFULLY MANUFACTURING A CONTROLLED SUBSTANCE
      22    OR ATTEMPTING TO MANUFACTURE A CONTROLLED SUBSTANCE
      23    UNLAWFULLY.    IT SEEMS TO ME TO BE RELATIVELY CLEAR THEN
      24    THAT THE COURT MUST CONSIDER ALL OF MR. LANDERS' RELEVANT
      25    CONDUCT, INCLUDING ANY CONDUCT HE WAS RESPONSIBLE FOR




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 51 of 112 PageID #: 1179
                                                                              52



       1    HIMSELF, AS WELL AS ANY ACTS OR OMISSIONS COMMITTED BY
       2    THOSE INVOLVED IN A JOINT ENTERPRISE WITH HIM.
       3                 THE RELEVANT CONDUCT GUIDELINE CLEARLY PROVIDES
       4    THAT IN DETERMINING THE GUIDELINE RANGE, OR THE APPRO-
       5    PRIATE GUIDELINE SECTION TO BE APPLIED, THE COURT
       6    DETERMINES -- OR DOES THAT ON THE BASIS OF CONSIDERING ALL
       7    ACTS OR OMISSIONS COMMITTED BY THE DEFENDANT PERSONALLY;
       8    AND IN THE CASE OF JOINTLY UNDERTAKEN CRIMINAL ACTIVITY,

       9    ALL OF THE REASONABLY FORESEEABLE ACTS OR OMISSIONS OF
      10    OTHERS INVOLVED IN THE FURTHERANCE OF THE UNDERTAKEN,
      11    JOINTLY UNDERTAKEN CRIMINAL ACTIVITY THAT OCCURRED DURING
      12    THE COMMISSION OF THIS OFFENSE.
      13                 FIRST QUESTION, IT SEEMS TO ME, FOR THE COURT
      14    IS TO DETERMINE WHETHER OR NOT THE ACTS OF OTHERS INVOLVED
      15    HERE IS IN FACT RELEVANT CONDUCT UNDER THE GUIDELINE.           IN
      16    OTHER WORDS, IS IT JOINTLY UNDERTAKEN CRIMINAL ACTIVITY,
      17    ACTIVITY, CRIMINAL ACTIVITY IN CONCERT WITH OTHERS WHICH
      18    WAS REASONABLY FORESEEABLE.
      19                 I FRANKLY UNDER THESE CIRCUMSTANCES DON'T SEE
      20    HOW THERE'S ANYTHING BUT ONE CONCLUSION TO COME TO THERE.
      21    THIS WAS CONCERTED CRIMINAL ACTIVITY.         CLEARLY MR. LANDERS
      22    DID NOT PLEAD GUILTY TO A CONSPIRACY, BUT, NEVERTHELESS,
      23    THESE ACTS WERE COMMITTED IN CONCERT WITH OTHERS, ALTHOUGH
      24    THESE PEOPLE HAD GATHERED AT MR. LANDERS' RESIDENCE,
      25    ACCORDING TO HIS TESTIMONY, TO USE DRUGS, HE HAD SEEN




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 52 of 112 PageID #: 1180
                                                                              53



       1    MATERIALS WHICH HE RECOGNIZED AS BEING USED TO MANUFACTURE
       2    METHAMPHETAMINE EARLIER IN THE DAY.        HE SAYS THAT HE TOLD
       3    MR. WHITE TO REMOVE THOSE FROM HIS HOUSE, BUT THERE'S NO
       4    EVIDENCE THAT MR. WHITE DID SO.        IN FACT, THE EVIDENCE IS
       5    CONTRARY TO THAT.
       6                 AT SOME POINT DURING THESE EVENTS MR. WHITE
       7    BEGAN TO LOOK FOR A SOURCE OF PSEUDOEPHEDRINE, CLEARLY TO
       8    BE USED IN THE MANUFACTURE OF METHAMPHETAMINE, AND WHICH

       9    MR. LANDERS ACKNOWLEDGES HE KNEW WAS TO BE USED IN THE
      10    MANUFACTURE OF METHAMPHETAMINE.        HE WENT, ACCORDING TO
      11    HIM, OUT OF STUPIDITY ALONG WITH THE TWO PEOPLE WHO
      12    ACTUALLY WENT IN CVS AND WALGREENS TO OBTAIN THAT PSEUDO-
      13    EPHEDRINE.    IT WAS APPARENTLY TAKEN BACK TO HIS RESIDENCE,
      14    BUT NEVER ACTUALLY USED TO MANUFACTURE METHAMPHETAMINE;
      15    BUT IT WAS CLEARLY INTENDED TO BE USED TO MANUFACTURE
      16    METHAMPHETAMINE.     MR. LANDERS KNEW THAT.      I'M NOT SURE IT
      17    IS PARTICULARLY IMPORTANT THAT IT WAS NEVER IN FACT USED
      18    FOR THAT PURPOSE.
      19                 AND WHILE THE COURT DIDN'T FIND ANY SIXTH
      20    CIRCUIT PRECEDENT CLEARLY ON POINT, THERE IS AN ELEVENTH
      21    CIRCUIT CASE THAT ADDRESSES THE APPLICATION OF THE CROSS
      22    REFERENCE AND WHICH APPLIED THE CROSS REFERENCE UNDER
      23    CIRCUMSTANCES SIMILAR TO THIS BASED ON A NUMBER OF
      24    FACTORS.    THIS CASE IS UNITED STATES VERSUS -- LET ME GET
      25    BACK TO THE RIGHT PLACE, UNITED STATES VERSUS COALE,




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 53 of 112 PageID #: 1181
                                                                              54



       1    C O A L E.    IT IS AN UNREPORTED DECISION OF THE ELEVENTH
       2    CIRCUIT FOUND AT 144 FEDERAL APPENDIX 770, DECIDED JULY
       3    21, 2005.
       4                 AND IN THAT PARTICULAR CASE THE ELEVENTH
       5    CIRCUIT FOUND RELEVANT THESE FACTORS:         ONE, WHETHER THE
       6    DEFENDANT HAD POSSESSED MATERIALS USED IN THE MANUFACTURE
       7    OF METHAMPHETAMINE.      CLEARLY MR. LANDERS DID, HE'S
       8    ADMITTED THAT.     THAT'S THE OFFENSE HE'S BEEN FOUND GUILTY

       9    OF; SECOND, WHETHER THE DEFENDANT ADMITTED TO THE
      10    POSSESSION OF THOSE MATERIALS, KNOWING, INTENDING AND
      11    HAVING REASONABLE CAUSE TO BELIEVE THAT THOSE MATERIALS
      12    WOULD BE USED TO MANUFACTURE METHAMPHETAMINE.          BY HIS OWN
      13    ADMISSION HE KNEW THAT THE POSSESSION OF THOSE MATERIALS
      14    BY MR. WHITE AND THE POSSESSION OF THE PSEUDOEPHEDRINE
      15    WERE TO BE USED IN THE MANUFACTURE OF METHAMPHETAMINE.            HE
      16    CLEARLY HAD REASONABLE CAUSE TO BELIEVE THAT, IF NOT
      17    ACTUAL BELIEF OF THAT; THIRD, IN THIS PARTICULAR CASE IN
      18    THE COALE CASE, LAW ENFORCEMENT HAD IN FACT FOUND IN THAT
      19    CASE A DISASSEMBLED METHAMPHETAMINE LABORATORY IN THE
      20    APARTMENT WHERE THE DEFENDANT LIVED, CONSISTENT WITH WHAT
      21    HAPPENED IN THIS CASE.      AT A VERY MINIMUM WHAT WAS FOUND
      22    HERE WERE THE BOTTLES AND THE OTHER APPARATUS USED FOR
      23    THESE SHAKE-AND-BAKE-TYPE OF METHAMPHETAMINE MANUFACTURING
      24    LABS AND PSEUDOEPHEDRINE, WHICH IS THE PRIMARY PRODUCT,
      25    PRODUCT USED IN THE MANUFACTURE.        FOURTH FACTOR FOUND




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 54 of 112 PageID #: 1182
                                                                               55



       1    IMPORTANT BY THE ELEVENTH CIRCUIT IN THAT CASE IS THAT A
       2    CODEFENDANT ADMITTED TO MANUFACTURING METHAMPHETAMINE, AND
       3    IT'S CLEARLY ESTABLISHED IN THIS CASE EITHER BY GUILTY
       4    PLEAS OR BY CONFESSIONS THAT A NUMBER OF THESE PEOPLE
       5    INVOLVED IN THAT INCIDENT ON THE 27TH AND 28TH OF OCTOBER
       6    WERE IN FACT ENGAGED IN THE MANUFACTURE OF METHAMPHETA-
       7    MINE.   MR. LANDERS ACKNOWLEDGES THAT HE KNEW THAT PHIPPS
       8    AND WHITE WERE SOURCES OF METHAMPHETAMINE, EVEN IF HE

       9    DIDN'T KNOW THAT THEY WERE ACTUALLY ENGAGED IN THE MANU-
      10    FACTURE OF METHAMPHETAMINE.       HE DID ACKNOWLEDGE, HOWEVER,
      11    THAT HE UNDERSTANDS THAT YOU CAN'T BUY METHAMPHETAMINE AT
      12    A DRUGSTORE, IT HAS TO BE MANUFACTURED BY SOMEBODY.
      13                 NOW, THERE WERE TWO OTHER FACTORS THAT THE
      14    ELEVENTH CIRCUIT LOOKED AT AND THAT THE ELEVENTH CIRCUIT
      15    THOUGHT WERE IMPORTANT, AND THEY DISTINGUISHED THAT CASE A
      16    BIT FROM THIS ONE.     NUMBER ONE IN THAT CASE, THE DEFENDANT
      17    WAS FOUND IN POSSESSION OF METHAMPHETAMINE.          MR. LANDERS
      18    CLEARLY HERE WAS NOT FOUND IN POSSESSION OF METHAMPHETA-
      19    MINE; HOWEVER, BY HIS ADMISSION METHAMPHETAMINE WAS
      20    PRESENT IN HIS RESIDENCE THROUGHOUT THE DAY ON OCTOBER
      21    27TH AND OCTOBER 28TH.      HE HAD SEEN IT; NOT ONLY HAD HE
      22    SEEN IT, HE HAD USED IT.      AND, FINALLY, IN THIS COALE CASE
      23    THE ELEVENTH CIRCUIT CONSIDERED THAT METHAMPHETAMINE HAD,
      24    APPARENTLY AFTER THE FACT DURING THE SUBSEQUENT SEARCH,
      25    BEEN FOUND IN THE DEFENDANT'S BEDROOM.         AND THAT'S THE ONE




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 55 of 112 PageID #: 1183
                                                                              56



       1    DISTINGUISHING FACTOR HERE, THERE WAS NO METHAMPHETAMINE
       2    FOUND IN MR. LANDERS' POSSESSION OR ANYBODY ELSE'S POSSES-
       3    SION.   WHAT WAS FOUND WAS APPARENTLY THE PSEUDOEPHEDRINE
       4    THAT WAS PURCHASED EARLIER.       AND WHAT THAT TAKES ME BACK
       5    TO IS THE QUESTION I ADDRESSED EARLIER, WHICH IS THAT
       6    THERE DOESN'T APPEAR TO BE ANY DISPUTE HERE THAT THE
       7    PSEUDOEPHEDRINE OBTAINED DURING THE TRIP TO CVS AND
       8    WALGREENS WAS NEVER ACTUALLY USED IN THE MANUFACTURE OF

       9    METHAMPHETAMINE.     IN THE COALE CASE THE ELEVENTH CIRCUIT
      10    FOUND THE COMBINATION OF ALL THOSE FACTORS I HAVE
      11    MENTIONED TO BE SUFFICIENT TO APPLY THE CROSS REFERENCE OF
      12    SECTION 2D1.1(2)(C)(1).
      13                 NOW, OBVIOUSLY THE ELEVENTH CIRCUIT'S DECISION
      14    IS NOT BINDING ON THIS COURT.       THIS IS A DISTRICT COURT
      15    SITTING IN THE SIXTH CIRCUIT.       FURTHER COMPOUNDING THAT
      16    PROBLEM IS THAT THE DECISION IS AN UNPUBLISHED OPINION OF
      17    THE ELEVENTH CIRCUIT.
      18                 MR. MARTIN, IF YOU ASSUME THAT I'M RIGHT AND
      19    YOU'RE WRONG, THAT THE ACTS OF THESE OTHER DEFENDANTS WERE
      20    IN FACT PART OF CONCERTED ACTION, PART OF A JOINTLY
      21    UNDERTAKEN CRIMINAL ENTERPRISE, AND I'M NOT GOING TO ASK
      22    YOU TO CONCEDE THAT, OBVIOUSLY, BUT I FIND THAT THEY ARE,
      23    ASSUMING THAT'S THE CASE, CAN YOU REASONABLY ARGUE HERE
      24    THAT THEY DIDN'T COMPLETE THE ACTION SUFFICIENT TO
      25    CONSTITUTE THE OFFENSE OF ATTEMPTING TO MANUFACTURE




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 56 of 112 PageID #: 1184
                                                                              57



       1    METHAMPHETAMINE?
       2                 MR. MARTIN:    WELL, I'M NOT CERTAIN EXACTLY WHAT
       3    THE QUESTION IS, YOUR HONOR.
       4                 THE COURT:    WELL, I MEAN, ONCE THEY OBTAIN
       5    PSEUDOEPHEDRINE WITH THE INTENT TO MANUFACTURE METHAM-
       6    PHETAMINE WITH ALL THE EQUIPMENT THAT WAS NECESSARY TO
       7    MANUFACTURE IT, CAN YOU REASONABLY ARGUE THAT THE OFFENSE
       8    OF ATTEMPT TO MANUFACTURE WAS NOT COMPLETED?

       9                 MR. MARTIN:    NO.   I DO AGREE THAT THERE WAS AN
      10    ATTEMPT TO MANUFACTURE AT THAT POINT, EVEN THOUGH THERE'S
      11    NO EVIDENCE THAT THE PSEUDOEPHEDRINE THAT WAS OBTAINED WAS
      12    EVER ACTUALLY USED.      YES, I DO AGREE THAT THERE WAS AN
      13    ATTEMPT.
      14                 THE COURT:    I MEAN, CLEARLY IN THE COALE CASE
      15    THE ELEVENTH CIRCUIT HAD A SITUATION WHERE APPARENTLY
      16    METHAMPHETAMINE WAS ACTUALLY, OR A CONTROLLED SUBSTANCE
      17    WAS ACTUALLY, IT WASN'T METHAMPHETAMINE, WAS ACTUALLY
      18    MANUFACTURED.     HERE THE DIFFERENCE IS THAT THERE IS NO
      19    EVIDENCE THAT IT WAS IN FACT MANUFACTURED, ONLY THAT THERE
      20    WERE PREPARATIONS MADE FOR ITS MANUFACTURE.
      21                 MS. SMITH, DO YOU AGREE THAT THE GOVERNMENT HAS
      22    THE BURDEN ON THIS ISSUE?
      23                 MS. SMITH:    I DO, YOUR HONOR; AND I THINK THAT
      24    I'VE MET IT.      I MEAN, I'M NOT, I'M NOT -- PERHAPS I'M
      25    MISSING SOMETHING HERE.      FIRST OF ALL, MR. LANDERS SAYS




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 57 of 112 PageID #: 1185
                                                                                 58



       1    THAT WHEN HE CAME BACK, HE NOTICED A FUNNY ODOR.          YOU
       2    KNOW, I THINK WE'VE GONE A LITTLE BIT BEFORE --
       3                 THE COURT:    SUGGESTING THAT METH HAD BEEN
       4    MANUFACTURED WHILE THEY WERE GONE?
       5                 MS. SMITH:    CORRECT, YOUR HONOR.      AND THEN,
       6    SECONDLY, IF YOU LOOK AT PAGE 2 OF THE PLEA AGREEMENT,
       7    PARAGRAPH A, HE ADMITS THAT THE THINGS THAT HE KNOWINGLY
       8    AND POTENTIALLY POSSESSED, THESE INCLUDED PLASTIC SODA

       9    BOTTLES, FINISHED METHAMPHETAMINE, BLISTER PACKS OF
      10    PSEUDOEPHEDRINE, HE LINED THROUGH SOMETHING THAT HE DIDN'T
      11    WANT, AND THEN METH SMOKED -- METH SMOKING SPOONS AND
      12    DEVICES.
      13                 SO I THINK EVEN UNDER COALE I'VE GOT IT IN THE
      14    PLEA AGREEMENT. I THINK ALL THIS CAME AFTERWARD, AND IT'S
      15    SORT OF SEEING HOW MANY ANGELS CAN DANCE ON THE HEAD OF A
      16    PIN.    I DON'T THINK ANYONE IS FOOLED HERE AS TO WHAT WAS
      17    GOING ON.    THEY BLEW THROUGH ALL THE METH, AND THEY MADE A
      18    RUN TO THE CVS TO GET SOME MORE SUDAFED AND TO COOK SOME
      19    MORE.    AND AS MR. LANDERS ADMITTED, THE POLICE WERE
      20    WATCHING HIS HOUSE; AND THEY PROBABLY GOT A COMPLAINT FROM
      21    SOME NEIGHBORS, AND THE POLICE CAME AND KIND OF BROKE IT
      22    UP.
      23                 I DON'T THINK THE FACT THAT IT WASN'T COMPLETED
      24    SHOULD HELP HIM OUT BECAUSE THE EFFECT WAS THE SAME.            HE
      25    ADMITTED IT WAS QUARANTINED, IT WAS AN UNSAFE SITE; AND IT




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 58 of 112 PageID #: 1186
                                                                              59



       1    WAS -- AS YOU POINTED OUT, CLEARLY AN ATTEMPT WAS DONE.
       2    BUT IF I'M READING THE PLEA AGREEMENT CORRECTLY, AND HE
       3    HAD -- YOU KNOW, HE APPROVED ALL OF THIS, HE ADMITS THAT
       4    THAT LAST ONE IS THERE, THE FINISHED METHAMPHETAMINE.           AND
       5    THAT WAS CLEARLY NEGOTIATED, YOUR HONOR.
       6                  MR. MARTIN:    YOUR HONOR, MAY I BE HEARD ON THE
       7    POSSESSION ISSUE?
       8                  THE COURT:    YES, YOU MAY.

       9                  MR. MARTIN:    YOUR HONOR, THERE'S NO QUESTION
      10    BUT THAT MR. LANDERS HAD POSSESSION IN THE SENSE OF THE
      11    COMMON LAW MEANING OF THAT TERM.        HE DIDN'T HAVE ACTUAL
      12    POSSESSION, BUT CERTAINLY HE HAD CONSTRUCTIVE POSSESSION,
      13    VERY POSSIBLY HE WAS WITHIN THE GAMBIT OF THE SIXTH
      14    CIRCUIT JOINT POSSESSION CONCEPT.        SO THERE'S NO QUESTION
      15    WHAT HE HAD CONSTRUCTIVE POSSESSION, THEY WERE IN HIS
      16    HOME, HE KNEW WHAT WAS GOING ON; AND NO QUESTION BUT THAT
      17    HE HAD CONSTRUCTIVE POSSESSION, BUT I DON'T BELIEVE
      18    THERE'S ANY EVIDENCE THAT HE HAD ACTUAL POSSESSION OF ANY
      19    APPARATUS TO MANUFACTURE METHAMPHETAMINE, HAD ACTUAL
      20    POSSESSION OF ANY MATERIALS, SUDAFED OR ANYTHING ELSE.
      21                  THE COURT:    WELL, WHY WOULD THAT -- I MEAN,
      22    CONSTRUCTIVE POSSESSION IS SUFFICIENT; ISN'T IT,
      23    MR. MARTIN?
      24                  MR. MARTIN:    YES, IT'S SUFFICIENT TO CONSTITUTE
      25    POSSESSION FOR PURPOSES OF THE PLEA AGREEMENT, AND WE




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 59 of 112 PageID #: 1187
                                                                              60



       1    ENTERED THE PLEA AGREEMENT.       THE PLEA AGREEMENT SAYS,
       2    POSSESSION.    CERTAINLY WE HAD POSSESSION, IT WAS
       3    CONSTRUCTIVE POSSESSION.
       4                  MS. SMITH:   HE ALSO HAD METHAMPHETAMINE IN HIS
       5    BODY, YOUR HONOR.     I GUESS THAT'S A METAPHYSICAL
       6    POSSESSION, I DON'T KNOW.       I -- AGAIN, I THINK IT'S
       7    ESTABLISHED AND --
       8                  THE COURT:   WELL, THIS IS A SIGNIFICANT

       9    QUESTION.
      10                  MS. SMITH:   IT IS.
      11                  THE COURT:   BASE OFFENSE LEVEL APPLIED BY THE
      12    PROBATION OFFICER BASED ON THE CROSS REFERENCE IS 24.
      13    UNDER SECTION 2D1.2 BASE OFFENSE LEVEL IS PROBABLY 9
      14    BECAUSE THAT, THAT --
      15                  MS. SMITH:   THAT'S CORRECT, I THINK.
      16                  THE COURT:   -- GUIDELINE RANGE PROVIDES FOR A
      17    BASE OFFENSE LEVEL OF 9 IF THE DEFENDANT HAD REASONABLE
      18    CAUSE TO BELIEVE THAT THE PROHIBITED MATERIAL WAS TO BE
      19    USED TO MANUFACTURE A CONTROLLED SUBSTANCE.          THEN THERE
      20    ARE CERTAIN OTHER SPECIFIC OFFENSE CHARACTERISTICS THAT
      21    MIGHT CAUSE THAT TO BE INCREASED.
      22                  WELL, I DON'T THINK THE DRAMATIC INCREASE IN
      23    THE BASE OFFENSE LEVEL FROM THE APPLICATION OF THE CROSS
      24    REFERENCE IS REALLY A QUESTION.        IT MIGHT VERY WELL BE A
      25    QUESTION MR. MARTIN WOULD RAISE WITH RESPECT TO WHETHER OR




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 60 of 112 PageID #: 1188
                                                                              61



       1    NOT THE GUIDELINE PROPERLY ACCOUNTS FOR THE SERIOUSNESS OF
       2    THE OFFENSE, BUT THE COURT'S DECISION HERE SHOULD NOT BE
       3    GUIDED BY THE FACT THAT IT'S A VERY SIGNIFICANT INCREASE
       4    IN THE GUIDELINE RANGE, ALTHOUGH THE SIGNIFICANCE OF IT
       5    DOES CAUSE THE COURT TO WANT TO BE VERY CAUTIOUS ABOUT
       6    RULING ON THIS.
       7                 THIS IS JUST ONE OF THOSE ISSUES THAT OBVIOUSLY
       8    DOES NOT ARISE VERY OFTEN.       I'VE NEVER CONFRONTED THIS

       9    SPECIFIC ISSUE IN TEN YEARS OR PRIOR TO THAT TIME
      10    PRACTICING LAW; AND IF ANY OTHER DISTRICT COURT OR THE
      11    CIRCUIT ITSELF HAS ADDRESSED IT, THEY'VE NOT DONE SO IN AN
      12    OPINION THAT'S AVAILABLE, SO I AM IN COMPLETELY UNCHAR-
      13    TERED TERRITORY WITH THE EXCEPTION THAT THE GUIDANCE THAT
      14    THE ELEVENTH CIRCUIT GIVES IN THIS COALE CASE.          AND
      15    UNFORTUNATELY FOR MR. LANDERS, IF I LOOK TO THOSE CIRCUM-
      16    STANCES, IF I LOOK TO THOSE FACTORS APPLYING A PREPON-
      17    DERANCE OF THE EVIDENCE STANDARD, WHICH IS WHAT I APPLY
      18    HERE, NOT A BEYOND A REASONABLE DOUBT STANDARD, IT'S
      19    PREPONDERANCE OF THE EVIDENCE, SIMPLY IS THE GOVERNMENT'S
      20    POSITION HERE MORE LIKELY THAN NOT, I THINK THE GOVERNMENT
      21    HAS MET ITS BURDEN AND THE OFFENSE DID IN FACT INVOLVE
      22    UNLAWFUL MANUFACTURE OR ATTEMPT TO MANUFACTURE A CON-
      23    TROLLED SUBSTANCE, THAT IS METHAMPHETAMINE, BASED ON THE
      24    RELEVANT CONDUCT, IF NOTHING ELSE, FOR WHICH MR. LANDERS
      25    IS ACCOUNTABLE HERE, AND IN MY VIEW THE PROBATION OFFICER




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 61 of 112 PageID #: 1189
                                                                               62



       1    HAS PROPERLY APPLIED THE CROSS REFERENCE OF SECTION (C)(1)
       2    OF SECTION 2D1.12.     SO THIS OBJECTION IS OVERRULED, AND I
       3    WILL APPLY THE CROSS REFERENCE.
       4                 NOW, MR. MARTIN, THERE ARE TWO OTHER OBJECTIONS
       5    HERE.   ONE IS THAT MR. LANDERS' CRIMINAL HISTORY CATEGORY
       6    OF 6 OVERSTATES HIS CRIMINAL HISTORY.         LET'S JUST TAKE
       7    THAT ONE UP NEXT.
       8                 MR. MARTIN:    THANK YOU, YOUR HONOR.

       9                 AS HIS HONOR IS AWARE, THE PRESENTENCE
      10    INVESTIGATION REPORT REPORTS A CRIMINAL HISTORY CATEGORY
      11    OF 6, AND WE HAVE CONTENDED THAT MR. LANDERS SHOULD BE
      12    SENTENCED BASED ON A CRIMINAL HISTORY CATEGORY OF 5
      13    INSTEAD OF 6, AND WE SAY THE CATEGORY 6 SIGNIFICANTLY
      14    OVERSTATES HIS CRIMINAL HISTORY.
      15                 AND, YOUR HONOR, I DON'T CARE WHAT YOU SAY,
      16    CATEGORY 6 SHOULD BE RESERVED FOR THE MOST SERIOUS
      17    OFFENDERS WHO BASICALLY HAVE THE WORST, WORST POSSIBLE
      18    CRIMINAL RECORD, INCLUDING MULTIPLE FELONIES.          INCLUDED,
      19    THE CRIMINAL RECORD OF THE DEFENDANT IS NOT IN THIS
      20    CATEGORY.    IN FACT, MR. LANDERS, HE'S NOT DONE A GOOD JOB
      21    OF FOLLOWING THE LAW, THERE'S NO QUESTION ABOUT THAT; BUT
      22    HIS CRIMINAL RECORD IS ENTIRELY MISDEMEANORS, YOUR HONOR.
      23    HE HAS NEVER COMMITTED A FELONY, MUCH LESS A DRUG FELONY,
      24    AND SOMEBODY WHO HAS NEVER COMMITTED A FELONY IN THEIR
      25    LIFE SHOULD NOT BE SENTENCED UNDER CATEGORY 6.          WE SAY HE




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 62 of 112 PageID #: 1190
                                                                                63



       1    SHOULD BE SENTENCED AT CATEGORY 5.        CATEGORY 6 SHOULD BE
       2    RESERVED FOR THE MOST SERIOUS CASES WHICH COME BEFORE THIS
       3    COURT.
       4                 THE COURT:    ALL RIGHT.    MS. SMITH, DO YOU WANT
       5    TO BE HEARD ON THAT?
       6                 MS. SMITH:    WELL, JUST BRIEFLY, YOUR HONOR.          I
       7    UNDERSTAND WHERE MR. MARTIN IS COMING FROM.          UNFORTU-
       8    NATELY, THAT'S NOT THE LAW; AND THAT MAY BE VERY

       9    COMPASSIONATE ON HIS PART, AND I THINK WHAT MAKES IT MORE
      10    DIFFICULT IS THAT MR. LANDERS, LIKE SEVERAL OF THE
      11    DEFENDANTS IN THIS PARTICULAR CASE, IS VERY YOUNG.           HE'S
      12    NOT THE FIRST ONE THAT WE'VE HAD WITH A CRIMINAL HISTORY
      13    CATEGORY 6 IN THIS INDICTMENT; AND HE'S A LITTLE BIT
      14    OLDER, ACTUALLY, THAN SOME OF THEM, I'M THINKING ABOUT
      15    MR. WILEY JUST LAST WEEK WHO I THINK HAD A 5 AND HE WAS
      16    ONLY 22.    I ACTUALLY HAVE THAT WITH ME SO I CAN LOOK AT
      17    IT.
      18                 THE POINT IS THAT THERE IS NO AUTHORITY THAT
      19    SAYS YOU HAVE TO HAVE COMMITTED A FELONY TO BE IN CRIMINAL
      20    HISTORY CATEGORY 6, AND, IN FACT, THAT'S THE WHOLE PURPOSE
      21    OF THE POINT SYSTEM IS THAT IT TENDS TO EQUALIZE THINGS;
      22    AND YOU AND I BOTH KNOW, AS WELL AS MR. MARTIN KNOW, THAT
      23    OFTENTIMES YOUNG PEOPLE ARE CHARGED WITH FELONIES AND THEN
      24    ALLOWED TO PLEAD OUT TO MISDEMEANORS BECAUSE THEY ARE IN
      25    FACT YOUNG PEOPLE.     I THINK -- BUT TO PUT HIM DOWN IN




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 63 of 112 PageID #: 1191
                                                                              64



       1    CRIMINAL HISTORY CATEGORY 5, WHICH IS WHAT MR. MARTIN ASKS
       2    FOR, YOU WOULD HAVE TO, IN EFFECT, GIVE HIM A DISCOUNT OF
       3    25 PERCENT OF WHAT HE'S GOT.       HE'S GOT 16 POINTS.      TO GET
       4    HIM DOWN TO 12, YOU WOULD HAVE TO GIVE HIM 4 OFF.           THAT IS
       5    VERY SUBSTANTIAL.
       6                 AND, UNFORTUNATELY, THAT'S WHY I ASKED
       7    MR. LANDERS ABOUT HIS, HIS CONVICTION ON A COCAINE AND
       8    HEROIN JUST, YOU KNOW, MAYBE NINE MONTHS AFTER THIS WHOLE

       9    METH INCIDENT AS HIS HOUSE, I JUST DON'T THINK IT'S
      10    WARRANTED HERE.     YOU KNOW, HE VIEWS HIMSELF AS AN ADDICT,
      11    STRICTLY PERHAPS MAYBE EVEN A VICTIM; AND HE IS NOT, HE IS
      12    A VERY SERIOUS OFFENDER.      HE NOW HAS A FELONY, AND MAYBE
      13    PRE-STAGING A LITTLE BIT HERE, BUT I'M VERY TROUBLED BY A
      14    YOUNG PERSON WITH THIS LEVEL OF ADDICTION THAT THE SECOND
      15    TIME HE TAKES METH HE INJECTS IT DIRECTLY INTO HIS VEINS.
      16    THERE'S NO BASIS TO REDUCE HIS CRIMINAL HISTORY CATEGORY,
      17    AND THE OBJECTION SHOULD BE OVERRULED.         THANK YOU.
      18                 THE COURT:    ALL RIGHT.    MR. LANDERS MOVES FOR A
      19    DOWNWARD DEPARTURE HERE BASED ON HIS ARGUMENT THAT THE
      20    CRIMINAL HISTORY CATEGORY, THAT IS 6, OVER REPRESENTS THE
      21    SERIOUSNESS OF HIS CRIMINAL HISTORY.
      22                 FIRST OF ALL, THE COURT WOULD NOTE THAT
      23    MR. LANDERS MISSTATES THE STANDARD BECAUSE THE APPLICABLE
      24    GUIDELINE PROVISION, SECTION 4A1.3(B) PROVIDES FOR A
      25    DOWNWARD DEPARTURE WHEN THE CRIMINAL HISTORY CATEGORY




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 64 of 112 PageID #: 1192
                                                                              65



       1    SUBSTANTIALLY OVER REPRESENTS THE SERIOUSNESS OF THE
       2    DEFENDANT'S CRIMINAL HISTORY; OR, ALTERNATIVELY, WHERE THE
       3    LIKE -- OR THAT IT OVERSTATES THE LIKELIHOOD THAT THE
       4    DEFENDANT WILL COMMIT OTHER CRIMES.
       5                 IT APPEARS TO ME THAT THE SENTENCING COMMISSION
       6    HAS IN FACT CONSIDERED AND REJECTED THE VERY ARGUMENTS
       7    THAT MR. MARTIN HAS MADE HERE TODAY; THAT IS THAT CRIMINAL
       8    HISTORY CATEGORY 6 SHOULD BE RESERVED FOR THE MOST SERIOUS

       9    OFFENDERS.    THE SENTENCING COMMISSION MADE A FAR DIFFERENT
      10    DETERMINATION.     THE SENTENCING COMMISSION SIMPLY MADE A
      11    DETERMINATION THAT DEFENDANTS WITH A -- WITH CRIMINAL
      12    HISTORY POINTS OF 13 OR MORE SHOULD BE CRIMINAL HISTORY
      13    CATEGORY 6 AND MADE NO DISTINCTION BETWEEN WHAT ONE MIGHT
      14    CONSIDER MORE SERIOUS OFFENSES AND LESS SERIOUS OFFENSES,
      15    EXCEPT TO THE EXTENT THAT THAT INFLUENCES THE WAY POINTS
      16    ARE ASSESSED, OBVIOUSLY, LESS SERIOUS OFFENSES OFTEN
      17    RECEIVE FEWER POINTS, CRIMINAL HISTORY POINTS.
      18                 THE REAL PROBLEM HERE IS THE LIKELIHOOD THAT
      19    THE DEFENDANT WILL COMMIT OTHER CRIMES.         MR. LANDERS IS,
      20    OF COURSE, 24 YEARS OF AGE.       IT IS UNUSUAL, ALTHOUGH
      21    BECOMING MUCH MORE COMMON, FOR THIS COURT TO SEE A
      22    DEFENDANT IN HIS OR HER EARLY TWENTIES WITH A CRIMINAL
      23    HISTORY CATEGORY OF 6.      MR. LANDERS' CRIMINAL HISTORY
      24    OCCUPIES 14 PARAGRAPHS OF THE PRESENTENCE REPORT.           HE HAS
      25    NOT BEEN ASSESSED CRIMINAL HISTORY POINTS FOR ALL OF THOSE




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 65 of 112 PageID #: 1193
                                                                               66



       1    CONVICTIONS.    THERE ARE AT LEAST FIVE CONVICTIONS HERE FOR
       2    WHICH NO CRIMINAL HISTORY POINTS WERE ASSESSED.          HE WAS ON
       3    PROBATION WHEN THIS OFFENSE WAS COMMITTED.         HE HAS, AS
       4    SIMPLY AS I CAN PUT IT, SINCE THE AGE OF 18 COMMITTED ONE
       5    OFFENSE AFTER ANOTHER, SOME FAIRLY MINOR OFFENSES, SOME
       6    MORE SERIOUS OFFENSES.
       7                 HIS CRIMINAL HISTORY BEGINS WITH A JUVENILE
       8    ADJUDICATION WHICH RESULTED IN HIS BEING ADJUDICATED

       9    DELINQUENT, I GUESS, IN THE GENERAL SESSIONS COURT AS THE
      10    RESULT OF ARRANGING THE SALE OF MARIJUANA ON SCHOOL
      11    PROPERTY AND CONTINUES WITH WHAT ONE MIGHT CONSIDER FAIRLY
      12    MINOR OFFENSES, EXCEPT THAT AT AGE 18 MR. LANDERS WAS
      13    CONVICTED OF AN ASSAULT ON A FAMILY MEMBER.          AT AGE 19
      14    LATER THE SAME -- WELL, THE VERY SAME OCCASION, A SECOND
      15    ASSAULT ON A FAMILY MEMBER.       HE HAS CONVICTIONS FOR
      16    OBSTRUCTION OF JUSTICE, FOR DESTROYING EVIDENCE.          HE HAS
      17    CONVICTIONS FOR LARCENY, FOR THEFT, FOR ATTEMPTED BURGLARY
      18    AND FRAUDULENT USE OF A CREDIT CARD, NUMEROUS COUNTS, FOR
      19    RECEIVING STOLEN GOODS AND, FINALLY, FOR POSSESSION OF
      20    HEROIN.
      21                 IT IS, FRANKLY, THE LIKELIHOOD OF THE
      22    COMMISSION OF FUTURE CRIMES WHICH IS CAPTURED IN THE
      23    CRIMINAL HISTORY CATEGORY 6, NOT NECESSARILY THE
      24    SERIOUSNESS OF THE OFFENSE, ALTHOUGH -- OF EACH OF THOSE
      25    OFFENSES, ALTHOUGH THE CUMULATIVE EFFECT OF ALL THAT IS A




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 66 of 112 PageID #: 1194
                                                                              67



       1    VERY, VERY SERIOUS CRIMINAL HISTORY, ALL OF WHICH WAS
       2    ACCUMULATED IN ROUGHLY SIX YEARS, BETWEEN THE AGES OF 18
       3    AND THE AGE OF 24.
       4                 WITH RESPECT TO THE OTHER ARGUMENT MADE BY
       5    MR. MARTIN THAT THERE ARE NO FELONY CONVICTIONS HERE, THAT
       6    IS REFLECTED IN THE WAY CRIMINAL HISTORY POINTS ARE
       7    ASSESSED.    THE FACT THAT THERE'S NO PRIOR FELONY DRUG
       8    OFFENSE HERE IS NOT PARTICULARLY RELEVANT EITHER.           IN MOST

       9    CASES WHERE THERE IS A PRIOR FELONY DRUG OFFENSE CONGRESS
      10    HAS IN FACT PROVIDED FOR ENHANCED PENALTIES.
      11                 SO I CANNOT FIND HERE, AS I WOULD BE REQUIRED
      12    TO DO IN ORDER TO DEPART DOWNWARDLY UNDER THE GUIDELINES,
      13    THAT THE CRIMINAL HISTORY CATEGORY OF 6 SUBSTANTIALLY OVER
      14    REPRESENTS THE SERIOUSNESS OF THE DEFENDANT'S CRIMINAL
      15    HISTORY, ESPECIALLY WHEN CONSIDERED IN TOTAL, BUT MORE
      16    SPECIFICALLY THE LIKELIHOOD THAT HE WILL COMMIT OTHER
      17    CRIMES.    HAVING SAID THAT, THE OBJECTION UNDER SECTION
      18    4A1.1(3)(B) IS OVERRULED.       THAT CLEARLY, AS IN THE PRIOR
      19    CIRCUMSTANCE, IS A FACTOR THAT THE DEFENDANT CAN ARGUE IF
      20    HE WISHES IN FAVOR OF A VARIANCE FROM THE GUIDELINE RANGE
      21    HERE.
      22                 NOW, FINALLY, WE COME TO THE OBJECTION OF THE
      23    DEFENDANT WITH RESPECT TO A MITIGATING ROLE ADJUSTMENT
      24    UNDER SECTION 3B1.2.      ON THIS ONE, MR. MARTIN, I THINK YOU
      25    HAVE THE BURDEN OF ESTABLISHING ENTITLEMENT TO THE




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 67 of 112 PageID #: 1195
                                                                                68



       1    MITIGATING ROLE.
       2                  MR. MARTIN:    YES, YOUR HONOR.    MAY I ADDRESS
       3    THAT ISSUE?
       4                  THE COURT:    YES.
       5                  MR. MARTIN:    YES, YOUR HONOR, WE HAVE CONTENDED
       6    THAT MR. LANDERS SHOULD RECEIVE A DOWNWARD ADJUSTMENT
       7    BASED ON A MITIGATING ROLE IN THE OFFENSE; AND AS A
       8    THRESHOLD MATTER, WE ARE AWARE OF THE CAMPBELL CASE WHICH

       9    HOLDS THAT A DEFENDANT IS NOT ENTITLED TO A MITIGATING
      10    ROLE REDUCTION IF THE DEFENDANT IS HELD ACCOUNTABLE ONLY
      11    FOR THE QUANTITY OF DRUGS ATTRIBUTABLE TO HIM.          AND WE SAY
      12    THE CAMPBELL CASE, YOUR HONOR, IS FACTUALLY
      13    DISTINGUISHABLE FROM THIS CASE.
      14                  NOW, THE CAMPBELL CASE I DON'T THINK EXPLICITLY
      15    SAYS SO, BUT WE SAY THE CASE SHOULD BE INTERPRETED AS
      16    APPLYING ONLY TO THE QUANTITY OF DRUGS FOR WHICH THE
      17    DEFENDANT WAS ACTUALLY INVOLVED AS WAS SET OUT IN A PLEA
      18    AGREEMENT OR FOUND BY A JURY; AND IN THIS CASE MR. LANDERS
      19    WAS NOT ACTUALLY INVOLVED WITH ANY AMOUNT OF DRUGS.           HE,
      20    HE ENTERED A PLEA TO AN AGREED AMOUNT OF DRUGS, BUT
      21    THERE'S NO RECORD THAT HE EVER HAD POSSESSION OF ANY
      22    DRUGS, AND SO WE SAY THE CAMPBELL CASE IS FACTUALLY
      23    DISTINGUISHABLE FROM THIS PARTICULAR SITUATION.
      24                  THE COURT:    HERE IT WAS BASED ON THE
      25    PSEUDOEPHEDRINE PURCHASED BY OTHERS --




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 68 of 112 PageID #: 1196
                                                                              69



       1                 MR. MARTIN:    YES, YES.
       2                 THE COURT:    -- AND CONVERTED TO A QUANTITY OF
       3    MARIJUANA AND THEN THE MARIJUANA QUANTITY USED TO
       4    ESTABLISH THE GUIDELINE RANGE.
       5                 MR. MARTIN:    YES, YOUR HONOR.     WE JUST SAY THAT
       6    HE WAS -- THE CAMPBELL CASE SHOULD BE LIMITED TO THE
       7    AMOUNT THAT THEY WERE ACTUALLY INVOLVED WITH, AND IN THIS
       8    CASE MR. LANDERS WAS NOT ACTUALLY INVOLVED, DIDN'T

       9    PURCHASE ANY PSEUDOEPHEDRINE, JUST SIMPLY ENTERED A PLEA
      10    TO AN AGREED AMOUNT.      SO WE SAY THE CAMPBELL CASE IS
      11    FACTUALLY DISTINGUISHABLE.
      12                 YOUR HONOR, FURTHER ADDRESSING THE DOWNWARD
      13    ADJUSTMENT FOR MITIGATING ROLE, SECTION 3B1.2(A), OF
      14    COURSE, PROVIDES FOR A FOUR LEVEL DOWNWARD ADJUSTMENT
      15    BASED ON BEING A MINIMAL PARTICIPANT IN THE OFFENSE; AND
      16    COMMENT FOUR NOTES THAT, THE DEFENDANT'S LACK OF KNOWLEDGE
      17    OR UNDERSTANDING OF THE SCOPE AND STRUCTURE OF THE
      18    ENTERPRISE AND OF THE ACTIVITIES OF OTHERS IS INDICATIVE
      19    OF A ROLE AS A MINIMAL PARTICIPANT.        AND, YOUR HONOR, WE
      20    CONTEND THE TESTIMONY OF MR. LANDERS HAS ESTABLISHED FACTS
      21    WHICH PROVE HIS LACK OF KNOWLEDGE OR UNDERSTANDING OF BOTH
      22    THE SCOPE AND THE STRUCTURE OF THE ENTERPRISE AND
      23    ACTIVITIES OF OTHERS.      HE TESTIFIED THAT THERE WERE ONLY
      24    THREE PEOPLE HE EVEN KNEW.       HE HAD NO IDEA WHAT THESE
      25    OTHER PEOPLE WERE DOING.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 69 of 112 PageID #: 1197
                                                                              70



       1                 COMMENT (3)(A) TO SECTION 3B1.2, YOUR HONOR,
       2    STATES THAT THE SECTION APPLIES, AND THAT'S 3B1.2, IF THE
       3    DEFENDANT IS ONLY RESPONSIBLE FOR HIS OWN CONDUCT, AND WE
       4    SAY THE TESTIMONY OF MR. LANDERS HAS ESTABLISHED A FACTUAL
       5    BASIS FOR THE COURT TO CONCLUDE THAT HE WAS ACCOUNTABLE
       6    ONLY FOR HIS OWN ACTIONS.       AND COMMENT (3)(A) TO THIS
       7    SECTION, YOUR HONOR, ALSO STATES THAT SECTION 3B1.1(A)
       8    APPLIES IF THE DEFENDANT PERFORMS A LIMITED FUNCTION IN

       9    THE OFFENSE, AND WE SAY THE TESTIMONY OF MR. LANDERS HAS
      10    CLEARLY ESTABLISHED THAT HE, HE PERFORMED A LIMITED
      11    FUNCTION IN THE OFFENSE.      THANK YOU.
      12                 THE COURT:    ALL RIGHT, MR. MARTIN.
      13                 ALL RIGHT.    MS. SMITH'S, THE GOVERNMENT'S
      14    RESPONSE TO THAT.
      15                 MS. SMITH:    WELL, BY HIS ADMISSION THERE WERE
      16    NINE PEOPLE AT HIS HOUSE THAT DAY DOING METH, SO, YOU
      17    KNOW, I PERHAPS SHOULD HAVE OBJECTED AND ASKED FOR AN
      18    AGGRAVATING ROLE ENHANCEMENT UNDER 3B1.1(A) OR (B) BECAUSE
      19    HE HAS EXCEED THE FIVE OR MORE PARTICIPANTS THRESHOLD
      20    HERE; AND I THINK HE'S ALREADY TOLD US THAT THERE -- ALL
      21    NINE OF THEM WERE DOING METH THAT DAY.
      22                 AS REGARDS THE MITIGATING ROLE, YOUR HONOR, I
      23    DON'T KNOW HOW YOU CAN CONSIDER PROVIDING A PLACE FOR METH
      24    TO BE COOKED AND, YOU KNOW, THE PARTY HOUSE AS A MITI-
      25    GATING ROLE.    HE, HE WENT WITH HIM IN THE CAR, HE'S




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 70 of 112 PageID #: 1198
                                                                                71



       1    ALREADY SAID HE DIDN'T HAVE TO GO WITH THEM IN THE CAR, HE
       2    JUST WENT BECAUSE HE WAS STUPID.        I DON'T KNOW WHAT THAT
       3    MEANS EXACTLY, BUT HE -- THOSE PEOPLE STAYED THERE, SOME
       4    OF THEM STAYED THERE FOR TWO DAYS.        HE WAS THE HOST.     HE
       5    WAS -- HE MADE THE DRUG DEN AVAILABLE, AND THAT IS NOT A
       6    MINIMAL PARTICIPATION.
       7                  I THINK WHAT HE'S LOOKING AT HERE -- YOU KNOW,
       8    HE GOT THE VERY, THE VERY LOWEST QUANTITY, YOUR HONOR,

       9    THAT I COULD JUSTIFY.      AND -- I DON'T KNOW WHAT THAT IS,
      10    IS THAT ME?
      11                  THE COURT:   I'M NOT SURE WHAT THAT IS.       WE'RE
      12    GETTING FEEDBACK FROM SOMEWHERE.
      13                  MS. SMITH:   IT'S YOU, OKAY, THAT'S GOOD.       THANK
      14    YOU.
      15                  I DON'T KNOW, YOU KNOW, WHERE HE THINKS HE'S A
      16    MINOR PARTICIPANT WHEN HE PROVIDED THE STUFF.          AND, AGAIN,
      17    IF WE LOOK AT HIS PLEA AGREEMENT, YOUR HONOR, WHAT HE
      18    ADMITTED TO WAS THE POSSESSION OF THINGS THAT WERE USED IN
      19    METH, PLASTIC BOTTLES, FINISHED METHAMPHETAMINE, BLISTER
      20    PACKS OF SUDAFED AND METH SMOKING SPOONS AND DEVICES;
      21    THAT'S WHAT HE PROVIDED, HIS HOME AND ALL OF THOSE THINGS,
      22    AND THAT IS NOT A MINIMAL ROLE.
      23                  I'M ALSO CONCERNED, YOUR HONOR, YOU KNOW, I TRY
      24    VERY HARD TO BE CONSISTENT IN OUR PLEA POLICY, AND IF HE
      25    GETS A MINOR ROLE OR SOME SORT OF MITIGATION ROLE WHEN HE




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 71 of 112 PageID #: 1199
                                                                               72



       1    PROVIDES A PLACE WHERE METH WILL BE COOKED AND WHERE METH
       2    IS INGESTED, THEN WE'RE GOING TO HAVE SOME REAL PROBLEMS
       3    FOR MR. BREWER AND FOR MR. WHITE WHO HAVE YET TO BE
       4    SENTENCED WHO WERE PRESENT AT THE SAME TIME.
       5                 THE COURT:    WELL, YOU'VE AGREED TO THE MINOR
       6    ROLE ADJUSTMENT WITH RESPECT TO MR. BREWER; HAVEN'T YOU?
       7                 MS. SMITH:    I DID, YOUR HONOR, RIGHT.      I DID
       8    WITH HIM.

       9                 NOW, HIS STORY -- OF COURSE, HE'S NOT HERE
      10    TODAY, AND I DIDN'T ASK MR. LANDERS ABOUT IT, BUT IF
      11    MR. BREWER DECIDES TO TESTIFY, HIS STORY IS SO
      12    DIAMETRICALLY OPPOSED TO WHAT MR. LANDERS TESTIFIED TO.
      13    ACCORDING TO MR. BREWER, HE HAD NEVER MET THESE PEOPLE
      14    UNTIL THE DAY BEFORE WHEN HE MET THEM AT SOME PARTY IN
      15    NORTH CAROLINA, AND HE DIDN'T EVEN KNOW THEY WERE GOING TO
      16    BUY METH, YOU KNOW.      SO THEY'RE ALL, ALL CLAIMING THAT
      17    THEY DIDN'T HAVE ANYTHING TO DO.        AND I TOOK THE REPRE-
      18    SENTATIONS THAT MR. BREWER MADE TO ME AT FACE VALUE, AND I
      19    MAY REGRET THAT; BUT I DID NOT MAKE A SIMILAR ADJUSTMENT
      20    FOR MR. LANDERS BASED ON THE FACTS OF THE CASE.
      21                 THE COURT:    IS THERE ANY DIFFERENCE BETWEEN
      22    MR. LANDERS' CASE AND AMANDA LOWE'S CASE OTHER THAN THE
      23    FACT THAT THIS ALL OCCURRED AT MR. LANDERS' RESIDENCE?
      24                 MS. SMITH:    I'LL HAVE TO LOOK, YOUR HONOR.         I'M
      25    SORRY.   IF YOU'LL GIVE ME JUST A MINUTE, I --




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 72 of 112 PageID #: 1200
                                                                              73



       1                  THE COURT:   IN AMANDA LOWE, THE MINOR
       2    ADJUSTMENT ROLE ALSO APPLIED, AND SHE PLED GUILTY TO THIS
       3    SAME OFFENSE AND THE SAME QUANTITY.
       4                  MS. SMITH:   SHE DID.
       5                  NO, YOUR HONOR, I -- IT WAS A DIFFERENT SET OF
       6    FACTS, BUT I THINK SHE -- I'M SORRY, I'M SO OUT OF IT
       7    RIGHT HERE.    IT'S KIND OF --
       8                  THE COURT:   TAKE YOUR TIME.

       9                  MS. SMITH:   THAT'S ALL RIGHT.     LET ME LOOK AT
      10    HER PLEA AGREEMENT AS WELL.       SHE PLED TO 84(3)(A)(6) AS
      11    WELL, YOUR HONOR.
      12                  THE COURT:   SHE DID, YES.
      13                  MS. SMITH:   YES.
      14                  THE COURT:   AND WHILE YOU AGREED TO THAT
      15    ADJUSTMENT IN MR. BREWER'S CASE, YOU DIDN'T SPECIFICALLY
      16    IN THE PLEA AGREEMENT AGREE TO IT, BUT THE PROBATION
      17    OFFICER APPLIED IT, AND THERE WAS NO GOVERNMENT OBJECTION.
      18                  MS. SMITH:   UH-HUH.    NO, I DIDN'T.
      19                  THAT'S CORRECT, IT WAS NOT AT HER HOME, YOUR
      20    HONOR, IT WAS AT ANOTHER LOCATION, AND THAT WOULD BE THE
      21    ONLY FACTUAL DISTINCTION.       EVERYTHING ELSE IS EQUAL AND
      22    THAT WOULD BE -- IT WAS THE SAME QUANTITY FOR HER AS WELL,
      23    AND IT WAS ATTRIBUTABLE AS WELL BECAUSE THERE WAS NO
      24    RECORD OF HER BUYING SUDAFED.
      25                  THE COURT:   ONE OTHER QUESTION, MS. SMITH.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 73 of 112 PageID #: 1201
                                                                               74



       1    MR. LANDERS HAS TESTIFIED TODAY THAT HE ONLY KNEW A VERY
       2    LIMITED NUMBER OF ALL THESE CONSPIRATORS, WAS INVOLVED IN
       3    THIS FOR A VERY LIMITED PERIOD OF TIME, DID NOT EVER
       4    MANUFACTURE METH, HAD NEVER -- HAD NEVER DISTRIBUTED METH,
       5    IS THERE ANYTHING THAT WAS UNCOVERED IN THE GOVERNMENT'S
       6    INVESTIGATION HERE THAT CONTRADICTS ANY OF THAT?
       7                 MS. SMITH:    NO, YOUR HONOR, THERE WAS NOT.       OF
       8    COURSE, HE WAS ONLY HELD ACCOUNTABLE FOR 9.6.          HE DIDN'T

       9    EVEN COME CLOSE TO THE 128 OR THE 240 FOR, YOU KNOW, THE
      10    VERY LARGE QUANTITIES; BUT, NO, WE HAD TRIED TO BE
      11    CONSISTENT AND ONLY PEGGED THEM WITH WHAT THEY SHOULD BE
      12    HELD ACCOUNTABLE FOR.
      13                 THE COURT:    AND THE 9.6 GRAMS IS THE AMOUNT OF
      14    PSEUDOEPHEDRINE FOUND AT THE RESIDENCE ON THE 28TH OF
      15    OCTOBER?
      16                 MS. SMITH:    ACTUALLY, YOUR HONOR, THAT IS A
      17    PURELY COMPROMISED QUANTITY.
      18                 THE COURT:    COMPROMISED.
      19                 MS. SMITH:    YES, SIR.    AND I'LL BE VERY FRANK
      20    ABOUT THAT, THAT'S WHY IT'S DONE THAT.         IT IS THE VERY
      21    BEST I CAN DO.
      22                 THE COURT:    OKAY.   ALL RIGHT.
      23                 ALL RIGHT.    THE ISSUE HERE IS WHETHER OR NOT
      24    MR. LANDERS IS ENTITLED TO A MITIGATING ROLE ADJUSTMENT
      25    UNDER SECTION 3B1.2 OF THE GUIDELINES WHICH PROVIDES FOR A




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 74 of 112 PageID #: 1202
                                                                               75



       1    DECREASE IN THE OFFENSE LEVEL OF FOUR LEVELS IF THE
       2    DEFENDANT WAS A MINIMAL PARTICIPANT, TWO LEVELS IF HE WAS
       3    A MINOR PARTICIPANT IN CRIMINAL ACTIVITY, OR IN CASES THAT
       4    FALL IN BETWEEN A THREE LEVEL REDUCTION.         THE GUIDELINE
       5    COMMENTARY MAKES IT CLEAR THAT THIS SECTION OF THE GUIDE-
       6    LINES IS INTENDED TO PROVIDE AN ADJUSTMENT IN THE CASE OF
       7    A DEFENDANT WHO IS LESS CULPABLE, IF YOU WILL, WHO PLAYS A
       8    SMALLER ROLE, LESS OF A ROLE IN COMMITTING THE OFFENSE

       9    THAN THE SUBSTANTIAL -- THE AVERAGE PARTICIPANT DOES.
      10                 IN DETERMINING WHETHER THE MINIMAL PARTICIPANT
      11    ROLE ADJUSTMENT APPLIES, THE GUIDELINES INDICATE THAT THE
      12    SECTION IS INTENDED TO COVER THOSE WHO ARE PLAINLY THE
      13    LEAST CULPABLE OF ALL THOSE INVOLVED IN THE CONDUCT OF THE
      14    GROUP.   IN APPLYING THAT PARTICULAR ADJUSTMENT, THE COURT,
      15    AMONG OTHER THINGS, LOOKS TO THE DEFENDANT'S LACK OF
      16    KNOWLEDGE OR UNDERSTANDING OF THE SCOPE AND STRUCTURE OF
      17    THE ENTERPRISE AND OF THE ACTIVITIES OF OTHERS.          A MINOR
      18    PARTICIPANT IS SIMPLY DEFINED BY THE GUIDELINE AS A
      19    PARTICIPANT WHO IS LESS CULPABLE THAN MOST OTHER PARTICI-
      20    PANTS, BUT WHOSE PARTICIPATION COULD NOT BE DESCRIBED AS
      21    MINIMAL.    NOT OF VERY MUCH HELP TO THE COURT.
      22                 SOME THINGS ARE RELATIVELY UNDISPUTED HERE.
      23    FIRST OF ALL, MR. LANDERS' PARTICIPATION IN THE CONCERTED
      24    CRIMINAL ACTIVITY WAS OF A VERY SHORT DURATION.          THERE WAS
      25    NO PROOF THAT IT EXTENDED BEYOND OCTOBER 27 AND OCTOBER




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 75 of 112 PageID #: 1203
                                                                              76



       1    28TH.   THERE IS NO PROOF HERE THAT HE KNEW MOST OF THE
       2    DEFENDANTS INVOLVED IN THIS CONSPIRACY.         MY RECOLLECTION
       3    IS THAT HE TESTIFIED THAT HE KNEW ONLY THREE, AND HIS
       4    CONTACT WITH THOSE THREE WAS RELATIVELY LIMITED, MOSTLY TO
       5    THE EVENTS OF OCTOBER 27 AND 28.
       6                 THIS WAS A LARGE SCALE CONSPIRACY CASE INVOLV-
       7    ING A NETWORK OF PEOPLE WHO WERE RATHER LOOSELY CONNECTED.
       8    THERE CERTAINLY WAS NOT SIGNIFICANT STRUCTURE TO THIS

       9    CONSPIRACY, SO I THINK IT'S ESTABLISHED HERE TODAY, OR AT
      10    LEAST UNCONTESTED, THAT MR. LANDERS ALSO HAD FAIRLY
      11    LIMITED KNOWLEDGE AND UNDERSTANDING OF THE SCOPE AND
      12    STRUCTURE OF THIS ENTERPRISE AND THAT HE KNEW VERY LITTLE
      13    ABOUT THE ACTIVITIES OF OTHERS INVOLVED, EXCEPT FOR CER-
      14    TAINLY MR. WHITE AND MS. PHIPPS, WHOM HE CLEARLY DESCRIBED
      15    AS SUPPLIERS OF METHAMPHETAMINE.
      16                 THE GUIDELINE MAKES IT CLEAR AS WELL THAT A
      17    DEFENDANT WHO IS HELD ACCOUNTABLE UNDER SECTION 1B1.3 FOR
      18    RELEVANT CONDUCT ONLY FOR THE CONDUCT HE WAS PERSONALLY
      19    INVOLVED WITH IS NOT PRECLUDED FROM THE ADJUSTMENT.           THAT
      20    APPEARS TO BE A PROVISION OF THE COMMENTARY THAT HAS NOT
      21    BEEN APPLIED BY THE SIXTH CIRCUIT.        THE SIXTH CIRCUIT
      22    APPEARS TO SAY, THEY SAID IT IN CAMPBELL AND THEY'VE SAID
      23    IT IN AN OPINION SINCE THAT TIME WHERE THEY HAVE CITED
      24    CAMPBELL WITH APPROVAL, THAT AS A GENERAL MATTER A
      25    DEFENDANT WHO HAS BEEN HELD ACCOUNTABLE ONLY FOR HIS




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 76 of 112 PageID #: 1204
                                                                              77



       1    PERSONAL INVOLVEMENT IS, IN FACT, GENERALLY PRECLUDED
       2    FROM, FROM THE ADJUSTMENT.
       3                 THE GUIDELINE DOES IN FACT GIVE AN EXAMPLE OF A
       4    DEFENDANT WHOSE ROLE IN THE OFFENSE WAS SIMPLY LIMITED TO
       5    TRANSPORTING OR STORING DRUGS AND WHO HAS BEEN HELD
       6    ACCOUNTABLE ONLY FOR THE QUANTITY HE WAS PERSONALLY
       7    INVOLVED IN TRANSPORTING OR STORED IS -- OR STORING IS NOT
       8    PRECLUDED FROM CONSIDERATION.       IT MAY WELL BE THAT IN A

       9    CASE OF TRANSPORTATION OR STORAGE, WHEN THAT WAS THE ONLY
      10    INVOLVEMENT, THAT EVEN IN THE SIXTH CIRCUIT THAT THAT
      11    ADJUSTMENT MIGHT, MIGHT APPLY.
      12                 THE PROBLEM HERE, MR. LANDERS, FOR ME IS THAT
      13    I'M BOUND BY CAMPBELL, AND THE OTHER CASES THAT HAVE CITED
      14    CAMPBELL WITH APPROVAL IN THE SIXTH CIRCUIT.          ALTHOUGH IT
      15    IS A COMPROMISED AMOUNT, THERE IS NO REAL SUGGESTION
      16    HERE -- I DON'T KNOW HOW MUCH PSEUDOEPHEDRINE WAS FOUND AT
      17    THAT RESIDENCE ON OCTOBER 28 OR HOW MUCH WAS PURCHASED AT
      18    CVS AND WALGREEN EARLIER THAT DAY.        IT APPEARS, HOWEVER,
      19    THAT YOU HAVE BEEN HELD ACCOUNTABLE ONLY FOR THAT WHICH
      20    COULD REASONABLY BE ATTRIBUTED TO YOU PERSONALLY OR FOR
      21    WHICH YOU WERE PERSONALLY INVOLVED.        UNDER CAMPBELL AND
      22    THE CASES THAT COME AFTER IT, IT APPEARS TO ME THAT IN THE
      23    SIXTH CIRCUIT YOU ARE NOT ENTITLED TO THE ROLE ADJUSTMENT
      24    UNDER THE GUIDELINES, AND I'M COMPELLED, I THINK, UNDER
      25    CURRENT EXISTING SIXTH CIRCUIT CASE LAW TO OVERRULE THAT




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 77 of 112 PageID #: 1205
                                                                                78



       1    OBJECTION.    HOWEVER, AGAIN, IT CLEARLY IS A MATTER THAT
       2    THE COURT CAN CONSIDER IN DETERMINING THE ULTIMATE
       3    SENTENCE HERE BECAUSE I'M NOT BOUND BY THE RESULTING
       4    GUIDELINE RANGE; BUT I FEEL COMPELLED BY THE LAW TO
       5    OVERRULE THE OBJECTION UNDER SECTION 3B1.2.
       6                 HAVING RESOLVED ALL THOSE OBJECTIONS THEN, I
       7    WILL ADOPT THIS PRESENTENCE REPORT AS THE COURT'S FINDINGS
       8    IN THIS CASE.     I WILL APPLY AN ADVISORY RANGE OF 77 TO 96

       9    MONTHS.    BY STATUTE MR. LANDERS FACES A MAXIMUM TERM OF
      10    10, 10 YEARS.
      11                 ALL RIGHT.    MS. SMITH, THE GOVERNMENT ARGUES
      12    FOR A BOTTOM OF THE GUIDELINE RANGE SENTENCE HERE?
      13                 MS. SMITH:    I DO, YOUR HONOR.     AND WITH ALL DUE
      14    RESPECT, I HAVE NOTHING MORE TO ADD THAN WHAT'S IN MY
      15    SENTENCING MEMORANDUM AND WHAT I'VE ALREADY SAID.           THANK
      16    YOU.
      17                 THE COURT:    THANK YOU.
      18                 ALL RIGHT.    MR. MARTIN, I'VE ALSO READ YOUR
      19    SENTENCING MEMORANDUM, I KNOW MUCH OF IT WAS PREMISED ON
      20    YOUR OBJECTIONS, BUT --
      21                 MR. MARTIN:    YES, YOUR HONOR; AND I'LL NOT
      22    REPEAT ANY OF THE 3553 MATERIAL UNLESS THE COURT HAS A
      23    PARTICULAR INTEREST, BUT WE SAY A MINIMUM SENTENCE OF 77
      24    MONTHS WOULD BE APPROPRIATE, YOUR HONOR.         THERE WAS NO
      25    VIOLENCE ASSOCIATED WITH THE OFFENSE, THERE WAS NO FIREARM




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 78 of 112 PageID #: 1206
                                                                              79



       1    ASSOCIATED WITH THE OFFENSE.       MR. LANDERS WAS CLEARLY NOT
       2    THE LEADER OF THE OFFENSE AND PLAYED, TO BE, I WOULD SAY
       3    HE PLAYED A LIMITED ROLE.
       4                 THE COURT:    ALL RIGHT.    MR. LANDERS, WOULD YOU
       5    COME UP TO THE PODIUM, PLEASE, WITH YOUR ATTORNEY.
       6                 THE DEFENDANT:     YES, SIR.
       7                 THE COURT:    MR. LANDERS, IS THERE ANYTHING
       8    FURTHER YOU WOULD LIKE TO SAY TO THE COURT TODAY BEFORE I

       9    IMPOSE SENTENCE IN THIS CASE?
      10                 THE DEFENDANT:     NO, SIR.
      11                 THE COURT:    MR. LANDERS, I HOPE YOU REALIZE
      12    THAT YOUR CRIMINAL CONDUCT CANNOT CONTINUE.
      13                 THE DEFENDANT:     YES, SIR.
      14                 THE COURT:    YOU'VE, YOU'VE DUG YOURSELF A HUGE
      15    HOLE HERE.
      16                 THE DEFENDANT:     YES, SIR.   I KNOW.
      17                 THE COURT:    AND THERE'S AN OLD CLICHE, AND I
      18    HESITATE TO USE IT, BUT I HOPE YOU KNOW THE RULE IS THAT
      19    WHEN YOU FIND YOURSELF IN A HOLE, THE FIRST THING YOU DO
      20    IS TO STOP DIGGING, AND YOU JUST CONTINUE TO DIG THIS HOLE
      21    DEEPER AND DEEPER BY COMMITTING CRIMINAL OFFENSES.
      22                 THE DEFENDANT:     YES, SIR.
      23                 THE COURT:    AND IT APPEARS TO ME THERE ARE SOME
      24    CONTRIBUTING FACTORS HERE, THE BIGGEST ONE BEING DRUG
      25    ABUSE, AND THAT HAS TO STOP.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 79 of 112 PageID #: 1207
                                                                              80



       1                 THE DEFENDANT:      YES, SIR.
       2                 THE COURT:    YOU ARE A VERY YOUNG MAN.      I DON'T
       3    WANT TO SEE YOU SPEND A BIG PART OF THE PRODUCTIVE YEARS
       4    OF YOUR LIFE IN A FEDERAL PRISON.
       5                 THE DEFENDANT:      ME NEITHER, SIR.
       6                 THE COURT:    THE CRIMINAL HISTORY NEEDS STOP
       7    RIGHT HERE, TODAY.     IT'S --
       8                 THE DEFENDANT:      YES, SIR.

       9                 THE COURT:    I'M GOING TO RECOMMEND A LOT OF
      10    PROGRAMS FOR YOU --
      11                 THE DEFENDANT:      PLEASE DO, I NEED THEM.
      12                 THE COURT:    -- WHILE YOU ARE IN THE BUREAU OF
      13    PRISONS, BUT ULTIMATELY YOU'LL HAVE TO DECIDE WHETHER YOU
      14    WANT TO COMPLETE THOSE PROGRAMS OR NOT AND WHETHER YOU
      15    WANT TO DO WHAT IS REQUIRED FOR YOU TO DEVELOP THE TOOLS
      16    THAT YOU NEED; BUT IF YOU DON'T, MR. LANDERS, I FEAR THAT
      17    THE FUTURE IS NOT TOO BRIGHT.
      18                 THE DEFENDANT:      YES, SIR.
      19                 THE COURT:    MR. LANDERS, WHAT I'M REQUIRED TO
      20    DO HERE TODAY BY STATUTE IS TO IMPOSE A SENTENCE THAT'S
      21    SUFFICIENT BUT NOT GREATER THAN NECESSARY TO COMPLY WITH
      22    THE PURPOSES OF SENTENCING ESTABLISHED BY THE UNITED
      23    STATES CONGRESS.     THOSE PURPOSES ARE LISTED AT TITLE 18,
      24    UNITED STATES CODE, SECTION 3553(A).         CONGRESS HAS ALSO
      25    IDENTIFIED A NUMBER OF FACTORS I'M REQUIRED TO CONSIDER.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 80 of 112 PageID #: 1208
                                                                                81



       1    THEY ARE SET OUT IN THAT CODE SECTION AS WELL, AND I BEGIN
       2    MY CONSIDERATION OF THOSE FACTORS WITH THE ADVISORY
       3    GUIDELINE RANGE THAT APPLIES TO YOUR CASE.
       4                 NOW, I HAVE DETERMINED HERE AFTER HEARING YOUR
       5    OBJECTIONS THIS MORNING, MR. LANDERS, THAT THE ADVISORY
       6    GUIDELINE RANGE WHICH APPLIES TO THIS CASE IS A RANGE OF
       7    77 TO 96 MONTHS.     NOW, THAT IS ADVISORY.      WHAT THAT MEANS
       8    IS I'M NOT REQUIRED TO SENTENCE WITHIN THAT RANGE.

       9    REGARDLESS OF WHAT RULING I'VE MADE ON YOUR OBJECTIONS,
      10    I'M SIMPLY REQUIRED TO DETERMINE THE RANGE, AND THEN IT'S
      11    AN ADVISORY RANGE.
      12                 AND WHAT THAT MEANS IS THAT I HAVE CONSIDERABLY
      13    MORE DISCRETION THAN THAT RANGE WOULD SUGGEST.          MY
      14    DISCRETION IS ESTABLISHED HERE BY THE STATUTE.          THIS IS AN
      15    OFFENSE WHICH CARRIES A MAXIMUM TERM OF 10 YEARS.            THAT
      16    MEANS I HAVE THE DISCRETION TO VARY CONSIDERABLY BELOW THE
      17    BOTTOM OF THAT GUIDELINE RANGE OR IN APPROPRIATE CIRCUM-
      18    STANCES TO VARY ABOVE THE GUIDELINE RANGE AS WELL AND
      19    IMPOSE THE STATUTORY MAXIMUM SENTENCE, BUT THERE'S
      20    CERTAINLY BEEN NO SUGGESTION HERE THAT I SHOULD CONSIDER
      21    ANYTHING ABOVE THE GUIDELINE RANGE.        IN FACT, THE
      22    GOVERNMENT DOES NOT ADVOCATE FOR ANYTHING ABOVE THE BOTTOM
      23    OF THIS GUIDELINE RANGE HERE.       SO THE REAL QUESTION FOR ME
      24    HERE TODAY, MR. LANDERS, IS WHETHER THE 3553(A) FACTORS
      25    WOULD SUGGEST SOME SENTENCE OF LESS THAN 77 MONTHS.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 81 of 112 PageID #: 1209
                                                                              82



       1                 NOW, HAVING SAID ALL THAT TO YOU, THIS GUIDE-
       2    LINE RANGE IS AN IMPORTANT FACTOR.        IT'S IMPORTANT FOR
       3    THIS REASON, IT, IT IS A RANGE THAT WAS ESTABLISHED BY THE
       4    UNITED STATES SENTENCING COMMISSION WHICH HAS BEEN DOING
       5    WORK RELATED TO THESE GUIDELINE RANGES NOW FOR NEARLY 30
       6    YEARS, AND ENACTED IN ESTABLISHING THE GUIDELINE RANGES
       7    UNDER A MANDATE FROM THE UNITED STATES CONGRESS WHICH
       8    DIRECTED THE SENTENCING COMMISSION TO ESTABLISH THE RANGE,

       9    BUT TO DO SO ONLY AFTER THOROUGH CONSIDERATION OF ALL OF
      10    THE 3553(A) FACTORS.      SO IN A SENSE WHAT CONGRESS TOLD THE
      11    SENTENCING COMMISSION TO DO IS THE SAME THING CONGRESS HAS
      12    TOLD ME TO DO, LOOK AT ALL THE 3553(A) FACTORS, THEN
      13    DETERMINE WHAT SENTENCE IS SUFFICIENT BUT NOT GREATER THAN
      14    NECESSARY.    IN MY CASE, OBVIOUSLY, I'M THE FINAL, FINAL
      15    SAY ON THAT UNLESS THE SIXTH CIRCUIT INTERVENES.
      16                 THE SENTENCING COMMISSION HAS JUST MADE A
      17    RECOMMENDATION, BUT GENERALLY SPEAKING IT'S BEEN MY
      18    EXPERIENCE THAT THE SENTENCING COMMISSION HAS GENERALLY
      19    DONE WHAT CONGRESS TOLD IT TO DO.        IT HAS IN FACT CON-
      20    SIDERED THE 3553(A) FACTORS, AND IT HAS IN MOST CASES,
      21    MR. LANDERS, RECOMMENDED A RANGE THAT IS IN FACT
      22    REFLECTIVE OF THOSE 3553(A) FACTORS.
      23                 NOW, THERE'S AN ARGUMENT HERE, MR. LANDERS,
      24    THAT THIS GUIDELINE RANGE BASED ON THE OFFENSE LEVEL --
      25    THE BASE OFFENSE LEVEL THAT'S BEING USED HERE IS NOT TRULY




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 82 of 112 PageID #: 1210
                                                                              83



       1    REFLECTIVE OF YOUR INVOLVEMENT IN THIS PARTICULAR OFFENSE,
       2    AND I WANT TO ADDRESS THAT JUST A MINUTE BECAUSE EVEN
       3    THOUGH THE GUIDELINE RANGE IS GENERALLY IN MY VIEW
       4    REFLECTIVE, THIS GUIDELINE RANGE, AS WE HAVE DISCUSSED,
       5    HAS BEEN ARRIVED AT BY APPLYING THE BASE OFFENSE LEVEL OF
       6    24 FROM SECTION 2D1.1, NOT THE MUCH LOWER OFFENSE LEVEL,
       7    BASE OFFENSE LEVEL WHICH WOULD HAVE BEEN APPLIED AT
       8    SECTION IF 2D1.12 APPLIED.       IN FACT, IT'S A CONSIDERABLE

       9    DIFFERENCE.
      10                  AS WE WERE CONSIDERING IT A FEW MINUTES AGO, I
      11    LOOKED AT THE POTENTIAL ENHANCEMENTS IN THAT BASE OFFENSE
      12    LEVEL, AND YOU MIGHT HAVE ENDED UP WITH A BASE OFFENSE
      13    LEVEL OF 11 OR 12 HAD SECTION, SUBSECTION 12 BEEN APPLIED
      14    RATHER THAN SUBSECTION 1; BUT IT'S A SIGNIFICANT DIF-
      15    FERENCE.    IT'S, IN EFFECT, A BASE OFFENSE LEVEL THAT IS
      16    DOUBLE OR MORE WHAT IT WOULD BE UNDER SECTION 2D1.12;
      17                  AND ALTHOUGH I THINK I CAME TO THE RIGHT
      18    DECISION UNDER THE CASE LAW AS WE HAVE DISCUSSED, THE
      19    CROSS REFERENCE APPLIED IN THAT SECTION IS ONE WHICH HAS
      20    NOT BEEN AT ISSUE SO FAR AS I CAN TELL IN A DISTRICT COURT
      21    OR THE SIXTH CIRCUIT COURT OF APPEALS.         THERE'S NO CASE
      22    LAW TO GUIDE ME IN MAKING THAT DETERMINATION.          I HAVE
      23    BASED THAT DETERMINATION ON THE LITERAL LANGUAGE OF THE
      24    GUIDELINE ITSELF WITH SOME HELP FROM AN ELEVENTH CIRCUIT
      25    OPINION, WHICH, OF COURSE, IS NOT BINDING ON THIS COURT,




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 83 of 112 PageID #: 1211
                                                                              84



       1    BUT WHICH GIVES ME AN INDICATION OF WHAT AN APPEALS COURT
       2    MIGHT DO IN THAT SITUATION.
       3                 I THINK WHAT THAT RAISES IS WHETHER OR NOT THE
       4    GUIDELINE RANGE TRULY OVERSTATES THE SERIOUSNESS OF THIS
       5    OFFENSE.    AND IN MY VIEW, MR. LANDERS, IT MAY VERY WELL DO
       6    THAT, MUCH FOR THE SAME REASON THAT YOUR ROLE IS CONCEDED
       7    TO BE A LESS CULPABLE ROLE IN THIS PARTICULAR OFFENSE.            IT
       8    IS CLEAR THAT YOU WERE NOT PERSONALLY INVOLVED IN THE

       9    MANUFACTURE OF METHAMPHETAMINE, EXCEPT TO THE EXTENT THAT
      10    YOU MADE YOUR HOME AVAILABLE ON THE 27TH AND/OR 28TH OF
      11    OCTOBER FOR OTHERS THAT YOU REASONABLY KNEW MIGHT USE IT
      12    FOR THAT PURPOSE --
      13                 THE DEFENDANT:     YES, SIR.
      14                 THE COURT:    -- YOUR PERSONAL INVOLVEMENT IN
      15    OBTAINING PSEUDOEPHEDRINE THAT DAY; BUT BEYOND THAT, THE
      16    SCOPE OF YOUR INVOLVEMENT HERE IS VERY LIMITED, BOTH IN
      17    TIME AND IN THE QUALITATIVE NATURE OF IT.         THE QUANTITY OF
      18    PSEUDOEPHEDRINE IS FAIRLY SMALL; AND I DON'T MEAN TO
      19    MINIMIZE THE FACT THAT METHAMPHETAMINE COULD HAVE BEEN
      20    MANUFACTURED FROM THAT PSEUDOEPHEDRINE, AND AS YOU KNOW
      21    METHAMPHETAMINE IS A SIMPLY HORRIBLE DRUG.
      22                 THE DEFENDANT:     YES, SIR.
      23                 THE COURT:    MS. SMITH IS PROBABLY RIGHT, IT IS
      24    THE MOST ADDICTIVE DRUG OF ALL THOSE THAT THIS COURT SEES.
      25    I'VE HAD MANY PEOPLE STAND WHERE YOU ARE STANDING AND TELL




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 84 of 112 PageID #: 1212
                                                                              85



       1    ME THAT AFTER THEY USED METHAMPHETAMINE ONE TIME, THEY
       2    WERE SIMPLY HOOKED ON IT.
       3                 THE DEFENDANT:     YES, SIR.
       4                 THE COURT:    I'M A LITTLE BIT AMAZED, AS
       5    MS. SMITH WAS, THAT YOU ACTUALLY INJECTED METHAMPHETAMINE
       6    THE FIRST TIME YOU APPARENTLY EVER USED IT.          I GUESS I
       7    UNDERSTAND THAT IN THE CONTEXT OF THE FACT THAT YOU'VE
       8    BEEN DOING THAT WITH OTHER DRUGS PREVIOUSLY, BUT IT'S A

       9    VERY DANGEROUS THING TO DO, MR. LANDERS.         YOU ARE DEALING
      10    WITH A VERY DANGEROUS DRUG AND A VERY HIGHLY DANGEROUS
      11    PROCESS FOR THE MANUFACTURING OF THAT DRUG.
      12                 THERE WAS A DEFENDANT HERE RECENTLY, AND I
      13    DON'T REMEMBER WHETHER HE WAS IN ONE OF THESE CASES OR
      14    NOT, HE MIGHT HAVE BEEN, I BELIEVE HE WAS --
      15                 MS. SMITH:    HE WAS, YOUR HONOR, MR. TUCKER.
      16                 THE COURT:    -- WHERE A LAB VERY SIMILAR TO THIS
      17    EXPLODED, AND THAT MAN EXPERIENCED SERIOUS BURNS OVER 70
      18    PERCENT OF HIS BODY FROM THE EXPLOSION.         NOW, THAT'S WHAT
      19    CAN HAPPEN WHEN YOU FOOL WITH THIS STUFF, MR. LANDERS.
      20                 THE DEFENDANT:     YES, SIR.
      21                 THE COURT:    NO GOOD CAN COME OF MANUFACTURING
      22    OR USING METHAMPHETAMINE.       SO I DON'T MEAN IN ANY WAY TO
      23    MINIMIZE THE SERIOUSNESS OF THE UNDERLYING OFFENSE --
      24                 THE DEFENDANT:     YES, SIR.
      25                 THE COURT:    -- BECAUSE IT RESULTED IN OR




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 85 of 112 PageID #: 1213
                                                                              86



       1    CERTAINLY COULD HAVE IN THIS CASE HAVE RESULTED IN THE
       2    MANUFACTURE OF METHAMPHETAMINE, AND AS MS. SMITH POINTS
       3    OUT, THERE IS SOME EVIDENCE THAT SOME METHAMPHETAMINE MAY
       4    HAVE BEEN MANUFACTURED IN YOUR HOUSE WHILE YOU WERE GONE
       5    THAT DAY BECAUSE OF THE ODOR THAT YOU NOTICED WHEN YOU
       6    RETURNED.
       7                  THE DEFENDANT:    YES, SIR.
       8                  THE COURT:   AND HAD YOU NOT BEEN SO ANXIOUS TO

       9    OBTAIN METHAMPHETAMINE AND NOT UNDER THE INFLUENCE OF
      10    METHAMPHETAMINE, IF YOUR BRAIN WERE FUNCTIONING NORMALLY
      11    AND REASONABLY, YOU WOULD HAVE UNDERSTOOD THAT.
      12                  THE DEFENDANT:    YES, SIR.
      13                  THE COURT:   AND NOT ONLY WOULD YOU HAVE TOLD
      14    THEM TO GET OUT OF YOUR HOUSE, BUT YOU WOULD HAVE CALLED
      15    THE POLICE.
      16                  THE DEFENDANT:    YES, SIR.
      17                  THE COURT:   SO I THINK THERE IS A LEGITIMATE
      18    ARGUMENT TO BE MADE HERE, MR. LANDERS, THAT THIS GUIDELINE
      19    RANGE WE'VE ARRIVED AT DOES IN FACT OVERSTATE THE
      20    SERIOUSNESS OF THE OFFENSE BECAUSE OF THE CROSS REFERENCE
      21    THAT'S APPLIED TO SECTION 2D1.1.
      22                  THERE'S ANOTHER REASON THOUGH WHY THIS GUIDE-
      23    LINE RANGE IS IMPORTANT TO ME, THAT IS BECAUSE IT RELATES
      24    TO ANOTHER OF THE 3553(A) FACTORS, (A)(6).         (A)(6)
      25    REQUIRES THIS COURT TO CONSIDER THE NEED FOR UNIFORMITY IN




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 86 of 112 PageID #: 1214
                                                                              87



       1    SENTENCING.    UNIFORMITY IN SENTENCING SIMPLY MEANS TREAT-
       2    ING SIMILARLY SITUATED DEFENDANTS, THAT IS DEFENDANTS WHO
       3    HAVE COMMITTED THE SAME OR SIMILAR CRIMINAL OFFENSE AND
       4    WHO HAVE THE SAME OR SIMILAR CRIMINAL HISTORY, ROUGHLY THE
       5    SAME WAY WHEN IT COMES TO SENTENCING.         I THINK YOU WILL
       6    AGREE WITH ME THAT THAT IS A MATTER OF BASIC FAIRNESS.
       7                  THE DEFENDANT:    YES, SIR.
       8                  THE COURT:   I THINK MOST PEOPLE WOULD AGREE

       9    WITH THAT, AND CONGRESS WAS ARGUABLY MOTIVATED SOLELY BY
      10    THAT FACTOR WHEN IT PASSED THE SENTENCING REFORM ACT.            THE
      11    REASON I SAY THAT IS THAT THE CONGRESS ORIGINALLY MADE
      12    THESE GUIDELINES MANDATORY IN THE FEDERAL COURTS.           THEY'RE
      13    NO LONGER MANDATORY, AS WE HAVE DISCUSSED.         AND THE REASON
      14    THE GUIDELINE RANGE RELATES TO THAT FACTOR IS THAT THE
      15    GUIDELINE RANGE IN MY OPINION IS, IS THE ONLY GUIDE THAT A
      16    DISTRICT COURT JUDGE HAS TO TRY TO ACHIEVE UNIFORMITY IN
      17    SENTENCING.    IT'S THE ONLY WAY THAT I HAVE OR ANY OTHER
      18    DISTRICT JUDGE HAS TO TRY TO ACHIEVE FAIRNESS IN SENTENC-
      19    ING, IF YOU WILL, BETWEEN SIMILARLY SITUATED INDIVIDUALS.
      20    INDEED, THE SIXTH CIRCUIT HAS RECOGNIZED THAT IN A NUMBER
      21    OF OPINIONS.    SO IT'S IMPORTANT BECAUSE IT FURTHERS THAT
      22    GOAL OF SENTENCING ESTABLISHED BY CONGRESS; AND I THINK
      23    YOU UNDERSTAND, MR. LANDERS, WHAT I'M SAYING, BUT WHAT
      24    THAT MEANS IS THAT CONGRESS HAS EXPRESSED A VERY STRONG
      25    PREFERENCE THAT DEFENDANTS WHO ARE CONVICTED OF THIS




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 87 of 112 PageID #: 1215
                                                                               88



       1    OFFENSE AND WHO HAVE THE KIND OF CRIMINAL HISTORY THAT YOU
       2    HAVE OUGHT TO GET ROUGHLY THE SAME SENTENCE.          AND IT IS,
       3    AFTER ALL, THE CRIMINAL HISTORY HERE THAT IS DRIVING THIS
       4    WHOLE RANGE.    EVEN USING THE RANGE -- EXCUSE ME, EVEN
       5    USING THE OFFENSE LEVEL THAT WE'VE USED HERE, WHICH IS A
       6    TOTAL OF 21 AFTER REDUCING IT FOR ACCEPTANCE OF RESPONSI-
       7    BILITY, IF YOU WERE A CRIMINAL HISTORY CATEGORY 1 IN THIS
       8    CASE, MR. LANDERS, INSTEAD OF A CRIMINAL HISTORY CATEGORY

       9    6, THE GUIDELINE RANGE WOULD NOT BE 77 TO 96 MONTHS, BUT
      10    37 TO 46.    SO YOU CAN SEE HOW YOUR CRIMINAL HISTORY IS
      11    AFFECTING WHAT'S HAPPENING HERE --
      12                 THE DEFENDANT:     YES, SIR.
      13                 THE COURT:    -- IN TERMS OF THE DETERMINING THE
      14    GUIDELINE RANGE.
      15                 NOW, YOU'RE ALREADY A CRIMINAL HISTORY CATEGORY
      16    6, WHICH IS THE HIGHEST CRIMINAL HISTORY CATEGORY THAT YOU
      17    CAN GET IN THE FEDERAL SYSTEM.
      18                 THE DEFENDANT:     YES, SIR.
      19                 THE COURT:    BUT THERE IS SUCH A THING AS AN
      20    UPWARD DEPARTURE; SO IF YOU CONTINUE TO ACCUMULATE
      21    CRIMINAL HISTORY AND YOU END UP BACK IN THIS COURT AGAIN
      22    CONVICTED OF AN OFFENSE, IT CAN ONLY GET WORSE.
      23                 THE DEFENDANT:     YES, SIR.
      24                 THE COURT:    THE GUIDELINE RANGE IS IMPORTANT
      25    FOR THAT REASON.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 88 of 112 PageID #: 1216
                                                                              89



       1                  THEN, MR. LANDERS, I HAVE TO LOOK AT THE OTHER
       2    3553(A) FACTORS WITH AN EYE TO DETERMINING WHETHER OR NOT
       3    THERE IS ONE OR MORE OF THOSE FACTORS THAT'S NOT PROPERLY
       4    ACCOUNTED FOR IN THE GUIDELINE RANGE.         I GENERALLY BEGIN
       5    WITH THE SERIOUSNESS OF THE OFFENSE.        BECAUSE THE OFFENSE
       6    RESULTED OR HAD THE POTENTIAL OF RESULTING IN THE
       7    MANUFACTURE OF METHAMPHETAMINE, IT IS BY DEFINITION A
       8    SERIOUS OFFENSE, AND YOU DID CLEARLY FACILITATE THAT.           YOU

       9    MADE YOUR HOME AVAILABLE --
      10                  THE DEFENDANT:    YES, SIR.
      11                  THE COURT:   -- TO PEOPLE THAT YOU KNEW OR
      12    CERTAINLY SHOULD HAVE KNOWN WANTED TO MANUFACTURER
      13    METHAMPHETAMINE, AND YOU PARTICIPATED TO SOME DEGREE, AT
      14    LEAST, IN OBTAINING THE MATERIALS; AND YOU WERE CERTAINLY
      15    IN CONSTRUCTIVE POSSESSION OF THE MATERIALS NEEDED TO
      16    MANUFACTURE THAT.     YOU CHARACTERIZED THAT AS STUPIDITY.
      17                  THE DEFENDANT:    IT DEFINITELY IS.
      18                  THE COURT:   I THINK IT CAN CLEARLY BE CATE-
      19    GORIZED AS THAT, BUT IT'S A BIT BEYOND THAT.          YOU'RE
      20    ASKING FOR TROUBLE, MR. LANDERS, IF YOU ALLOW THIS KIND OF
      21    ACTIVITY TO TAKE PLACE IN YOUR HOME AND ALLOW THESE KINDS
      22    OF PEOPLE TO ASSEMBLE THERE.
      23                  NOW, THE OVERALL SCOPE OF THIS CONSPIRACY WAS
      24    VERY LARGE.    A VERY LARGE QUANTITY OF METHAMPHETAMINE
      25    ENDED UP BEING MANUFACTURED AND MUCH OF IT DISTRIBUTED AS




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 89 of 112 PageID #: 1217
                                                                              90



       1    A RESULT OF WHAT ALL THE PEOPLE INVOLVED IN THIS CON-
       2    SPIRACY DID.    AS WE'VE TALKED, YOU'RE NOT BEING HELD
       3    ACCOUNTABLE FOR WHAT ALL OF THESE PEOPLE DID; ALTHOUGH IF
       4    YOU HAD GONE TO TRIAL, YOU MIGHT HAVE BEEN.          AND IN A
       5    CONSPIRACY, AS MR. MARTIN I'M SURE HAS EXPLAINED TO YOU,
       6    IT'S NOT NECESSARY THAT YOU KNOW EVERYBODY ELSE INVOLVED
       7    OR KNOW WHAT THEY'RE DOING, YOU SIMPLY HAVE TO AGREE WITH
       8    ONE OTHER PERSON TO JOIN THE CONSPIRACY WITH THE INTENT

       9    THAT THE CONSPIRACY'S ULTIMATE GOAL BE CARRIED OUT; THAT
      10    IS MANUFACTURING METHAMPHETAMINE.        NOW, YOU DIDN'T PLEAD
      11    GUILTY TO, WEREN'T FOUND GUILTY OF CONSPIRACY.          THAT'S
      12    WHAT I'M SAYING TO YOU IS YOU COULD HAVE BEEN.
      13                 I ALSO HAVE TO BE CONCERNED WITH THE NEED TO
      14    PROMOTE RESPECT FOR THE LAW, AND HERE'S WHERE YOUR
      15    CRIMINAL HISTORY COMES IN.       NOT ONLY COULD I NOT FIND AN
      16    OVERREPRESENTATION OF CRIMINAL HISTORY BY THIS CRIMINAL
      17    HISTORY CATEGORY OF 6, YOUR CRIMINAL HISTORY IS A
      18    SIGNIFICANT FACTOR HERE.      SIXTEEN CRIMINAL HISTORY POINTS,
      19    THAT'S THREE MORE THAN NECESSARY TO BE CRIMINAL HISTORY
      20    CATEGORY 6, A WHOLE HOST OF CONVICTIONS OVER A SIX YEAR
      21    PERIOD OF TIME, SOME OF THEM SERIOUS, SOME OF THEM
      22    INVOLVING VIOLENCE, CERTAINLY RECKLESS CONDUCT; A NUMBER
      23    OF CONVICTIONS HERE FOR WHICH NO CRIMINAL HISTORY POINTS
      24    WERE ASSESSED, AND IT'S TROUBLING THAT YOU WERE ON
      25    PROBATION WHEN THIS OFFENSE OCCURRED.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 90 of 112 PageID #: 1218
                                                                              91



       1                 YOU'RE PLACED ON PROBATION, MR. LANDERS,
       2    SUBJECT TO GOOD BEHAVIOR.
       3                 THE DEFENDANT:     YES, SIR.
       4                 THE COURT:    BY NO STRETCH OF THE IMAGINATION
       5    CAN YOU CONSIDER WHAT HAPPENED ON OCTOBER 27TH AND 28TH TO
       6    BE GOOD BEHAVIOR.
       7                 THE DEFENDANT:     YES, SIR.
       8                 THE COURT:    AND SO THAT SUGGESTS TO ME THAT

       9    UNLESS SOMETHING CHANGES SIGNIFICANTLY IN YOUR LIFE, THAT
      10    SUPERVISION, THAT IS PROBATION OR SUPERVISED RELEASE, IS
      11    NOT GOING TO BE TERRIBLY EFFECTIVE HERE.
      12                 THE DEFENDANT:     YES, SIR.
      13                 THE COURT:    BUT THE NUMBER OF CRIMINAL HISTORY
      14    POINTS, CERTAINLY THE NUMBER OF CONVICTIONS THEMSELVES
      15    ILLUSTRATE THE NEED TO PROMOTE RESPECT FOR THE LAW HERE.
      16    MR. LANDERS, YOU HAVE TO FOLLOW THE RULES.
      17                 THE DEFENDANT:     YES, SIR.
      18                 THE COURT:    THESE RULES HAVE TO BE LAWS PASSED
      19    BY THE CONGRESS OR LEGISLATURE; BUT YOU WILL FIND, IF YOU
      20    HAVEN'T ALREADY LEARNED IT, THAT THERE ARE RULES THAT
      21    APPLY TO EVERYTHING YOU DO IN LIFE.
      22                 THE DEFENDANT:     YES, SIR.
      23                 THE COURT:    YOU WILL NEVER HAVE THE COMPLETE
      24    FREEDOM TO DO ANYTHING YOU WANT TO DO WITHOUT BEARING SOME
      25    CONSEQUENCES FOR THE BAD DECISIONS YOU MAKE.          YOU'VE




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 91 of 112 PageID #: 1219
                                                                              92



       1    SIMPLY GOT TO FOLLOW THE LAW.
       2                  THE DEFENDANT:    YES, SIR, I KNOW.
       3                  THE COURT:   AND THERE HAS TO BE A RESULT HERE
       4    THAT ENCOURAGES THAT, THAT PROMOTES IT; NOT JUST WITH YOU,
       5    BUT WITH OTHERS AS WELL.
       6                  THERE'S ALSO A NEED TO PROMOTE ADEQUATE
       7    DETERRENCE BY THE SENTENCE IMPOSED HERE.         MR. LANDERS, I
       8    INDICATED A FEW MINUTES AGO THAT THERE ARE SOME CON-

       9    TRIBUTING FACTORS HERE.      YOU HAVE A SERIOUS UNDERLYING
      10    MENTAL HEALTH CONDITION.       AS I UNDERSTAND IT, YOU'VE BEEN
      11    DIAGNOSED AS BIPOLAR.
      12                  THE DEFENDANT:    YES, SIR.
      13                  THE COURT:   THAT IS A SIGNIFICANT MENTAL ILL-
      14    NESS THAT GENERALLY REQUIRES ONGOING TREATMENT AND OFTEN
      15    MEDICATION, NOT IN CONJUNCTION WITH ALL THESE ILLEGAL
      16    DRUGS YOU'RE TAKING THOUGH.
      17                  THE DEFENDANT:    YES, SIR.
      18                  THE COURT:   MANY OF THEM JUST MAKE THE SITUA-
      19    TION WORSE.    AND YOU SUFFER FROM A VERY SERIOUS SUBSTANCE
      20    ABUSE PROBLEM THAT BEGAN APPARENTLY AT THE AGE OF 13?
      21                  THE DEFENDANT:    YES, SIR.
      22                  THE COURT:   I MEAN, THERE'S BEEN A HISTORY HERE
      23    OF DAILY USE OF MARIJUANA, OF DAILY USE OF HEROIN, OF
      24    FREQUENT USE OF COCAINE.       YOU'VE BEEN IN A METHADONE
      25    PROGRAM, AS I RECALL.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 92 of 112 PageID #: 1220
                                                                              93



       1                 THE DEFENDANT:     YES, SIR.
       2                 THE COURT:    JUST A VERY, VERY SERIOUS HISTORY
       3    OF DRUG ABUSE.
       4                 NOW, THIS RELATES TO ONE OF THE RECOMMENDATIONS
       5    I'M GOING TO MAKE HERE, MR. LANDERS.         I'M GOING TO
       6    RECOMMEND YOUR PARTICIPATION IN THE MOST INTENSIVE DRUG
       7    TREATMENT PROGRAM THAT THE BUREAU OF PRISONS CAN OFFER.
       8                 THE DEFENDANT:     THANK YOU.

       9                 THE COURT:    IT'S A VOLUNTARY PROGRAM; AND EVEN
      10    IF I HAD THE AUTHORITY, I WOULDN'T REQUIRE YOU TO DO IT
      11    BECAUSE IT'S GOT TO BE DONE BECAUSE YOU WANT TO DO IT.
      12                 THE DEFENDANT:     YES, SIR.
      13                 THE COURT:    BUT I'M GOING TO RECOMMEND THAT FOR
      14    YOU; BUT THE SIMPLE FACT OF THE MATTER IS I'M ALSO GOING
      15    TO RECOMMEND A FULL MENTAL HEALTH EVALUATION AND APPRO-
      16    PRIATE TREATMENT THERE AS WELL, AND THEY GO HAND IN HAND.
      17    SIMPLE FACT OF THE MATTER IS THAT UNLESS YOU ADDRESS THESE
      18    SERIOUS MENTAL HEALTH ISSUES AND THESE SERIOUS SUBSTANCE
      19    ABUSE ISSUES, YOU ARE -- YOU WILL CONTINUE TO BE
      20    DANGEROUS, BOTH TO YOURSELF AND TO OTHERS, AND YOU WILL
      21    CONTINUE TO BE A RISK TO COMMIT CRIMINAL ACTS.
      22                 NOW, ONE OF THE FACTORS LISTED IN 3553(A) IS
      23    THE NEED TO PROVIDE YOU WITH NEEDED EDUCATIONAL OR
      24    VOCATIONAL TREATMENT OR OTHER KINDS OF TREATMENT,
      25    REHABILITATIVE TREATMENT.       THE UNITED STATES SUPREME COURT




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 93 of 112 PageID #: 1221
                                                                              94



       1    HAS MADE IT CLEAR NOW THAT I CAN'T CONSIDER YOUR NEED FOR
       2    MENTAL HEALTH TREATMENT OR YOUR NEED FOR SUBSTANCE ABUSE
       3    OR OTHER REHABILITATIVE KINDS OF TREATMENT IN DETERMINING
       4    WHETHER TO SEND YOU TO PRISON OR THE LENGTH OF THE TIME.
       5    I WOULD SIMPLY SAY FOR THE RECORD HERE THAT CERTAINLY ANY
       6    SENTENCE WITHIN THIS GUIDELINE RANGE AND A SENTENCE EVEN
       7    BELOW THIS GUIDELINE RANGE WILL AFFORD YOU ADEQUATE
       8    OPPORTUNITY, ADEQUATE TIME TO GET THOSE PROGRAMS.

       9                 THE DEFENDANT:     YES, SIR.
      10                 THE COURT:    NOW, MR. LANDERS, I HAVE SOME HOPE,
      11    DESPITE THE HISTORY HERE, THAT IF YOU GET APPROPRIATE
      12    MENTAL HEALTH EVALUATION AND TREATMENT AND IF YOU FOLLOW
      13    THE DIRECTIVES GIVEN YOU BY THE DOCTORS -- THAT'S CRITI-
      14    CAL; AND ANY DOCTOR THAT TREATS YOU FOR THAT CONDITION
      15    WILL TELL YOU TO STAY ON THAT MEDICATION PRESCRIBED, BUT
      16    DO NOT USE ANYTHING ELSE, INCLUDING MARIJUANA.
      17                 THE DEFENDANT:     YES, SIR.
      18                 THE COURT:    IT JUST MAKES THE SITUATION WORSE.
      19    AND IF YOU GET SUBSTANCE ABUSE TREATMENT OF AN INTENSIVE
      20    NATURE, WHICH IS WHAT I THINK IS REQUIRED HERE, THEN I
      21    WOULD HOPE THAT THE NEED TO SPECIFICALLY DETER YOU FROM
      22    FURTHER CRIMINAL CONDUCT IS REDUCED.
      23                 THE DEFENDANT:     YES, SIR.
      24                 THE COURT:    HOPEFULLY TO THE POINT THAT YOU
      25    WILL NOT CONTINUE TO COMMIT CRIMINAL ACTS.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 94 of 112 PageID #: 1222
                                                                              95



       1                 THE DEFENDANT:     YES, SIR.
       2                 THE COURT:    AND IT'S, IT'S BEYOND QUESTION HERE
       3    THAT YOUR CRIMINAL ACTIVITY OCCURRED RATHER CONTEM-
       4    PORANEOUSLY WITH YOUR SUBSTANCE ABUSE.         AND YOUR CRIMINAL
       5    HISTORY BEGINS AS A JUVENILE, YOUR SUBSTANCE ABUSE BEGAN
       6    AS A JUVENILE AS WELL; AND YOU HAVE COMMITTED MANY OF THE
       7    KINDS OF OFFENSES THAT DRUG ADDICTS TYPICALLY COMMIT,
       8    INCLUDING PROPERTY OFFENSES.       PROPERTY OFFENSES, BY THE

       9    WAY REPRESENT THE MOST SERIOUS RISK OF REPEAT OFFENSES OF
      10    ANY CATEGORY CRIMINAL OFFENSES.        DOJ STATISTICS, THE LAST
      11    ONES I SAW, AT LEAST, INDICATE THAT ABOUT THREE-FOURTHS OF
      12    THE PEOPLE WHO COMMIT PROPERTY OFFENSES WILL COMMIT
      13    ANOTHER ONE AFTER THEY'RE RELEASED FROM PRISON, A VERY
      14    SIGNIFICANT NUMBER; AND DRUG ADDICTION CONTRIBUTES TO
      15    THAT.
      16                 GENERAL DETERRENCE IS A LITTLE DIFFERENT ISSUE,
      17    MR. LANDERS.    GENERAL DETERRENCE GOES TO THE QUESTION OF
      18    WHAT SENTENCE IS NECESSARY TO DETER OTHERS; AND WITH THESE
      19    METHAMPHETAMINE OFFENSES ESPECIALLY THERE MUST BE A
      20    GENERAL DETERRENCE.      THE COURT MUST SEND A MESSAGE TO
      21    OTHERS THAT AT LEAST IN THIS COURT THESE OFFENSES ARE
      22    CONSIDERED TO BE VERY SERIOUS OFFENSES AND THERE WILL BE
      23    CONSEQUENCES FROM THE COMMISSION OF THESE OFFENSES.
      24                 THE DEFENDANT:     YES, SIR.
      25                 THE COURT:    I ALSO HAVE A RESPONSIBILITY TO




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 95 of 112 PageID #: 1223
                                                                              96



       1    IMPOSE A SENTENCE HERE THAT WILL PROTECT THE PUBLIC; THAT
       2    WILL PROTECT THE PUBLIC FROM YOUR CONTINUED COMMISSION OF
       3    THESE CRIMINAL OFFENSES.      MR. LANDERS, GIVEN THIS CRIMINAL
       4    HISTORY AND GIVEN THE NATURE OF THIS CRIMINAL HISTORY,
       5    THERE WILL COME A TIME IF SOMETHING DOESN'T CHANGE HERE
       6    WHEN A JUDGE WILL SAY, I'VE EITHER GOT TO LOCK THIS YOUNG
       7    MAN UP FOR A LONG, LONG TIME OR PUT THE PUBLIC AT RISK;
       8    AND WHEN THAT BECOMES THE FINAL QUESTION, YOU KNOW WHICH

       9    SIDE OF THAT A JUDGE IS GOING TO COME DOWN ON.
      10                 THE DEFENDANT:     YES, SIR.
      11                 THE COURT:    THEY'RE GOING TO PROTECT THE
      12    PUBLIC.
      13                 THE DEFENDANT:     YES, SIR.
      14                 THE COURT:    HOPEFULLY I CAN IMPOSE A SENTENCE
      15    HERE TODAY THAT WILL CONSTITUTE NOT ONLY A JUST PUNISHMENT
      16    FOR YOU, AND PUNISHMENT IS AN ELEMENT OF THE SENTENCE TO
      17    BE IMPOSED, BUT WILL ALSO APPROPRIATELY PROTECT THE PUBLIC
      18    IN THE FUTURE BECAUSE YOUR CONDUCT, SIMPLY AS I KNOW HOW
      19    TO TELL YOU THIS, MR. LANDERS, YOUR CONDUCT IS JUST NOT
      20    ACCEPTABLE, PERIOD.
      21                 THE DEFENDANT:     YES, SIR.
      22                 THE COURT:    IT ENDANGERS THE PUBLIC, IT
      23    ENDANGERS YOU, PUTS PEOPLE'S LIVES AND SAFETY AT JEOPARDY,
      24    PUTS THEIR PROPERTY IN JEOPARDY.        YOU JUST CAN'T CONTINUE
      25    IT.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 96 of 112 PageID #: 1224
                                                                              97



       1                 THE DEFENDANT:     YES, SIR.
       2                 THE COURT:    I ALSO HAVE TO CONSIDER HERE THE
       3    NATURE AND CIRCUMSTANCES OF YOUR INVOLVEMENT IN THIS
       4    OFFENSE; AND I'VE DISCUSSED THIS SOME WITH RESPECT TO, TO
       5    YOUR REQUEST OR HEAR YOUR OBJECTION WITH RESPECT TO THE
       6    MITIGATING RULE, AND I HAVE FOUND THAT -- MITIGATING ROLE
       7    ADJUSTMENT, I SHOULD HAVE SAID -- AND I HAVE FOUND THAT
       8    UNDER THE CASE LAW AND UNDER THE FACTS AND CIRCUMSTANCES

       9    OF THE CASE THAT YOU'RE NOT LEGALLY ENTITLED TO THAT, BUT
      10    I CAN'T ESCAPE THE FACT THAT YOUR INVOLVEMENT HERE WAS
      11    PRETTY LIMITED --
      12                 THE DEFENDANT:     YES, SIR.
      13                 THE COURT:    -- FOR THE REASONS I'VE ALREADY
      14    MENTIONED.    IF THERE WERE EVIDENCE HERE THAT YOU WERE
      15    MANUFACTURING METHAMPHETAMINE OR ENGAGED IN THE DIS-
      16    TRIBUTION OF METHAMPHETAMINE OR ASSISTING OTHERS IN DOING
      17    SO, THEN THIS WOULD BE A DIFFERENT CASE IN THAT RESPECT;
      18    BUT YOUR ROLE HERE CLEARLY WAS LIMITED.
      19                 NOW, THAT DOESN'T EXCUSE YOUR CONDUCT, BUT IT
      20    WAS LIMITED.    AND I, I ASKED MS. SMITH ABOUT THE
      21    COMPARISON TO OTHER, OTHER DEFENDANTS.         MS. SMITH HAS
      22    PROVIDED ME EARLIER WITH HER OFFICE'S ASSESSMENT OF THE
      23    RELEVANT CULPABILITY OF ALL THE DEFENDANTS INVOLVED IN
      24    THIS CASE, AND I THINK IT'S SIGNIFICANT, QUITE FRANKLY,
      25    THAT THE NAME AT THE BOTTOM OF THE LIST IS JOHN LANDERS.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 97 of 112 PageID #: 1225
                                                                              98



       1    THE QUANTITY YOU WERE HELD ACCOUNTABLE FOR HERE IS ALSO
       2    THE LEAST QUANTITY ANYBODY WAS HELD ACCOUNTABLE FOR.
       3    THERE WERE TWO OTHER DEFENDANTS WHO WERE HELD ACCOUNTABLE
       4    FOR THIS SAME QUANTITY.      SO THAT MAKES YOU CLEARLY AMONG
       5    THE LEAST CULPABLE WITH RESPECT TO THIS PARTICULAR
       6    CONSPIRACY.    IN TERMS OF DURATION, IN TERMS OF ACTUAL
       7    INVOLVEMENT, IN TERMS OF THE QUANTITY OF DRUGS.
       8                  NOW, I'M SURE THERE ARE SOME DIFFERENCES.        I'VE

       9    NOTED THAT ONE OF THOSE DEFENDANTS, MS. LOWE, DID IN FACT
      10    RECEIVE A MINOR ROLE ADJUSTMENT, NOT A MINIMAL ROLE
      11    ADJUSTMENT, BUT A MINOR ROLE ADJUSTMENT.         THE OTHER
      12    DEFENDANT IN THE SAME CATEGORY AS YOU WITH RESPECT TO
      13    QUANTITY IS, IT LOOKS LIKE, MR. WHITE; AND I'VE NOT YET
      14    SENTENCED HIM, SO I DON'T KNOW WHAT'S GOING ON WITH HIS
      15    CASE.   AND YOU HEARD WHAT I SAID TO, TO MS. SMITH ABOUT
      16    MR. BREWER, WHO GOT THE MINOR ROLE ADJUSTMENT.          I THINK
      17    THERE IS SOME VALIDITY HERE IN TAKING INTO ACCOUNT YOUR
      18    RELATIVE DEGREE OF CULPABILITY HERE WHEN COMPARED TO ALL
      19    THE OTHERS IN THIS CONSPIRACY; AND I SHUDDER TO THINK,
      20    MR. LANDERS, WHAT WOULD HAVE HAPPENED IF THE POLICE HADN'T
      21    SHOWN UP AT YOUR HOUSE ON THE 28TH OF OCTOBER WITH A
      22    WARRANT FOR MR. WHITE.
      23                  THE DEFENDANT:    YES, SIR.
      24                  THE COURT:   I DON'T KNOW WHAT WOULD HAVE
      25    OCCURRED.    I FEAR THAT YOU WOULD BE IN FAR GREATER TROUBLE




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 98 of 112 PageID #: 1226
                                                                              99



       1    THAN YOU ARE NOW BECAUSE YOU APPEAR TO ME TO HAVE BEEN AT
       2    THAT POINT SIMPLY INTERESTED IN GETTING DRUGS AND WILLING
       3    TO ASSOCIATE WITH WHOEVER AND DO WHATEVER WAS NECESSARY TO
       4    GET THEM.
       5                 THE DEFENDANT:     YES, SIR.
       6                 THE COURT:    SO IN ONE SENSE IT MIGHT HAVE BEEN
       7    IN YOUR BENEFIT, LONG RUN BENEFIT, THAT THE POLICE SHOWED
       8    UP WHEN THEY DID.

       9                 NOW, YOUR PERSONAL HISTORY AND CHARACTERISTICS
      10    ARE ALSO SOMETHING THAT I HAVE TO CONSIDER.          UNDER THE
      11    GUIDELINES THEMSELVES THOSE PERSONAL CHARACTERISTICS ARE
      12    GENERALLY NOT RELEVANT TO SENTENCING, BUT UNDER ADVISORY
      13    GUIDELINES THEY, THEY CLEARLY SHOULD BE.         OTHER THAN THE
      14    DRUG ADDICTION AND THE MENTAL, UNDERLYING MENTAL ILLNESS
      15    ISSUES, THERE'S NOTHING HERE THAT I SEE THAT'S TERRIBLY
      16    SIGNIFICANT ABOUT YOUR PERSONAL HISTORY AND CHARAC-
      17    TERISTICS.    YOUR CRIMINAL HISTORY OBVIOUSLY IS.        IT'S
      18    PROBABLY BEEN ONLY IN THE LAST TWO OR THREE YEARS,
      19    MR. LANDERS, THAT I'VE BEGUN TO SEE A WHOLE HOST OF
      20    DEFENDANTS IN THEIR EARLY TWENTIES, ONE I CAN REMEMBER WHO
      21    HADN'T YET REACHED TWENTY WITH A CRIMINAL HISTORY CATEGORY
      22    OF 6; AND THAT'S UNFORTUNATE, BUT WHAT THAT MEANS IS THAT
      23    THE STATE COURTS HAVE NOT PROPERLY IN MY VIEW APPROACHED
      24    THESE ISSUES BECAUSE WHILE YOU'VE GOT 13 OR 14 PARAGRAPHS
      25    OF CRIMINAL HISTORY HERE, IT'S CLEAR YOU'VE NEVER SPENT A




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 99 of 112 PageID #: 1227
                                                                             100



       1     LOT OF TIME IN JAIL FOR ANY OF THOSE.
       2                 THE DEFENDANT:     YES, SIR.
       3                 THE COURT:    AND THE STATE COURT JUDGES WOULD
       4     HAVE SERVED YOUR INTEREST AND THE PUBLIC'S INTEREST FAR
       5     BETTER IF THEY HAD GOTTEN YOUR ATTENTION AND GOTTEN YOU
       6     INTO SOME KIND OF DRUG TREATMENT PROGRAM EARLIER THAN THIS
       7     AND YOU DON'T FIND YOURSELF STANDING HERE BEFORE A FEDERAL
       8     JUDGE WITH A CRIMINAL HISTORY CATEGORY OF 6 UNDER FEDERAL

       9     LAW.
      10                 SO THAT BRINGS ME TO THE QUESTION, MR. LANDERS,
      11     OF WHAT SENTENCE IS APPROPRIATE IN THIS CASE.         THE
      12     GOVERNMENT HAS CONSISTENTLY ADVOCATED HERE BOTH IN THE
      13     SENTENCING MEMORANDUM AND HERE TODAY FOR A SENTENCE AT THE
      14     BOTTOM OF THE ADVISORY GUIDELINE RANGE, 77 MONTHS.          IN THE
      15     SENTENCING MEMORANDUM MR. MARTIN ARGUED FOR A SENTENCE
      16     MUCH LESS THAN THAT, OBVIOUSLY BASED ON THE OBJECTIONS HE
      17     MADE, AND HAS SUGGESTED TO ME HERE TODAY THAT CERTAINLY A
      18     SENTENCE NOT ANY GREATER THAN THE 77 MONTH BOTTOM OF THE
      19     GUIDELINE RANGE WOULD BE APPROPRIATE.
      20                 IT SEEMS TO ME, MR. LANDERS, THAT THE GUIDELINE
      21     RANGE ITSELF TAKES INTO ACCOUNT THE 3553(A) FACTORS WITH
      22     THE EXCEPTION OF WHAT I'VE SAID.       I CONCLUDE BASED ON
      23     WHAT'S HAPPENED WITH THE CROSS REFERENCE HERE THAT THIS
      24     GUIDELINE RANGE DOES IN FACT UNDER THE CIRCUMSTANCES OF
      25     THIS PARTICULAR CASE, I DON'T MAKE THE FINDING GENERALLY,




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 100 of 112 PageID #: 1228
                                                                               101



       1     BUT UNDER THE CIRCUMSTANCES OF THIS PARTICULAR CASE DOES
       2     OVERSTATE THE SERIOUSNESS OF THE OFFENSE; AND I ALSO FIND
       3     THAT WHILE YOU MAY NOT QUALIFY FOR A FORMAL ROLE ADJUST-
       4     MENT UNDER THE GUIDELINES, THAT YOUR INVOLVEMENT HERE WAS
       5     IN FACT LIMITED IN TERMS OF SCOPE AND DURATION; THAT
       6     THERE'S NOTHING TO INDICATE THAT YOU WERE, KNEW OF OR WERE
       7     INVOLVED IN THE OVERALL SCOPE OF THIS CONSPIRACY.          WHAT
       8     YOU DID WAS FACILITATE THE PRODUCTION OF METHAMPHETAMINE;

       9     AND SO I FIND BASED ON ALL THAT THAT A BELOW GUIDELINE
      10     RANGE SENTENCE IS APPROPRIATE HERE, AND I DO THAT WITH
      11     SOME RELUCTANCE, MR. LANDERS, IN VIEW OF YOUR CRIMINAL
      12     HISTORY.
      13                 THE DEFENDANT:     THANK YOU, SIR.
      14                 THE COURT:    THE QUESTION FOR ME IS WHERE BELOW
      15     THAT GUIDELINE RANGE TO SENTENCE YOU.
      16                 YOU TURNED YOURSELF IN TO THE MARSHALS ON THE
      17     29TH OF OCTOBER; RIGHT?
      18                 THE DEFENDANT:     YES, SIR.
      19                 THE COURT:    YOU WERE NOT IN STATE CUSTODY?
      20                 THE DEFENDANT:     NO, I WAS NOT IN STATE CUSTODY.
      21                 THE COURT:    MR. LANDERS, THIS IS A DIFFICULT
      22     DECISION FOR ME.     I'M SURE MR. MARTIN WILL TELL YOU, OR
      23     PROBABLY HAS ALREADY TOLD YOU, THAT MORE OFTEN THAN NOT I
      24     SENTENCE WITHIN THE GUIDELINE RANGE --
      25                 THE DEFENDANT:     YES, SIR.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 101 of 112 PageID #: 1229
                                                                             102



       1                 THE COURT:    -- BECAUSE I GENERALLY FIND THAT
       2     THE GUIDELINE RANGE PROPERLY REFLECTS ALL THE FACTORS I AM
       3     REQUIRED TO CONSIDER.     YOU ARE A YOUNG MAN.      I WANT YOU TO
       4     HAVE AN OPPORTUNITY; AND THIS MAY BE THE LAST OPPORTUNITY
       5     YOU GET, MR. LANDERS, BUT I WANT YOU TO HAVE AN
       6     OPPORTUNITY TO DEAL WITH THIS DRUG PROBLEM, DEAL WITH THE
       7     UNDERLYING MENTAL HEALTH ISSUES, DEVELOP SOME JOB SKILLS;
       8     AND I'M GOING TO RECOMMEND SOME PROGRAMS IN THAT RESPECT

       9     TOO.   YOU HAVE A GED, BUT YOU OBVIOUSLY DON'T HAVE MARKET-
      10     ABLE JOB SKILLS, YOU HAVE LIMITED EDUCATION.         YOU HAVE
      11     LIMITED SOCIAL SKILLS, FRANKLY, THAT YOU NEED TO ADDRESS.
      12                 THE DEFENDANT:     YES, SIR.
      13                 THE COURT:    AND I'M GOING TO GIVE YOU THE
      14     CHANCE THROUGH THESE BOP PROGRAMS TO TRY TO ADDRESS ALL
      15     THOSE THINGS; AND I HOPE THAT ONCE YOU HAVE DONE ALL THAT,
      16     YOU CAN IN FACT TURN THIS ALL AROUND.
      17                 I'M GOING TO TELL YOU THAT AFTER YOU SERVE THIS
      18     TERM OF IMPRISONMENT, YOU WILL CONTINUE TO BE UNDER THE
      19     SUPERVISION OF THIS COURT, AND IT WON'T BE LIKE WHAT
      20     YOU'VE EXPERIENCED IN STATE COURT.
      21                 THE DEFENDANT:     GOOD.
      22                 THE COURT:    THE SUPERVISION WILL BE STRICTER.
      23                 THE DEFENDANT:     YES, SIR.
      24                 THE COURT:    AND VIOLATIONS OF THAT SUPERVISION
      25     WILL RESULT IN MUCH MORE SERIOUS CONSEQUENCES, PUNISHMENT,




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 102 of 112 PageID #: 1230
                                                                             103



       1     IF YOU WILL --
       2                 THE DEFENDANT:     YES, SIR
       3                 THE COURT:    -- THAN WOULD BE IMPOSED IN STATE
       4     COURT.
       5                 WHAT I'M GOING DO HERE, MR. LANDERS, IS IMPOSE
       6     A 60 MONTH SENTENCE, WHICH IS 17 MONTHS BELOW THE BOTTOM
       7     OF THE GUIDELINE RANGE --
       8                 THE DEFENDANT:     THANK YOU, SIR.

       9                 THE COURT:    -- 17 MONTHS BELOW WHAT THE
      10     GOVERNMENT HAS ASKED ME TO DO IN THIS CASE.         I'M GOING TO
      11     RECOMMEND THE 500 HOUR PROGRAM, RECOMMEND, MAKE THE OTHER
      12     RECOMMENDATIONS THAT I HAVE SAID I WOULD MAKE.          AND I WANT
      13     TO TELL YOU ONE OTHER THING, MR. LANDERS, THERE'S A WAY TO
      14     EVEN GET SOME OF THAT REDUCED.       NOW I'VE, TOLD YOU ABOUT
      15     THIS INTENSIVE DRUG TREATMENT PROGRAM.        I WANT YOU TO
      16     PARTICIPATE IN THAT PROGRAM BECAUSE YOU WANT TO PARTICI-
      17     PATE IN IT BECAUSE YOU WANT DO SOMETHING ABOUT IT, ABOUT
      18     THE DRUG ADDICTION PROBLEM; BUT THERE'S A SIDE BENEFIT TO
      19     YOU OF DOING THAT, THERE IS A REDUCTION IN THIS SENTENCE
      20     THAT CAN BE OBTAINED BECAUSE YOU HAVE PARTICIPATED IN AND
      21     COMPLETED THAT DRUG TREATMENT PROGRAM.        AND THAT'S NOT THE
      22     REASON WHY YOU OUGHT TO DO IT --
      23                 THE DEFENDANT:     RIGHT.
      24                 THE COURT:    -- BUT IT IS A SIDE BENEFIT.        AND
      25     THERE'S ALSO SOME REDUCTION IN SENTENCE HERE THAT CAN BE




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 103 of 112 PageID #: 1231
                                                                             104



       1     ACHIEVED THROUGH GOOD BEHAVIOR.       I DON'T SEE ANYTHING HERE
       2     THAT INDICATES THAT YOU CAN'T BEHAVE YOURSELF WHILE IN
       3     CUSTODY; BUT THE SIMPLE FACT OF THE MATTER IS THAT WHILE
       4     YOU'RE IN BOP CUSTODY, YOU NEED TO CONCENTRATE ON THE
       5     VOCATIONAL AND EDUCATIONAL PROGRAMS, YOU NEED TO CONCEN-
       6     TRATE ON THE MENTAL HEALTH TREATMENT AND COUNSELING, YOU
       7     NEED TO TAKE CLASSES THAT WILL HELP YOU DEVELOP SKILLS
       8     THAT CAN BE APPLIED WHEN YOU GET OUT; AND THEN WHEN YOU

       9     GET TO THE DRUG TREATMENT PROGRAM, YOU NEED TO CONCENTRATE
      10     ON IT.
      11                 THE DEFENDANT:     YES, SIR.
      12                 THE COURT:    IF YOU DO ALL THAT, THERE WON'T BE
      13     ANY TIME FOR BAD BEHAVIOR; BUT YOU WILL LOSE YOUR GOOD
      14     TIME REDUCTION IF YOU DON'T ENGAGE IN GOOD BEHAVIOR WHILE
      15     IN THE BUREAU OF PRISONS CUSTODY AND YOU WILL MISS THE
      16     OPPORTUNITY TO TAKE FULL ADVANTAGE OF THESE PROGRAMS.
      17                 NOW, MR. LANDERS, HAVING SAID ALL THAT -- AND
      18     YOU STRIKE ME AS A RELATIVELY INTELLIGENT YOUNG MAN.
      19                 THE DEFENDANT:     THANK YOU.
      20                 THE COURT:    FRANKLY, I'VE WATCHED YOU DURING
      21     EVERYTHING THAT I'VE SAID, AND I'VE TALKED LONGER THAN I
      22     SHOULD HAVE, I SUPPOSE, BUT YOU MADE EYE CONTACT WITH ME,
      23     YOU HAVE ACKNOWLEDGED YOUR UNDERSTANDING OF WHAT I HAVE
      24     SAID TO YOU.    I THINK YOU FULLY UNDERSTAND THE PROBLEM.
      25                 THE DEFENDANT:     YES, SIR.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 104 of 112 PageID #: 1232
                                                                             105



       1                 THE COURT:    I THINK YOU FULLY UNDERSTAND WHAT'S
       2     EXPECTED OF YOU.     I THINK AS YOU STAND THERE TODAY YOU
       3     WANT TO PARTICIPATE IN THESE PROGRAMS.
       4                 THE DEFENDANT:     YES.
       5                 THE COURT:    AND I HOPE, SINCERELY, THAT YOU,
       6     YOU REALLY WANT TO CHANGE THE WAY YOU'VE BEEN LIVING.
       7                 THE DEFENDANT:     YES, SIR.
       8                 THE COURT:    AND I DON'T KNOW WHETHER I'LL BE

       9     HERE WHEN YOU FINISH ALL THAT AND COME BACK OR NOT, BUT,
      10     MR. LANDERS, I'LL REMEMBER ALL THAT IF YOU FINISH THIS
      11     SENTENCE AND YOU START THIS KIND OF CONDUCT AGAIN AND I
      12     SEE YOU ON A SUPERVISED RELEASE REVOCATION.
      13                 THE DEFENDANT:     YES, SIR.
      14                 THE COURT:    MR. LANDERS, HAVING CONSIDERED THE
      15     NATURE AND CIRCUMSTANCES OF THE OFFENSE COMMITTED HERE,
      16     HAVING CONSIDERED YOUR HISTORY AND CHARACTERISTICS, HAVING
      17     CONSIDERED THE ADVISORY GUIDELINE RANGE WHICH APPLIES TO
      18     THIS CASE AND ALL THE OTHER FACTORS LISTED IN TITLE 18,
      19     UNITED STATES CODE, SECTION 3553(A), AND PURSUANT TO THE
      20     SENTENCING REFORM ACT OF 1984, IT IS THE JUDGMENT OF THIS
      21     COURT THAT AS TO COUNT 13, THE DEFENDANT, JOHN FRANKLIN
      22     LANDERS, II, IS HEREBY COMMITTED TO THE CUSTODY OF THE
      23     BUREAU OF PRISONS TO BE IN PRISON FOR A TERM OF 60 MONTHS.
      24                 I WILL RECOMMEND THAT YOU RECEIVE 500 HOURS OF
      25     SUBSTANCE ABUSE TREATMENT FROM THE BOP INSTITUTION




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 105 of 112 PageID #: 1233
                                                                             106



       1     RESIDENTIAL DRUG ABUSE TREATMENT PROGRAM.
       2                 I WILL FURTHER RECOMMEND THAT YOU RECEIVE A
       3     COMPLETE MENTAL HEALTH EVALUATION AND NEEDED TREATMENT
       4     WHILE IN THE CUSTODY OF THE BUREAU OF PRISONS.
       5                 I WILL FURTHER RECOMMEND TO THE BUREAU OF
       6     PRISONS THAT YOU HAVE MADE AVAILABLE TO YOU A FULL RANGE
       7     OF EDUCATIONAL AND/OR VOCATIONAL PROGRAMS.
       8                 I WILL RECOMMEND TO THE BUREAU OF PRISONS IN

       9     ADDITION THAT YOU RECEIVE CREDIT FOR ALL TIME SERVED SINCE
      10     YOUR ARREST AND DETENTION ON OCTOBER 29, 2012.
      11                 UPON YOUR RELEASE FROM IMPRISONMENT, YOU SHALL
      12     BE PLACED ON SUPERVISED RELEASE FOR A TERM OF 3 YEARS.
      13                 WITHIN 72 HOURS OF RELEASE FROM THE CUSTODY OF
      14     THE BUREAU OF PRISONS, YOU SHALL REPORT IN PERSON TO THE
      15     PROBATION OFFICE IN THE DISTRICT TO WHICH YOU ARE
      16     RELEASED.
      17                 WHILE ON SUPERVISED RELEASE YOU SHALL NOT
      18     COMMIT ANOTHER FEDERAL, STATE OR LOCAL CRIME.         YOU SHALL
      19     COMPLY WITH THE STANDARD CONDITIONS THAT HAVE BEEN ADOPTED
      20     BY THIS COURT IN LOCAL RULE 83.10, AND YOU SHALL NOT
      21     ILLEGALLY POSSESS A CONTROLLED SUBSTANCE.         YOU SHALL NOT
      22     POSSESS A FIREARM, A DESTRUCTIVE DEVICE OR ANY OTHER
      23     DANGEROUS WEAPON.     YOU SHALL COOPERATE IN THE COLLECTION
      24     OF DNA AS DIRECTED.
      25                 IN ADDITION, YOU SHALL COMPLY WITH THE FOLLOW-




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 106 of 112 PageID #: 1234
                                                                             107



       1     ING SPECIAL CONDITIONS:      FIRST, YOU SHALL PARTICIPATE IN A
       2     PROGRAM OF TESTING AND TREATMENT FOR DRUG AND/OR ALCOHOL
       3     ABUSE AS DIRECTED BY THE PROBATION OFFICER UNTIL SUCH TIME
       4     AS YOU ARE RELEASED FROM THE PROGRAM BY THE PROBATION
       5     OFFICER; AND, SECOND, YOU SHALL PARTICIPATE IN A PROGRAM
       6     OF MENTAL HEALTH TREATMENT AS DIRECTED BY THE PROBATION
       7     OFFICER UNTIL SUCH TIME AS YOU ARE RELEASED FROM THAT
       8     PROGRAM BY THE PROBATION OFFICER.       YOU SHALL WAIVE ALL

       9     RIGHTS TO CONFIDENTIALITY REGARDING MENTAL HEALTH
      10     TREATMENT IN ORDER TO PROVIDE RELEASE OF INFORMATION TO
      11     THE SUPERVISING UNITED STATES PROBATION OFFICER AND TO
      12     AUTHORIZE OPEN COMMUNICATION BETWEEN THE PROBATION OFFICER
      13     AND THE MENTAL HEALTH TREATMENT PROVIDER.
      14                 IT IS FURTHER ORDERED THAT YOU SHALL PAY TO THE
      15     UNITED STATES A SPECIAL ASSESSMENT OF $100 PURSUANT TO
      16     TITLE 18, UNITED STATES CODE, SECTION 3013, WHICH SHALL BE
      17     DUE IMMEDIATELY.
      18                 I FIND BASED UPON THE RECORD BEFORE THE COURT
      19     THAT YOU DO NOT HAVE THE ABILITY TO PAY A FINE, THE COURT,
      20     THEREFORE, WILL WAIVE ANY FINE IN THIS CASE.
      21                 THE DEFENDANT:     THANK YOU.
      22                 THE COURT:    I HAVE REVIEWED YOUR PLEA AGREEMENT
      23     WITH THE GOVERNMENT, THAT PLEA AGREEMENT IS NOW ACCEPTED
      24     BY THE COURT.    PURSUANT TO THE PLEA AGREEMENT AND UPON
      25     MOTION OF THE UNITED STATES THE REMAINING COUNTS OF THIS




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 107 of 112 PageID #: 1235
                                                                             108



       1     INDICTMENT ARE DISMISSED AS TO YOU.
       2                   TITLE 18, UNITED STATES CODE, SECTIONS 3565(B)
       3     AND 3583(G) REQUIRE MANDATORY REVOCATION OF EITHER
       4     PROBATION OR SUPERVISED RELEASE FOR POSSESSION OF A
       5     CONTROLLED SUBSTANCE OR A FIREARM OR FOR REFUSAL TO COMPLY
       6     WITH DRUG TESTING.
       7                   MR. MARTIN, DOES THE DEFENDANT WANT ME TO
       8     RECOMMEND A FACILITY?

       9                   MR. MARTIN:    YES, YOUR HONOR.    WE'D LIKE TO BE
      10     PLACED AT THE CLOSEST FACILITY THAT IS SUITABLE FOR
      11     PROVIDING HIS MENTAL HEALTH NEEDS AND HIS MEDICAL NEEDS.
      12                   THE COURT:    MR. LANDERS, WHAT DO YOU CONSIDER
      13     HOME TO BE?    WHERE DO YOU CONSIDER HOME TO BE?
      14                   THE DEFENDANT:    COLEMAN -- OH, HOME, RICHMOND,
      15     VIRGINIA.
      16                   THE COURT:    RICHMOND?
      17                   THE DEFENDANT:    YES, SIR.
      18                   THE COURT:    IS THAT WHERE YOU INTEND TO LOCATE
      19     ONCE THIS IS BEHIND YOU?
      20                   THE DEFENDANT:    I HAVE A SON IN FLORIDA.     I'LL
      21     PROBABLY GO TO FLORIDA WHEN I GET OUT OF HERE, HONESTLY,
      22     BUT THAT'S WHERE MY FATHER IS AT RIGHT NOW.
      23                   THE COURT:    DO YOU WANT ME TO RECOMMEND A
      24     FACILITY IN FLORIDA --
      25                   THE DEFENDANT:    YES, SIR, IF YOU WOULD.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 108 of 112 PageID #: 1236
                                                                             109



       1                 THE COURT:    -- OR NEAR THAT?
       2                 ALL RIGHT.    MR. LANDERS, I WILL RECOMMEND A
       3     FACILITY SOMEWHERE IN OR NEAR THE STATE OF FLORIDA TO
       4     FACILITATE ANY VISITATION THAT MIGHT OCCUR WITH YOUR
       5     SON --
       6                 THE DEFENDANT:     THANK YOU, SIR.
       7                 THE COURT:    -- AND OTHER FAMILY MEMBERS, BUT
       8     NEEDS TO BE A FACILITY WHERE YOU CAN GET ALL THESE

       9     PROGRAMS.
      10                 THE DEFENDANT:     DEFINITELY.
      11                 THE COURT:    PURSUANT TO RULE 32 OF THE FEDERAL
      12     RULES OF CRIMINAL PROCEDURE, THE COURT ADVISES YOU THAT
      13     YOU MAY HAVE THE RIGHT TO APPEAL YOUR CONVICTION OR THE
      14     SENTENCE IMPOSED IN THIS CASE.       THAT'S, OF COURSE, SUBJECT
      15     TO ANY WAIVERS YOU'VE AGREED TO IN THIS PLEA AGREEMENT.           A
      16     NOTICE OF APPEAL MUST BE FILED WITHIN 14 DAYS OF THE ENTRY
      17     OF THE JUDGMENT.     IF YOU REQUEST AND SO DESIRE, THE CLERK
      18     OF THE COURT CAN PREPARE AND FILE THE NOTICE OF APPEAL FOR
      19     YOU.
      20                 DOES EITHER PARTY HAVE ANY OBJECTION TO THE
      21     SENTENCE JUST PRONOUNCED THAT'S NOT BEEN PREVIOUSLY
      22     RAISED?
      23                 MS. SMITH:    NO, YOUR HONOR.     THANK YOU.
      24                 MR. MARTIN:     NO, YOUR HONOR.
      25                 THE COURT:    NOW, MR. MARTIN, I ASSUME YOU WILL




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 109 of 112 PageID #: 1237
                                                                             110



       1     DISCUSS WITH MR. LANDERS THE POSSIBILITY OF FILING A
       2     NOTICE OF APPEAL.
       3                 MR. MARTIN:     YES, I WILL.
       4                 THE COURT:    ALL RIGHT.    MR. LANDERS, AS I'VE
       5     SAID TO YOU, YOU CERTAINLY HAVE A RIGHT TO DO THAT, AND
       6     YOU'VE RAISED AT LEAST ONE ISSUE HERE TODAY THAT THE SIXTH
       7     CIRCUIT HAS NEVER ADDRESSED, SO I'LL LEAVE THAT TO YOU AND
       8     MR. MARTIN TO DECIDE.

       9                 I'VE SPENT A LOT OF TIME HERE TODAY ON THIS
      10     CASE, MORE, I THINK, THAN MOST JUDGES WOULD SPEND, MORE
      11     THAN I USUALLY SPEND.     SO, MR. LANDERS, YOU'RE 24 YEARS OF
      12     AGE, I WANT YOU TO UNDERSTAND WHY I'VE DONE WHAT I'VE
      13     DONE, AND I NEED TO MAKE A RECORD FOR THE SIXTH CIRCUIT SO
      14     THAT THE SIXTH CIRCUIT WILL UNDERSTAND WHAT I'VE DONE IF
      15     THIS CASE GOES UP THERE; BUT I REALLY WANT YOU TO UNDER-
      16     STAND WHAT I'VE DONE, AND I WANT YOU TO UNDERSTAND THAT
      17     DESPITE THE FACT THAT I'VE IMPOSED A SENTENCE OF
      18     IMPRISONMENT HERE TODAY, I WANT YOU TO DO WELL.
      19                 THE DEFENDANT:     THANK YOU, SIR.
      20                 THE COURT:    I WANT YOU TO GET ALL OF THIS STUFF
      21     BEHIND YOU, GET ON WITH YOUR LIFE.        YOU CAN HAVE A
      22     PROMISING FUTURE IF YOU DO.      GOOD LUCK TO YOU.
      23                 THE DEFENDANT:     I APPRECIATE IT.
      24                 THE COURT:    YOU WILL BE REMANDED TO THE UNITED
      25     STATES MARSHAL TO SERVE YOUR SENTENCE.




Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 110 of 112 PageID #: 1238
                                                                             111



       1                 MR. MARTIN:     THANK YOU, YOUR HONOR.
       2                 THE COURT:    THANK YOU, MR. MARTIN.
       3                 I KNOW IT'S GETTING LATE, LET'S TAKE A FIVE
       4     MINUTE RECESS AND THEN I'LL START THE PLEAS.
       5          (PROCEEDINGS ARE CONCLUDED AT 11:34 P.M.)
       6     I CERTIFY THAT THE FOREGOING IS A CORRECT TRANSCRIPT FROM
       7     THE RECORD OF PROCEEDINGS IN THE ABOVE-ENTITLED MATTER.
       8

       9
      10     KAREN J. BRADLEY/S                                  8/21/13
             SIGNATURE OF COURT REPORTER                           DATE
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Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 111 of 112 PageID #: 1239
                                                                             112



       1                                    INDEX
       2
             DEFENDANT'S WITNESSES            DIRECT CROSS REDIRECT RECROSS
       3     JOHN FRANKLIN LANDERS, II        5      27
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Case 2:12-cr-00098-JRG Document 453 Filed 08/21/13 Page 112 of 112 PageID #: 1240
